Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 1 of 239




            EXHIBIT H
                     Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 2 of 239
                                                                                UNITED STATES DEPARTMENT OF COMMERCE
                                                                                United States Patent and Trademark Office
                                                                                Address: COMMISSIONERFORPATENTS
                                                                                      P.O. Box 1450
                                                                                      Alexandria, Virginia 22313-1450
                                                                                      www.uspto.gov



      APPLICATION NO.             ISSUE DATE             PATENT NO.          ATTORNEY DOCKET NO.                        CONFIRMATION NO.

          15/944,542              02/12/2019              10203854                 083523.0121                                3585

            5073          7590       01/23/2019

        BAKER BOTTS L.L.P.
        2001 ROSS AVENUE
        SUITE 900
        DALLAS, TX 75201-2980



                                                  ISSUE NOTIFICATION

The projected patent number and issue date are specified above.
                          Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                      (application filed on or after May 29, 2000)

The Patent Term Adjustment is 0 day(s). Any patent to issue from the above-identified application will include
an indication of the adjustment on the front page.

If a Continued Prosecution Application (CPA) was filed in the above-identified application, the filing date that
determines Patent Term Adjustment is the filing date of the most recent CPA.

Applicant will be able to obtain more detailed information by accessing the Patent Application Information
Retrieval (PAIR) WEB site (http://pair.uspto.gov).

Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the Office
of Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee payments
should be directed to the Application Assistance Unit (AAU) of the Office of Data Management (ODM) at
(571)-272-4200.

APPLICANT(s) (Please see PAIR WEB site http://pair.uspto.gov for additional applicants):
Sean Rad, Los Angeles, CA;
Match Group, LLC, Dallas, TX;
Todd M. Carrico, Sachse, TX;
Kenneth B. Hoskins, Plano, TX;
James C. Stone, Addison, TX;
Jonathan Badeen, North Hollywood, CA;




The United States represents the largest, most dynamic marketplace in the world and is an unparalleled location
for business investment, innovation, and commercialization of new technologies. The USA offers tremendous
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IR103 (Rev. 10/09)
                          Case 6:21-cv-00147-ADA  Document
                                               PART B - FEE(S) 15-13 Filed 04/22/21 Page 3 of 239
                                                               TRANSMITTAL
Complete and send this form, together with applicable fee(s), by mail or fax, or via EFS-Web.
By mail, send to:          Mail Stop ISSUE FEE                                                                                          By fax, send to:      (571)-273-2885
                           Commissioner for Patents
                           P.O. Box 1450
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INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks 1 through 5 should be completed where appropriate. All
further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current correspondence address as indicated unless corrected
below or directed otherwise in Block 1, by (a) specifying a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for maintenance fee notifications.
                                                                                                 Note: A certificate of mailing can only be used for domestic mailings of the
   CURRENT CORRESPONDENCE ADDRESS (Note: Use Block 1 for any change of address)
                                                                                                 Fee(s) Transmittal. This certificate cannot be used for any other accompanying
                                                                                                 papers. Each additional paper, such as an assignment or formal drawing, must
                                                                                                 have its own certificate of mailing or transmission.
         5073            7590                11/06/2018                                                               Certificate of Mailing or Transmission
    BAKER BOTTS L.L.P.                                                                           I hereby certify that this Fee(s) Transmittal is being deposited with the United
                                                                                                 States Postal Service with sufficient postage for first class mail in an envelope
    2001 ROSS A VENUE                                                                            addressed to the Mail Stop ISSUE FEE address above, or being transmitted to
    SUITE 900                                                                                    the USPTO via EFS-Web or by facsimile to (571) 273-2885, on the date below.
                                                                                                                                                                (Typed or printed name)
    DALLAS, TX 75201-2980
                                                                                                                                                                            (Signature)

                                                                                                                                                                                 (Date)




    APPLICATION NO.                 FILING DATE                             FIRST NAMED INVENTOR                            ATTORNEY DOCKET NO.            CONFIRMATION NO.

        15/944,542                   04/03/2018                                     Sean Rad                                      083523.0121                     3585

TITLE OF INVENTION: Matching Process System and Method

     APPLN. TYPE             ENTITY STATUS             ISSUE FEE DUE         PUBLICATION FEE DUE        PREY. PAID ISSUE FEE        TOTAL FEE(S) DUE            DATE DUE

    nonprovisional          UNDISCOUNTED                   $1000                      $0.00                       $0.00                    $1000                02/06/2019



                   EXAMINER                              ART UNIT              CLASS-SUBCLASS

               CHOI, YUK TING                               2153                   707-005000

1. Change of correspondence address or indication of "Fee Address" (37         2. For printing on the patent front page, list
CFR 1.363).                                                                    ( 1) The names of up to 3 registered patent attorneys
                                                                               or agents OR, alternatively,                                 Baker Botts L.L.P.
   0 Change of correspondence address (or Change of Correspondence             (2) The name of a single firm (having as a member a
   Address form PTO/SB/122) attached.
                                                                               registered attorney or agent) and the names of up to
                                                                               2 registered patent attorneys or agents. If no name is
   0 "Fee Address" indication (or "Fee Address" Indication form PTO/           listed, no name will be printed.
   SB/47; Rev 03-09 or more recent) attached. Use of a Customer
   Number is required.
3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document must have been previously
   recorded, or filed for recordation, as set forth in 37 CFR 3.11and37 CFR 3.8l(a). Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OF ASSIGNEE                                                     (B) RESIDENCE: (CITY and STATE OR COUNTRY)

   Match Group, LLC                                                               Dallas, Texas
Please check the appropriate assignee category or categories (will not be printed on the patent) : 0 Individual   JXl Corporation or other private group entity 0 Government
4a. Fees submitted:       IXIIssue Fee     0Publication Fee (if required)       0Advance Order - # of Copies _ _ _ _ _ _ _ _ __
4b. Method of Payment: (Please first reapply any previously paid fee shown above)
   0 Electronic Payment via EFS-Web           0 Enclosed check         0 Non-electronic payment by credit card (Attach form PT0-2038)
   ~The Director is hereby authorized to charge the required fee(s), any deficiency, or credit any overpayment to Deposit Account No. 02-0384


5. Change in Entity Status (from status indicated above)
                                                                            NOTE: Absent a valid certification of Micro Entity Status (see forms PTO/SB/15A and 15B), issue
   0 Applicant certifying micro entity status. See 37 CFR 1.29              fee payment in the micro entity amount will not be accepted at the risk of application abandonment.
                                                                            NOTE: If the application was previously under micro entity status, checking this box will be taken
   0 Applicant asserting small entity status. See 37 CFR 1.27               to be a notification of loss of entitlement to micro entity status.
                                                                            NOTE: Checking this box will be taken to be a notification of loss of entitlement to small or micro
   0 Applicant changing to regular undiscounted fee status.                 entity status, as applicable.
NOTE: This form must be signed in accordance with 37 CFR 1.31and1.33. See 37 CFR 1.4 for signature requirements and certifications.

   Authorized Signature    /Chad C. Walters/                                                               Date _ _D_e_c_e_m_b_e_r_2_1~,_2_0_1_8_____

   Typed or printed name    Chad C. Walters                                                                Registration No. _ _4_8~,0_2_2__________


                                                                                 Page 2 of3
PTOL-85 Part B (08-18) Approved for use through 0113112020                     OMB 0651-0033          U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
  Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 4 of 239



ATTORNEY DOCKET NO.                                                      PATENT APPLICATION
083523.0121                                                                        15/944,542
                                                   1

                 lN THE UNITED STATES PATENT AND TRADEMARK OFFICE

In re Application of:           Sean Rad et al.
Serial No.:                     15/944,542
Filed:                          April 3, 2018
Group No.:                      2153
Examiner:                       Yuk Ting Choi
Notice of Allowance Mailed: November 6, 2018
Confirmation No.:               3585
Title:                          MATCHING PROCESS SYSTEM AND METHOD


Mail Stop Issue Fee
Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450

Dear Sir:

                        RESPONSE TO REASONS FOR ALLOWANCE

          Applicant appreciates the Examiner's allowance of Claims 1, 2, 5, 7, 8, 11, 13, 14, 17, 19,
20 and 23. Pursuant to 37 C.F.R. § 1.104, Applicant respectfully issues a statement commenting
on the Examiner's reasons for allowance. Applicant respectfully disagrees with the Examiner's
reasons for allowance to the extent that they are inconsistent with applicable case law, statutes,
and regulations. Furthermore, Applicant does not admit to any characterization or limitation of
the claims or to any characterization of a reference by the Examiner, particularly any that are
inconsistent with the language of the claims considered in their entirety and including all of their
constituent limitations.
                                                       Respectfully submitted,
                                                       BAKER BOTTS L.L.P.
                                                       Attorneys for Applicant

                                                       /Chad C. Walters/

                                                       Chad C. Walters
                                                       Registration No. 48,022
Date: December 21, 2018
CUSTOMER NO. 05073


DALO 1 :594456
                 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 5 of 239



                                  Electronic Patent Application Fee Transmittal
 Application Number:                                 15944542


 Filing Date:                                        03-Apr-2018




 Title of Invention:                                 Matching Process System and Method




 First Named Inventor/Applicant Name:                Sean Rad


 Filer:                                              Chad Christian Walters/Karen Langford


 Attorney Docket Number:                             083523.0121


 Filed as Large Entity



Filing Fees for Utility under 35 USC 111 (a)


                                                                                                      Sub-Total in
                             Description                    Fee Code        Quantity         Amount
                                                                                                        USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


                         UTILITY APPL ISSUE FEE                 1501             1            1000        1000
            Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 6 of 239
                                                                                 Sub-Total in
                     Description              Fee Code   Quantity     Amount
                                                                                   USO($)


Extension-of-Time:


Miscellaneous:


                                                    Total in USO($)              1000
               Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 7 of 239
                                      Electronic Acknowledgement Receipt

                         EFSID:                          34670951


                  Application Number:                     15944542


         International Application Number:

                  Confirmation Number:                   3585




                    Title of Invention:                  Matching Process System and Method




       First Named Inventor/Applicant Name:              Sean Rad


                   Customer Number:                      5073


                          Filer:                         Chad Christian Walters/Karen Langford


                   Filer Authorized By:                  Chad Christian Walters


               Attorney Docket Number:                   083523.0121


                      Receipt Date:                      21-DEC-2018


                       Filing Date:                      03-APR-2018


                      Time Stamp:                         12:53:44


                    Application Type:                     Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                   yes

Payment Type                                            DA

Payment was successfully received in RAM                 $1000

RAM confirmation Number                                   1221181NTEFSW00014442020384

Deposit Account

Authorized User

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
               Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 8 of 239




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 Document                                                                                File Size(Bytes}/                        Multi         Pages
                    Document Description                    File Name
  Number                                                                                 Message Digest                          Part /.zip   (if appl.)

                                                                                                    112241

      1            Issue Fee Payment (PT0-85B)               121 if.pdf                                                             no             1
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Warnings:
Information:

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     2                                                   121 comments.pdf                                                           no             1
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Warnings:
Information:

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     3                Fee Worksheet (SB06)                  fee-info.pdf                                                            no            2
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                                                                                                  e3433




Warnings:
Information:
                                                     Total Files Size (in bytes)                                           244844



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New Agglications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
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National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.
New International Agglication Filed with the USPTO as a Receiving Office
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an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                       Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 9 of 239

                                                                                              UNITED STATES DEPARTMENT OF COMMERCE
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                                                                                                      Alexandria, Virginia 22313-1450
                                                                                                       www.uspto.gov




                                     NOTICE OF ALLOWANCE AND FEE(S) DUE
                                                                                                                                EXAMINER
        5073           7590           11/06/2018
   BAKER BOTTS L.L.P.                                                                                                         CHOI, YUK TING

   2001 ROSS A VENUE
                                                                                                                  ART UNIT                 PAPER NUMBER
   SUITE 900
   DALLAS, TX 75201-2980                                                                                             2153

                                                                                                         DA TE MAILED: 11/06/2018



    APPLICATION NO.           FILING DATE                          FIRST NAMED INVENTOR                    ATTORNEY DOCKET NO.          CONFIRMATION NO.

       15/944,542              04/03/2018                                Sean Rad                                083523.0121                    3585

TITLE OF INVENTION: Matching Process System and Method



    APPLN. TYPE          ENTITY STATUS             ISSUE FEE DUE   PUBLICATION FEE DUE    PREY. PAID ISSUE FEE     TOTAL FEE(S) DUE            DATE DUE

    nonprovisional      UNDISCOUNTED                  $1000               $0.00                  $0.00                      $1000              02/06/2019


THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PATENT.
PROSECUTION ON THE MERITS IS CLOSED. THIS NOTICE OF ALLOWANCE IS NOT A GRANT OF PATENT RIGHTS.
THIS APPLICATION IS SUBJECT TO WITHDRAWAL FROM ISSUE AT THE INITIATIVE OF THE OFFICE OR UPON
PETITION BY THE APPLICANT. SEE 37 CFR 1.313 AND MPEP 1308.
THE ISSUE FEE AND PUBLICATION FEE (IF REQUIRED) MUST BE PAID WITHIN THREE MONTHS FROM THE MAILING
DATE OF THIS NOTICE OR THIS APPLICATION SHALL BE REGARDED AS ABANDONED. THIS STATUTORY PERIOD
CANNOT BE EXTENDED. SEE 35 U.S.C. 151. THE ISSUE FEE DUE INDICATED ABOVE DOES NOT REFLECT A CREDIT
FOR ANY PREVIOUSLY PAID ISSUE FEE IN THIS APPLICATION. IF AN ISSUE FEE HAS PREVIOUSLY BEEN PAID IN
THIS APPLICATION (AS SHOWN ABOVE), THE RETURN OF PART B OF THIS FORM WILL BE CONSIDERED A REQUEST
TO REAPPLY THE PREVIOUSLY PAID ISSUE FEE TOWARD THE ISSUE FEE NOW DUE.

HOW TO REPLY TO THIS NOTICE:

I. Review the ENTITY STATUS shown above. If the ENTITY STATUS is shown as SMALL or MICRO, verify whether entitlement to that
entity status still applies.
If the ENTITY STATUS is the same as shown above, pay the TOTAL FEE(S) DUE shown above.
If the ENTITY STATUS is changed from that shown above, on PART B - FEE(S) TRANSMITTAL, complete section number 5 titled
"Change in Entity Status (from status indicated above)".
For purposes of this notice, small entity fees are 1/2 the amount of undiscounted fees, and micro entity fees are 1/2 the amount of small entity
fees.



II. PART B - FEE(S) TRANSMITTAL, or its equivalent, must be completed and returned to the United States Patent and Trademark Office
(USPTO) with your ISSUE FEE and PUBLICATION FEE (if required). If you are charging the fee(s) to your deposit account, section "4b"
of Part B - Fee(s) Transmittal should be completed and an extra copy of the form should be submitted. If an equivalent of Part B is filed, a
request to reapply a previously paid issue fee must be clearly made, and delays in processing may occur due to the difficulty in recognizing
the paper as an equivalent of Part B.

III. All communications regarding this application must give the application number. Please direct all communications prior to issuance to Mail
Stop ISSUE FEE unless advised to the contrary.

IMPORTANT REMINDER: Maintenance fees are due in utility patents issuing on applications filed on or after Dec. 12, 1980.
It is patentee's responsibility to ensure timely payment of maintenance fees when due. More information is available at
www .uspto.gov/PatentMaintenanceFees.
                                                                       Page 1of3
PTOL-85 (Rev. 02/11)
                        Case 6:21-cv-00147-ADA Document
                                             PART B - FEE(S)15-13 Filed 04/22/21 Page 10 of 239
                                                             TRANSMITTAL
Complete and send this form, together with applicable fee(s), by mail or fax, or via EFS-Web.
By mail, send to:         Mail Stop ISSUE FEE                                                                                           By fax, send to:      (571)-273-2885
                          Commissioner for Patents
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INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks 1 through 5 should be completed where appropriate. All
further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current correspondence address as indicated unless corrected
below or directed otherwise in Block 1, by (a) specifying a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for maintenance fee notifications.
                                                                                                 Note: A certificate of mailing can only be used for domestic mailings of the
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                                                                                                 Fee(s) Transmittal. This certificate cannot be used for any other accompanying
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                                                                                                 have its own certificate of mailing or transmission.
         5073            7590                11/06/2018                                                               Certificate of Mailing or Transmission
    BAKER BOTTS L.L.P.                                                                           I hereby certify that this Fee(s) Transmittal is being deposited with the United
                                                                                                 States Postal Service with sufficient postage for first class mail in an envelope
    2001 ROSS A VENUE                                                                            addressed to the Mail Stop ISSUE FEE address above, or being transmitted to
    SUITE 900                                                                                    the USPTO via EFS-Web or by facsimile to (571) 273-2885, on the date below.
                                                                                                                                                                (Typed or printed name)
    DALLAS, TX 75201-2980
                                                                                                                                                                            (Signature)

                                                                                                                                                                                 (Date)




    APPLICATION NO.                FILING DATE                              FIRST NAMED INVENTOR                           ATTORNEY DOCKET NO.             CONFIRMATION NO.

        15/944,542                  04/03/2018                                      Sean Rad                                     083523.0121                      3585

TITLE OF INVENTION: Matching Process System and Method

     APPLN. TYPE            ENTITY STATUS             ISSUE FEE DUE          PUBLICATION FEE DUE        PREY. PAID ISSUE FEE        TOTAL FEE(S) DUE            DATE DUE

    nonprovisional         UNDISCOUNTED                    $1000                      $0.00                      $0.00                     $1000                02/06/2019



                  EXAMINER                               ART UNIT              CLASS-SUBCLASS

               CHOI, YUK TING                               2153                   707-005000

1. Change of correspondence address or indication of "Fee Address" (37         2. For printing on the patent front page, list
CFR 1.363).                                                                    ( 1) The names of up to 3 registered patent attorneys
                                                                               or agents OR, alternatively,
   0 Change of correspondence address (or Change of Correspondence             (2) The name of a single firm (having as a member a
   Address form PTO/SB/122) attached.
                                                                               registered attorney or agent) and the names of up to
                                                                               2 registered patent attorneys or agents. If no name is
   0 "Fee Address" indication (or "Fee Address" Indication form PTO/           listed, no name will be printed.
   SB/47; Rev 03-09 or more recent) attached. Use of a Customer
   Number is required.
3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document must have been previously
   recorded, or filed for recordation, as set forth in 37 CFR 3.11and37 CFR 3.8l(a). Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OF ASSIGNEE                                                     (B) RESIDENCE: (CITY and STATE OR COUNTRY)



Please check the appropriate assignee category or categories (will not be printed on the patent) : 0 Individual 0 Corporation or other private group entity 0 Government
4a. Fees submitted:      Dissue Fee        0Publication Fee (if required)       0Advance Order - # of Copies _ _ _ _ _ _ _ _ __
4b. Method of Payment: (Please first reapply any previously paid fee shown above)
   0 Electronic Payment via EFS-Web           0 Enclosed check         0 Non-electronic payment by credit card (Attach form PT0-2038)
   0 The Director is hereby authorized to charge the required fee(s), any deficiency, or credit any overpayment to Deposit Account No. _ _ _ __



5. Change in Entity Status (from status indicated above)
                                                                            NOTE: Absent a valid certification of Micro Entity Status (see forms PTO/SB/15A and 15B), issue
   0 Applicant certifying micro entity status. See 37 CFR 1.29              fee payment in the micro entity amount will not be accepted at the risk of application abandonment.
                                                                            NOTE: If the application was previously under micro entity status, checking this box will be taken
   0 Applicant asserting small entity status. See 37 CFR 1.27               to be a notification of loss of entitlement to micro entity status.
                                                                            NOTE: Checking this box will be taken to be a notification of loss of entitlement to small or micro
   0 Applicant changing to regular undiscounted fee status.                 entity status, as applicable.
NOTE: This form must be signed in accordance with 37 CFR 1.31and1.33. See 37 CFR 1.4 for signature requirements and certifications.

   Authorized Signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                     Date _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   Typed or printed name _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                      Registration No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                                                 Page 2 of3
PTOL-85 Part B (08-18) Approved for use through 0113112020                     OMB 0651-0033         U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                       Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 11 of 239

                                                                            UNITED STATES DEPARTMENT OF COMMERCE
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                                                                            Address: COMMISSIONER FOR PATENTS
                                                                                    P.O. Box 1450
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    APPLICATION NO.           FILING DATE            FIRST NAMED INVENTOR               ATTORNEY DOCKET NO.           CONFIRMATION NO.

       15/944,542              04/03/2018                  Sean Rad                            083523.0121                  3585

                                                                                                             EXAMINER
        5073           7590           11/06/2018
   BAKER BOTTS L.L.P.                                                                                      CHOI, YUK TING

   2001 ROSS A VENUE
                                                                                                ART UNIT                PAPER NUMBER
   SUITE 900
   DALLAS, TX 75201-2980                                                                           2153

                                                                                       DA TE MAILED: 11/06/2018




                              Determination of Patent Term Adjustment under 35 U.S.C.154 (b)
                                         (Applications filed on or after May 29, 2000)


The Office has discontinued providing a Patent Term Adjustment (PTA) calculation with the Notice of Allowance.

Section l(h)(2) of the AIA Technical Corrections Act amended 35 U.S.C. 154(b)(3)(B)(i) to eliminate the requirement
that the Office provide a patent term adjustment determination with the notice of allowance. See Revisions to Patent
Term Adjustment, 78 Fed. Reg. 19416, 19417 (Apr. 1, 2013). Therefore, the Office is no longer providing an initial
patent term adjustment determination with the notice of allowance. The Office will continue to provide a patent term
adjustment determination with the Issue Notification Letter that is mailed to applicant approximately three weeks prior
to the issue date of the patent, and will include the patent term adjustment on the patent. Any request for reconsideration
of the patent term adjustment determination (or reinstatement of patent term adjustment) should follow the process
outlined in 37 CFR 1.705.

Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the Office of
Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee payments should be
directed to the Customer Service Center of the Office of Patent Publication at 1-(888)-786-0101 or (571 )-272-4200.




                                                         Page 3 of 3
PTOL-85 (Rev. 02/11)
       Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 12 of 239

                   OMB Clearance and PRA Burden Statement for PTOL-85 Part B

The Paperwork Reduction Act (PRA) of 1995 requires Federal agencies to obtain Office of Management and Budget
approval before requesting most types of information from the public. When OMB approves an agency request to
collect information from the public, OMB (i) provides a valid OMB Control Number and expiration date for the
agency to display on the instrument that will be used to collect the information and (ii) requires the agency to inform
the public about the OMB Control Number's legal significance in accordance with 5 CFR 1320.5(b).

The information collected by PTOL-85 Part B is required by 37 CFR 1.311. The information is required to obtain
or retain a benefit by the public which is to file (and by the USPTO to process) an application. Confidentiality is
governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 30 minutes to complete, including
gathering, preparing, and submitting the completed application form to the USPTO. Time will vary depending upon
the individual case. Any comments on the amount of time you require to complete this form and/or suggestions
for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office,
U.S. Department of Commerce, P.O. Box 1450, Alexandria, Virginia 22313-1450. DO NOT SEND FEES OR
COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450, Alexandria,
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The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
submission of the attached form related to a patent application or patent. Accordingly, pursuant to the requirements
of the Act, please be advised that: (1) the general authority for the collection of this information is 35 U.S.C. 2(b)
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The information provided by you in this form will be subject to the following routine uses:
  1. The information on this form will be treated confidentially to the extent allowed under the Freedom of
     Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of records may
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     to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of
     settlement negotiations.
 3. A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting
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 5. A record related to an International Application filed under the Patent Cooperation Treaty in this system of
     records may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property
     Organization, pursuant to the Patent Cooperation Treaty.
 6. A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of
     National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).
  7. A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services,
     or his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility
     to recommend improvements in records management practices and programs, under authority of 44 U.S.C.
     2904 and 2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection
     of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall
     not be used to make determinations about individuals.
  8. A record from this system of records may be disclosed, as a routine use, to the public after either publication of
     the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record
     may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the record was filed
     in an application which became abandoned or in which the proceedings were terminated and which application
     is referenced by either a published application, an application open to public inspection or an issued patent.
  9. A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
     enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.
                           Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 13 of 239

                                                                              Application No.                    Applicant(s)
                                                                              15/944,542                         Rad etal.
                   Notice ofAllowability                                      Examiner                           Art Unit       AIA Status
                                                                              YUK TING CHOI                      2153           INo
              -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address--
 All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
 herewith (or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course. THIS
 NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
 of the Office or upon petition by the applicant. See 37 CFR 1.313 and MPEP 1308.
   1.~ This communication is responsive to 10/02/2018.
           D A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _ .

   2.0 An election was made by the applicant in response to a restriction requirement set forth during the interview on _ _ ; the
       restriction requirement and election have been incorporated into this action.

   3.~ The allowed claim(s) is/are 1-2,5,7-8, 11, 13-14, 17, 19-20 and 23 . As a result of the allowed claim(s), you may be eligible to benefit
       from the Patent Prosecution Highway program at a participating intellectual property office for the corresponding application. For
       more information, please see http://www.uspto.gov/patents/init_events/pph/index.jsp or send an inquiry to
       PPHfeedback@uspto.gov.

   4.0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
           Certified copies:
             a) DAii               b) D Some     *c) D None of the:
                     1. D Certified copies of the priority documents have been received.
                     2. D Certified copies of the priority documents have been received in Application No. _ _ .
                     3. D Copies of the certified copies of the priority documents have been received in this national stage application from the
                              International Bureau (PCT Rule 17.2(a)).
             * Certified copies not received: _ _ .

     Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file areply complying with the requirements
     noted below. Failure to timely comply will result in ABANDONMENT of this application.
     THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.
   5.0 CORRECTED DRAWINGS (as "replacement sheets") must be submitted.
           D     including changes required by the attached Examiner's Amendment I Comment or in the Office action of
                 Paper No./Mail Date _ _ .
       Identifying indicia such as the application number {see 37 CFR 1.84{c)) should be written on the drawings in the front {not the back) of each
       sheet. Replacement sheet{s) should be labeled as such in the header according to 37 CFR 1.121{d).

   6.0 DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
       attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.


 Attachment(s)
 1. D Notice of References Cited (PT0-892)                                               5. D Examiner's Amendment/Comment
  2.~ Information Disclosure Statements (PTO/SB/08),                                     6. ~ Examiner's Statement of Reasons for Allowance
        Paper No./Mail Date 0810712018.
  3. D Examiner's Comment Regarding Requirement for Deposit                              7. D Other
        of Biological Material    .
  4.0 Interview Summary (PT0-413),
        Paper No./Mail Date. _ _ .
  /YUK TING CHOI/
  Primary Examiner, Art Unit 2153




U.S. Patent and Trademark Office
PTOL-37 (Rev. 08-13)                                                  Notice of Allowability                 Part of Paper No./Mail Date 20181022
      Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 14 of 239
Application/Control Number: 15/944,542                                                           Page 2
Art Unit: 2153

                                        DETAILED OFFICE

                                     Response to Amendment

1.      This office action is in response to applicant's communication filed on 10/02/2018 in

response to PTO Office Action mailed on 08/08/2018. The Applicant's remarks and

amendments to the claims and/or the specification were considered with the results as follows.

2.      In response to the last Office Action, claims 1, 7, 13, 19 have been amended. Claims 3,

4, 6, 9, 10, 12, 15, 16, 18, 21, 22 and 24 are canceled. As a result, claims 1, 2, 5, 7, 8, 11, 13,

14, 17, 19, 20 and 23 are pending in this office action.

3.      The Terminal Disclaimer, which filed on 10/03/2018 has been considered and approved.

Therefore, the Double Patenting rejections have been withdrawn.

4.      The 35 USC 101 rejections have been withdrawn due to the amendment filed on

10/02/2018.

5.      The 35 USC 103 rejections have been withdrawn due to the amendment filed on

10/02/2018.



                                       Reasons for Allowance

6.      The following is an examiner's statement of reasons for allowance:

        The closest prior art fails to anticipate or render obvious the recited features of: the first

user indicates a first positive preference associated with the graphical representation of the

second user on the graphic user interface, the first positive preference indication associated

with a first gesture performed on the graphical user interface, wherein the first gesture

comprises a first swiping gesture; allow the first user to communicate with the second user in

response to the first electronic device of the first user transmitting the first positive preference

indication regarding the second user and a second user expressing a positive preference

regarding the first user; transmit from the first electronic device of the first user a first negative
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Application/Control Number: 15/944,542                                                        Page 3
Art Unit: 2153

preference indication associated with a graphical representation of a third potential match on the

graphical user interface, the first negative preference indication associated with a second

gesture performed on the graphical user interface, the third potential match corresponding to a

third user, wherein the second gesture comprises a second swiping gesture different than the

first swiping gesture, as recited in independent claims 1, 7, 13 and 19.

       These features, together with the other limitations of the independent claims are novel

and non-obvious over the prior art of record. The dependent claims 2, 5, 8, 11, 14, 17, 20 and

23 are being definite, enabled by the specification, and further limiting to the independent claim,

are also allowable.




7.     Any comments considered necessary by applicant must be submitted no later than the

payment of the issue fee and, to avoid processing delays, should preferably accompany the

issue fee. Such submissions should be clearly labeled "Comments on Statement of Reasons

for Allowance."




                                      Contact Information



       Any inquiry concerning this communication or earlier communications from the examiner

should be directed to YUK TING CHOI whose telephone number is (571 )270-1637. The

examiner can normally be reached on Monday-Friday 9am-6pm.

       Examiner interviews are available via telephone, in-person, and video conferencing

using a USPTO supplied web-based collaboration tool. To schedule an interview, applicant is
     Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 16 of 239
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Art Unit: 2153

encouraged to use the USPTO Automated Interview Request (AIR) at

http://www.uspto.gov/interviewpractice.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Alford W Kindred can be reached on 5712724037. The fax phone number for the

organization where this application or proceeding is assigned is 571-273-8300.

       Information regarding the status of an application may be obtained from the Patent

Application Information Retrieval (PAIR) system. Status information for published applications

may be obtained from either Private PAIR or Public PAIR. Status information for unpublished

applications is available through Private PAIR only. For more information about the PAIR

system, see http://pair-direct.uspto.gov. Should you have questions on access to the Private

PAIR system, contact the Electronic Business Center (EBC) at 866-217-9197 (toll-free). If you

would like assistance from a USPTO Customer Service Representative or access to the

automated information system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




/YUK TING CHOI/

Primary Examiner, Art Unit 2153
                  Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 17 of 239
                                        Application/Control No.                       Applicant(s)/Patent Under Reexamination

   Issue Classification                 15/944,542                                    Rad et al.
                                        Examiner                                      Art Unit

                                        YUK TING CHOI                                 2153



 CPC
 Symbol                                                                                                    Type                 Version
 G06F             rn     3         rn    04842                                                         F                   2013-01-01
 G06F             rn     17        rn    30554                                                         I                   2013-01-01
 G06F             rn     17        rn    30657                                                         I                   2013-01-01
 G06Q             rn     10        rnr 10                                                              I                   2013-01-01
 G06Q             rn     30        rn    02                                                            I                   2013-01-01
 G06Q             rn     50        rn    10                                                            I                   2013-01-01
 G06Q             rn     50        rn    01                                                            I                   2013-01-01
 G06F             rn     3         rn    0482                                                          I                   2013-01-01
 G06F             rn     3         rn    0488                                                          I                   2013-01-01



 CPC Combination Sets
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NONE
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(Assistant Examiner)                                                            (Date)                                12
 /YUK TING CHOI/                                                           22 October 2018
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 Primary Examiner, Art Unit 2153
 (Primary Examiner)                                                             (Date)                      1                     6-9
U.S. Patent and Trademark Office                                                                                      Part of Paper No.: 20181022



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                  Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 18 of 239
                                      Application/Control No.                        Applicant(s)/Patent Under Reexamination

    Issue Classification              15/944,542                                      Rad et al.
                                      Examiner                                       Art Unit

                                      YUK TING CHOI                                  2153



 INTERNATIONAL CLASSIFICATION
 CLAIMED

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INON-CLAIMED




 US ORIGINAL CLASSIFICATION
                              CLASS                                                         SUBCLASS



 CROSS REFERENCES(S)
         CLASS                                        SUBCLASS (ONE SUBCLASS PER BLOCK)

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NONE
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(Assistant Examiner)                                                              (Date)                             12
 /YUK TING CHOI/                                                          22 October 2018
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 (Primary Examiner)                                                            (Date)                       1                    6-9
U.S. Patent and Trademark Office                                                                                     Part of Paper No.: 20181022



                                                            Page 2 of 3
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                                               Application/Control No.                      Applicant(s)/Patent Under Reexamination

     Issue Classification                      15/944,542                                    Rad et al.
                                               Examiner                                     Art Unit

                                               YUK TING CHOI                                2153



 0       Claims renumbered in the same order as presented by applicant                      0    CPA        ~ T.D.       0      R.1.47
CLAIMS
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     2        2         6          11     11        20
              3                    12               21
              4         7          13               22
     3        5         8          14     12        23
              6                    15               24
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              9                    18




NONE
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(Assistant Examiner)                                                                    (Date)                               12
 /YUK TING CHOI/                                                                   22 October 2018
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U.S. Patent and Trademark Office                                                                                             Part of Paper No.: 20181022



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                                      Application/Control No.            Applicant(s)/Patent Under Reexamination

          Search Notes                15/944,542                         Rad et al.
                                      Examiner                           Art Unit

                                      YUK TING CHOI                      2153



 CPC - Searched*
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 CPC Combination Sets - Searched*
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 US Classification - Searched*
 Class                 Subclass                                            Date                      Examiner



* See search history printout included with this form or the SEARCH NOTES box below to determine the scope of the
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 Search Notes
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  /YUK TING CHOI/
  Primary Examiner, Art Unit 2153




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                                                                                                                             ! FPRS; EPO;
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                                           I                                                                                 ! DERWENT;
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EAST Search History
                         Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 23 of 239




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                   Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 25 of 239
Doc code: IDS                                                                                                                                                  PTO/SB/08a (02-18)
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Doc description: Information Disclosure Statement (IDS) Filed                                         U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                               Application Number                         15944542
                                                               Filing Date                                2018-04-03
INFORMATION DISCLOSURE                                         First Named Inventor             IRAD
STATEMENT BY APPLICANT                                         Art Unit                                   2153
( Not for submission under 37 CFR 1.99)
                                                               Examiner Name                    IYuk Ting Choi
                                                               Attorney Docket Number                     083523.0121




                                                                           U.S.PATENTS

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Initial* No                                        Code1                           of cited Document
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            1       9547369                                  2017-01-17            WERNICK et al.




            2       9720570                                  2017-08-01            WERNICK et al.


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                     Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 26 of 239
                                                           Application Number                    15944542

                                                           Filing Date                           2018-04-03
INFORMATION DISCLOSURE                                     First Named Inventor         IRAD
STATEMENT BY APPLICANT                                     Art Unit                              2153
( Not for submission under 37 CFR 1.99)
                                                           Examiner Name                IYuk Ting Choi
                                                           Attorney Docket Number                083523.0121




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1
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English language translation is attached.




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                  Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 27 of 239
                                                  Application Number             15944542

                                                  Filing Date                    2018-04-03
INFORMATION DISCLOSURE                            First Named Inventor    IRAD
STATEMENT BY APPLICANT                            Art Unit                       2153
( Not for submission under 37 CFR 1.99)
                                                  Examiner Name           IYuk Ting Choi
                                                  Attorney Docket Number         083523.0121




                                                  CERTIFICATION STATEMENT

Please see 37 CFR 1.97 and 1.98 to make the appropriate selection(s):


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D    See attached certification statement.
D    The fee set forth in 37 CFR 1.17 (p) has been submitted herewith.
~    A certification statement is not submitted herewith.
                                                             SIGNATURE
 A signature of the applicant or representative is required in accordance with CFR 1.33, 10.18. Please see CFR 1.4(d) for the
form of the signature.

Signature              /Chad C. Walters/                            Date (YYYY-MM-DD)          2018-08-07

Name/Print             Chad C. Walters                              Registration Number        48022



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    APPLICATION NUMBER           FILING OR 3 71 (C) DATE               FIRST NAMED APPLICANT                       ATTY. DOCKET NO./TITLE

        15/944,542                   04/03/2018                             Sean Rad              083523.0121
                                                                                             CONFIRMATION NO. 3585
5073                                                                                 POA ACCEPTANCE LETTER
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                                     111111111111111111111111]~!1]~~1~~1~ ~~~1~~11~1~ ~I] 11111111111111111111111
SUITE 900
DALLAS, TX 75201-2980
                                                                                                                   Date Mailed: 10/15/2018




                          NOTICE OF ACCEPTANCE OF POWER OF ATTORNEY
This is in response to the Power of Attorney filed 10/02/2018.
The Power of Attorney in this application is accepted. Correspondence in this application will be mailed to the
above address as provided by 37 CFR 1.33.




                                  Questions about the contents of this notice and the
                               requirements it sets forth should be directed to the Office
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                                                           page 1of1
          Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 30 of 239




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    APPLICATION NUMBER            FILING OR 3 71 (C) DATE               FIRST NAMED APPLICANT                      ATTY. DOCKET NO./TITLE

        15/944,542                    04/03/2018                             Sean Rad               083523.0121
                                                                                              CONFIRMATION NO. 3585
5073                                                                                  PUBLICATION NOTICE
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                                      111111111111111111111111]~!l]~~1~~IU~~IUHI~ 1111111111111111111111111111
SUITE 900
DALLAS, TX 75201-2980




Title:Matching Process System and Method
Publication No.US-2018-0292981-A 1
Publication Date:10/11/2018


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                                                            page 1of1
            Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 31 of 239
                                    Application/Control No.   Applicant(s)/Patent under
        Application Number                                    Reexamination

                                    15/944,542                RAD ET AL.



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    Date Filed : 02 October,
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Technology Center: PLRC

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 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 32 of 239
ATTOlll'\JEY DOCKET NO.                                                                                           PATENT APPLICATION
083523,0121                                                                                                            USSN 15/944,542




                  IN THE UNITED STATES PATENT AND TRADEr..1A.RK OFFICE


In re Application of:                                Sean RAD
Serial No.:                                          15/944,542
Filing Date:                                         April 3, 2018
Art Unit:                                            2153
Confirmation No.:                                    3585
Examiner:                                            Yuk Ting Choi
Title:                                               MATCHING PROCESS SYSTEM AJ\JD l\trETHOD




Commissioner for Patents
P,O, Box 1450
Alexandria, VA 22313~ l 450



Dear Examiner:




            n Jf,' ''.~l> .   .,,.,..rsr•'· : ' ., .· ''<i·r~''i '''P "-. '"'I'I ,. N l'fi ... ' 1''"' l l>.:l'I''' 'J'i' 'l"" ,, ~' H s .· ~ . 8
          ,!:L~.ith, (..-l'i··~ t.'-· l 0 fu:!:,!L&.,£:~1::.L!.~!LL~Lr~qIUl~-!.L,~~:.:J t"i.~,~,. E-1~L!:,t
         In response to the Office Action dated August 8, 2018 ("Office Action"), Applicants
respectfully request the Examiner to reconsider the rejection of the claims in view of the
following amendments and remarks. Please amend the Application as follows.
 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 33 of 239
ATTORNEY DOCKET NO,                                                          PATENT APPUCATION
083523,0121                                                                       USSN 15/944,542

                                                      2



.lli.IHE CLAIJYt~i;.
         This listing of claims will replace all prior versions, and listings, of claims in the
application:


         L       (Currently     Amended)          A       non-transitory   computer-readable       medium
comprising instructions that, when executed by a processor, are confi!:,rured to:
         electronically receive a plurality of user online-<lating profiles, each profile
comprising traits of a respective user;
        electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
        detennine from the plurality of user online~dating profiles a set of potential matches
for the first user;
        cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first ekctronic device,
the first potential match com:sponding to a second user;
        receive from the first electronic device of the first user a first positive preference
indication associated with the graphical representation of the second user on the graphical
user interface, the first positive preference indication associated with a first gesture
perfom1ed on the graphical user interfac(i,.. 1Yfa'.r..~!JJJhe OnnJt.~1~.tJJrn:.~~rnnmi.:;c:fJU1rnLt>.w:lnAng


        cause the graphical user interface to display a graphical representation of a second
potential match of the set of potential matches instead of the graphical representation of the
first potential match;
        receive from a. second electronic device of the second user a positive preference
indication regarding the first user;
        determine to allow the first ,user to communicate with the second user in response to
receiving from the first electronic device of the first user the first positive preference
indication regarding the second user and receiving from the second electronic device of the
second user the positive preference indication regarding the first user;
        receive from the first electronic devicl~ of the first user a firnt negative preference
indication associated with a graphical representation of a third potential match on the
 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 34 of 239
ATTORNEY DOCKET NO.                                                                       PATENT APPIJCA TICiN
083523.0121                                                                                    USSN l 5i944,542

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graphical user interface, the first negative preference indication associated with a second
gesture performed on the graphical user interface, the third potential match corresponding to
a third user,.s41gi:~jnJilf:LiQS::~~~m:Lgi;:f~1n:~':.~D.mpri;~~s a M:c_qns,13~~Y.lnin_g__ggjt\~X~~--~tiffa:J'.£~JJ th<'lttth.t'.
Jlrnt,~5;;:l12int.1w)t~!rn;
          without allowing communication bet\lveen the first user and the third user, receive
from the first electronic device of the first user a second positive preference indication
associated with a graphical representation of a fburth potential match on the graphical user
interface, the second positive preference indication associated with the first gesture
perfonned on the graphical user interface, the fourth potential match corresponding to a
fourth user;
          receive from a third electronic device of the fourth user a second negative preference
indication associated with a graphical representation ofthe first user; and
         without allowing communication between the first user and the fourth user, rec.eive
from the first electronic device of the first user a third positive preference indication
associated with a graphical representation of a fifth potential match on the graphical user
interface, the third positive preforence indication associated with the first gesture performed
on the graphical user interface, the fifth potential match corresponding to a fifth user.


         2.         (Original)      The medium of Claim 1, wherein at least one or more of the
plurality of user on-line dating profiles is associated with a social nenvorking platfom1.


         3.         (Canceled)


         4.        (Canceled)
 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 35 of 239
ATTORNEY DOCKET NO.                                               PATENT Af3PLICATION
083523,()121                                                           USSN 15/944,542

                                              4


       5,      (Original) The medium of Claim l, further comprising instructions configured
to, in response to determining to allow the first user to communicate with the second user,
cause the display of a graphical notification on the graphical liser interface of the first
electronic device of the first user, the graphical notification indicating that a match exists
between the first user and the second user and presenting an option for the first user to
communicate with the second user.


       6.     (Canceled)
 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 36 of 239
A TIORNEY DOCKET NH                                                     PATENT APPLICATION
083523.0121                                                                  USSN 15/944,542

                                                 5


        7.      (Currently Amended) A system for profile matching, comprising:
        an interface operable to:
        electronically receive a plurality of user           online~dating   profiles, each profile
comprising traits of a respective user; and
        electronically receive a firsl request for matching, the first request electronically
submitted by a first user using a first electronic device;
        a processor coupled to the interface and operable to:
        determine from the plurality of user online~dating profiles a set of potential matches
for the first user; and
        cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
        wherein the interface is further operable to receive from the first electronic device of
the first user a first positive preference indication associated \Vith the graphical representation
of the second user on the graphical user interface, the first positive preference indication
associated with a first gesture perfrirmed on the graphical user interfac~:\...\~'.hrn~JJl the fir3J


        wherein the processor is fmther operable to cause the graphical user interface to
display a graphical representation of a second potential match of the set of potential matches
instead of the graphical representation of the first potential match;
        wherein the interface is further operable to recdve from a second electronic device of
the second user a positive preference indication regarding the first user;
        wherein the processor is further operable to determine to allow the first user to
communicate with the second user in response to receiving from the first electronic device of
the first user the first positive preference indication regarding the second user and receiving
from the second electronk: device of the second user the positive preference indication
regarding the first user; and
       wherein the interface is forther operable to:
               receive from the first electronic device of the first user a first negative
preference indication associated with a graphical representation of a third potential match on
the graphical user interface, the first negative preference indication associated with a second
gesture performed on the graphical user interface, the third potential match corresponding to
 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 37 of 239
ATTORNEY DOCKET NO.                                                  PATENT A.PPLICATJON
083523.0121                                                               USSN 15/944,542

                                                6




                without allowing communication between the first user and the third user,
receive from the first electronic device of the first user a second positive preference
indication associated with a graphical representation of a fourth potential match on the
graphical user interface, the second positive preference indication associated with the first
gesture perfom1ed on the graphical user interface, the fourth potential match corresponding to
a fomih user;
                receive from a third electronic device of the fomth user a second negative
preference indication associated with a graphical representation of the first user; and
                without allowing communication between the first user and the frmrth user,
receive from the first electronic device of the first user a third positive preforence indication
associated with a graphical representation of a fifth potential match on the graphical user
interface, the third positive preference indication associated 'vVith the first gesture performed
on the graphical user interface, the fifth potential match corresponding lo a fifth user.


       8,       (Original)   The system of Claim 7, wherein at least one or more of the
plurality of user on-line dating profiles is associated with a social networking platform,


       9.       (Canceled)


       10.      (Canceled)
 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 38 of 239
ATTORNEY DOCKET NO,                                               PATENT APPLICATION
083523,0121                                                            USSN 15/944,542

                                              7


       11,     (Original) The system of Claim 7~ wherein the processor ls forther operable
to, in response to determining to allow the first user to communicate with the second user,
cause the display of a graphical notification on the graphical user interface of the first
electronic device of the first user, the graphical notification indicating that a match exists
between the first user ,and the second user and presenting an option for the first user to
communicate vvith the second usero


       12,    (Canceled)
  Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 39 of 239
ArfORNEY DOCKET NO,                                                               PATENT APPLICATION
083523.0121                                                                            USSN 15/944,542

                                                          8


         13,       (Currently Amended) A computer lmplemented method of profile matching,
comprising:
         electronically transmitting from a first electronic device of a first user a first request
for rnatching;
         causing the display of a graphical representation of a first potential match of a set of
potentlal matches to the first user on a graphical user interface of the first ekctronic device,
the first potential match corresponding to a second user;
         wherein the set of potential matches f()r the first user are detennined from a plurality
of user onilne-dating profiles in response to the first request fl.1r matching;
         vd1erein the plurality of user online~dating profiles each comprises traits of a
respective user;
         transmitting from the first electronic device of the first user a first positive preforence
indication associated with the graphical representation of the second user on the graphical
user interface, the first positlve preference indication associated vvith a first gesture
performed on the graphical user interfaco::\...~:'!:lw.rdttl!1e firm: g_~;HEt~L~'.PBH?.d~~~fi:.!:tJ].r,5J ~:;1-vipim~


         ca.using the display on the graphical user interface of a graphical representation of a
second potential match of the set of potential matches instead of the graphical representatlon
of the first potential match;
         allowing the first user to communicate with the second user in response to the first
electronic device of the first user transmitting the first positive preference indication
regarding the second user and a second user expressing a positive prefi.~rence regarding the
first user;
         transmitting from the first electronic device of the first user a. first negative preference
indication associated with a graphical representation of a third potential match on the
graphical user interface, the first negative preference indication associated with a second
gesture peri-onned on the graphical user interface, the third potential match corresponding to
a third usei~J1'l-k'.rcln J!lt..1ti~Qf!d_g~~}t\!I~t£Dm!1rii;t2dLiQ~~WKL;;:'wi1:.lm~_rt.Q,'it~1ntAi11b:~mtth.ntU1W


        without allowing the first user to communicate with the third user, transmitting from
the first electronic: device of the first user a second positive preference indication associated
with a graphical representation of a fourth potential match on the graphical user interface, the
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                                                 9


second positive preforence indication associated with the first gesture performed on the
graphical user interface, the fourth potential match corresponding to a fourth user;
        wherein there is a fourth user expression of a negative prererence for the first user;
and
        without allowing communication between the first user and the fourth user,
transmitting from the first electronic device of the first user a third positive preforence
indication associated with a graphical representation of a fifth potential match on the
graphical user interface, the third positive preference indication associated vvith the first
gesture performed on the graphical user interface, the fifth potential match corresponding to a
fifth user.


        14.     (Original)   The method of Claim 13, wherein at least one or more of the
plurality of user on~line dating profiles is associated with a social net\:vorking platform,


        J5.     (Canceled)


        16,     (Canceled)


        17.     (Original) The method of Claim 13, further comprising causing the display of
a graphical notification on the graphical user interface of the first electronic device of the first
user, the graphical notification indicating that a match exists between the first user and the
second user and presenting an option for the first user to communicate with the second user.


        18,    (Canceled)
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           19.       (Currently Amended) A system for profile matching, comprising:
           an interface operable to electronically transmit from a first electronic device of a first
user a first request for matching;
           a processor coupled to the interface and operable to cause the display of a graphical
representation of a first potential match of a set of potential matches to the first user on a
graphical user interface of the first electronic device, the first potential match corresponding
to a second user;
           wherein the set of potential matches for the first user are determined from a plurality
of user online-dating profiles in response to the first request for matching;
           wherein the plurality of user         online~dating     profiles each comprises traits of a
respective user;
           wherein the interface is further operable to transmit from the first electronic device of
the first user a first positive preforence indication associated with the graphical representation
of the second user on the graphkal user interface, the first positive preference indication
associated with a first gesture performed on the graphical user interfar.t\__ ~'.\'..b~~n:ittJh{~ fin~~


          wherein the processor is further operable to:
                     cause the display on the graphical user interface of a graphical representation
of a second potential match of the set of potential matches instead of the graphical
representation of the first potential match; and
                     aHow the first user to communicate with the second user in response to the
first electronic device of the first user transmitting the first positive preforence indication
regarding the second user and a second user expressing a positive preference regarding the
first user;
          wherein the interface is further operable to:
                     transmit from the first electronic device of the first user a first negative
preforence indication associated with a graphical representation of a third potential match on
the graphical user interface, the first negative preference indication associated with a second
gesture performed on the graphical user interface, the third potential match corresponding to
a third user,";td:t\tH\tnJh%.~~~htQl1f~.g~:mlHI~'t~i"lJ.HWii\.(:1-1t.10g9m! ..~WidDRJ~,%t~lf~--~lH1krnmJl!~mJh,~
J1r,~Lt>~~;_ipii}_g__g~t~itnrn; and
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                without allowing the first user to communicate with the third user, transmit
from the first electronic device of the first user a second positive preference indication
associated with a graphical representation of a fourth potential match on the graphical user
interface, the second positive preference indication associated with the first gesture
perfom1ed on the graphical user interface, the fourth potential match corresponding to a
t()lath user;
        wherein there is a fourth user expression of a negative preforence for the first user;
and
        wherein the interface is further operabk to, without allowing communication between
the first user and the fomih user, transmit from the first electronic device of the first user a
third positive preference indication associated with a graphical representation of a fifth
potential match on the graphical user interface, the third positive preference indication
associated with the first gesture performed on the graphical user interface, the fifth potential
match corresponding to a fifth user.


        20.     (Original)   The system of Claim 19, wherein at least one or more of the
plurality of user on-line dating profiles is associated with a social networking platform.


        21.     (Canceled)


        22,     (Canceled)


        23,     (Original) The system of Claim 19, wherein the processor is further operable
to cause the display of a graphical notification on the graphical user interface of the first
electronic devke of the first user, the graphical notification indicating that a match exists
between the first user and the second user and presenting an option for the first user to
communicate with the second user,


        2.tl,   (Canceled)
 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 43 of 239
ATTORNEY DOCKET NO,                                                  PATENT APPLICATlON
083523,0121                                                               USSN 15/944,542

                                                 12


                                            REl\tJARKS
           This Application has been carefully reviewed in light of the Office Action, Applicants
appreciate the Examiner's consideration of the Application, In order to advance prosecution
of this Application, Applicants have responded to each notation contained within the Office
Action, Applicants amend Claims l, 7, and 19 and cancel Claims 3-4, 6, 9-10, 12, 15-16, 18,
21-22, and 24, Applicants respectfolly request reconsideration and favorable action in this
case.

I!uubfo Pat~~i1dug
           The Oflke Action rejects Claims 1-24 under the judicially created doctrine of
obviousness-type double patenting as being unpatentable over claims 1-15 ofU,S. Patent No,
9,733,81L         Applicants do not necessarily agree with or acquiesce to the Examiner's
comments regarding the claims of the present Application or their purported relationship to
the claims of the patent. Enclosed with this Response, however, is a Terminal Disclaimer in
compliance with 37 C,F,R. § 1.32J(c) to overcome the obviousness-type double patenting
rejection. Reconsideration and Nithdrawal ofthe double patenting rejection of these claims is
                                  1




respectfully requested.


gxamint\rJJ!!trXJf;:~r
        Applicants appreciate the Examiner's discussion of this case on September 13, 2018
with Applicants' representative, Chad C. Walters (Reg, No, 48,022). During the interview,
the Examiner and Applicants' representative discussed the 35 LLS.C, 101 rejections and the
apparent 35 U.S,C, 103 rqjections based on the lvfoldavsky and Hymes references,            The
Examiner and Applicants' representative discussed the inclusion of the swiping fonctionalily
of dependent C!aim 3 (and other dependent claims) into the independent claims.              The
Examiner agreed that amendments to incorporate those elements into the independent claims
would overcome both the 35 U.S.C. 101 rejections and the rcforences considered by the
Examiner-


a~w.fkin   Jttt ]{gJ!t_\1Jitt!.
        The Office Action rejects Claims        1~24   under 35 U$.C, § lOL         To advance
prosecution, Applicants have amended Claims 1, 7, and 19 as discussed in the Examiner
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Interview. Applicants respectfully submit that the claims are allowable under 35 U.S.C. §
101.

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        111e Office Action appears to include a rejection under 35 U.S,C. 103 based on the
1vloldavs~1'   and Hymes references.   Applicants have amended Claims 1, 7, and 19 and
respectfully submit that these amended claims are allowable over these reforences, as agreed
by the Examiner in the Examiner Interview, Applicants respectfully request allowance of all
pending claims.
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No \Y~J!.£!
       Applicants' arguments are made without prejudice or disclaimer. By not responding
to additional statements contained within the Office Action, Applicants do not acquiesce to
the additional statements. The distinctions between the applied references and the claims are
provided as examples only and are sufficient to overcome the rejections, Applicants reserve
the right to discuss additional or other distinctions in a later response or on appeal, if
appropriate.


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       ff the Examiner is n.:lying upon "common knowledge" or "well known" principles or
"Official Notice" or other information within the Examiner's personal knowledge to establish
a rejection, Applicants respectfully request that the Examiner cite a reference or provide an
affidavit in support of the position in accordance with M.P.LP. § 2144.03 and 37 C.F.R
1.104(d)(2).
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                                                 15


                                          CONCLUSION

           Applicants have made an earnest attempt to place this case in condition for allowance.
For at least the foregoing reasons., Applicants respectfully request tl.JH allowance of all th~:
pending claims.


           If the Examiner believes a telephone conference would advance prosecution of this
case in any way, the Examiner is invited to contact Chad C. Walters, Attorney for Applicants,
at the Examiner's convenience at (214) 953-6511.


           Although Applicants believe no fees are due, the Commissioner is authorized to
charge any necessary foes and credit any on:rpayments to Deposit Account No. 02-0384 of
RAKER BOTTS LLY.


                                                Respectfully submitted,

                                                BAKER BOTTS LLP.
                                                Attorneys for Applicants




Customer Number;         05073




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                                         Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 47 of 239

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                                                                                                                                                               Apprnve=d for Ii£~ throu~h 01/31/2018. OM~ 0651--0035
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                As attomey{sl or agent(s) to represent the undersigned before the United States Patent and Trademark Office {USPTO) in connection with
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                t.H1der 37 CFR 3.73{c} to:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ~

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    (arid bv the USPTO to process) the file of a patent or reexamirrntim1 proceeding. Canf1de11tiallty is governed by 35 l!.S.C. 122 ~nd 37 CHI 1.11 and 1.14. This
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    be $ent to the Chief Information Officer, U.S. P;;tent and Trademark Office, U.S. Department !lf Commerce, P.O. Ila>: 1450, Alex;mdria, VA 22313~1450. DO NOT
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                                            Privacy Act Statement

The Privacy Act of 1974 (P.L 93-579) requires that yow be given certain information in connection with your
submission of the attached form related to a patent application or patent. Accordingly, pursuant to the
requirements of the Act, please be advised that (1) the general authority tor the collection of this information is
35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which
the information is used by the U.S. Patent and Trademark Office is to process and/or examine your submission
related to a patent application or patent If you do not furnish the requested information, the U.S. Patent and
Trademark Office may not be able to process and/or examine your submission, which may result in termination
of proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form wm be subject to the following routine uses:

    1.   The information on this form wm be treated confidentially to the extent allowed under the Freedom of
          Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of records
          may be disclosed to the Department of Justice to determine whether disclosure of these records is
          required by the Freedom of Information Act
    2.   A record from this system of records may be disclosed, as a routine use, in the course of presenting
         evidence to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in
         the course of settlement negotiations.
    3.   A record in this system of records may be disclosed, as a routine use, to a Member of Congress
          submitting a request involving an individual, to whom the record pertains, when the Individual has
         requested assistance from the Member with respect to the subject matter of the record.
    4.   A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency
         having need for the information in order to perform a contract. Recipients of information shall be required
         to comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
    5.   A record related to an International Application filed under the Patent Cooperation Treaty in this system
         of records may be disclosed, as a routine use, to the International Bureau of the World Intellectual
         Property Organization, pursuant to the Patent Cooperation Treaty.
    6.   A record in this system of records may be disclosed, as a routine use, to another federal agency for
         purposes of National Security review (35 U$C. 181) and for review pursuant to the Atomic Energy Act
         (42 U.S.C. 21B(c}).
    7.   A record from this system of records may be disclosed, as a routine use, to the Administrator, Genera!
         Services, or his/her designee, during an inspection of records conducted by GSA as part of that agency's
         responsibility to recommend improvements in records management practices and programs, under
         authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA
         regulations governing inspection of records for this purpose, and any other relevant (i.e" GSA or
         Commerce) directive. Such disclosure shall not be used to make determinations about Individuals.
    B.   A record from this system of records may be disclosed, as a routine use, to the public after either
         publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C.
         151. Further. a record may be disclosed, subject to the !imitations of 37 CFR 1.14, as a routine use, to
         the public if the record was filed in an application which became abandoned or in which the proceedings
         were terminated and which application is referenced by either a published application, an application
         open to public inspection or an issued patent
   9.    A record from this system of records may be disclosed. as a routine use. to a Federal, State, or local law
         enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or
         regulation.
Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 49 of 239



ATTORNEY DOCKET NO.                                                     DECLARA.TION AND
076533.0146                                                           POWER OF ATTORNEY

                                              1of6


                      DECLARATION AND POWER OF ATTORNEY


        As a below named inventor, l hereby declare:
        that my residence and post office address, are as stated below next to rny name;
        that l believe I am the original and sole inventor (if only one name is listed belo\v) or
an original and joint inventor (if plural names are listed below) of the subject matter vvhich is
claimed and for which a patent is sought on the invemion, design or discovery in an
application entitled MATCHING PROCESS SYSTEM AND METHOD, of which (check
one):
               __ is attached hereto; or
               ")L was filed on October 21, 2013 as Application Serial No. 14/059,192 and
was amended on ..---(if applicable);
        that I have reviewed and understand the contents of the above-identified specification,
including the claims, as amended by any amendment referred to above;
        that l acknowledge the duty to disclose to the U.S. Patent and Trademark Office al!
info1mation known to me to be material to patentabiiity as defined in 37 C,F.R. § L56; and
        that 1 have made or authorized to be· made the application for the above entitled
invention, design, or discovery.
 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 50 of 239



 ATTORNEY DOCKET NO.                                                        DECLARt\TION AND
 076.533.0146                                                             POWER OF ATTORNEY

                                              2 of6


        I hereby appoint:



                Pra<:titioners at Customer Number     05073

a]] of the firm of BAKER BOTTS LU', my attorneys with full power of substitution and
revocation, to prosecute this application and to transact all business in the United States
Patent and Trademark Office connected therewith, and to file and prosecute any international
patent applications filed thereon before any international authorities.


                                                              PitQtL1\*~i:ih~m~~f)illit1)~:
        Chad C. Walters                                       Chad C. Walters
        Customer Number 05073                                 at 214,953.6511


        l hereby declare that all statements made herein of my own knowledge are trne and
that all statements made on information and belief are believed to be tiue; and further that
these statements were made with the knowledge that willfol false statements and ihe like so
made are punishable by fine or imprisonment of not more than five yearn, or both, under
Section 100! of Title 18 of the United States Code, and that such willful false statements may
jeopardize the validity of the application or any patent issuing thereon,
Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 51 of 239



ATTORNEY DOCK.ET NO.                                                                      DECLARATION AND
076533.0146                                                                             POWER OF ATTORNEY

                                           3 of6




Title of Invention:        Matching Process Systern And Method


Full name of inventor:     Sean Rud                                    ,,........-;.?
                                                                    £.~/
                                                            .....~~-

Invento:ris signature:                              ----~~"'-...,
                                           .,.-----·if,--
                           .,........~---------·,;,······ ..~-------------/-·--············   .........
Date:                      ~~----------. . fl:::~~t..:t.11. . . . .c................
Residence (City, State):   Los Angeles, California
Post Office Address:       10430 Wilshire Blvd,
                           Unit 1403
                           Los Angeles, California 90024
Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 52 of 239



ATTORNEY DOCKET NO.                                               DECLARA.TION AND
076533,0146                                                     POWER OF ATTORNEY

                                      4 of6


Title of Invention:        Matching Process System And Method


Full n.ame of inventor:    Todd M. Carrico ·


I:nventor1s signature:
Date:
Residence (City, State):
Post Office Address:       .J 4:l)·')'~Ul'ifiS~'.'f;a1H;~
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Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 53 of 239



ATTORNEY DOCKET NO.                                    DECLARATION AND
076533.0146                                          POWER OF ATTORNEY

                                 5 of6


Title of Invention:        Matching Process System And Method


Full name of inventor:


Jnventor1s signature:
Date:
Residence (City, State):   Plano, Texas
Post Office Address:       1817 Chancellor Drive
                           Plano, Texas 75074
Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 54 of 239



ATTORNEY DOCKET NO.                                     DECLARATION AND
076533.0146                                          POWER OF ATTOfu'lEY

                                 6of6


Title of Invention;        Matching Process System And Method


Full name of inventor:     James C, Stone


Inventor's signature:
Date:
Residence (City, State):   Addison, Texas
Post Office Address:       15826 Breedlove
                           Addison, Texas 75001
Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 55 of 239




     ATTORNEY DOCKET NO,                                                         DECLARATlON AND
     083523'°118                                                               POWER OF ATTORNEY




                            DECLARATION AND l'OWER OP ATTORNEY


             As a below named inventor, I hereby declai·c'l:
             that my n~11ldence <Ind post office address, are as stuted belov,r next to my name;
             thilt I believe r am the original and sole inventor (if only one nmne h llste<l below) or
    !l(l orighml and joint inventor (ifplurnl names am listed below) ofthe subject matter -;,vhfoh is

    claimed aml for which 11 patent is sought on the invention, design or discovery ln an
    appHcallon entitled MATCHING PROCliiSS SYSTitM AND METHOD, of which (cbeck
    one):
                    .. ~ .... _ls attached hereto; or
                    __:{____was flied on Octobel' 2li 2013 as Application Seriill No. 14/059i192;
             that l have reviewed and understand the contents of the above-identified sp(1clficatlon,
    lnoh:ding the chdms, a1; amended by any ~me:ndment referred to above;
             that I acknowledge the duty to disclose to the U.S. Pate1•t l:lnd Trndemark Offlce all
   information kno\vn to me to be material to patentabHHy as dcflnc<l in 37 C.F.R. §1,56;«'!nd
            that l have mad\l ot authorized to be mw:te the applicallon for th\l above entitled
   invention, design, OJ' discovery.


            l hereby appoint:

                    Prnotition0rn at Customer Number 05073

   all of the fit'm of BAKER BOTfS u,.P., Any attomcyi;; wl!h foll power of substiMlon and
   revocation, to prosecute this app!katlo:n and to trnns1:1ot all business in the 1Jnlted Smtes
   Patent and Trndemal'k Offko\~ connected thel'ewhh, and to file and prosecute any International
   patent appHoatiorn> filed thereon before. any international authoritle:i.


                                                                   fJb:\il't1:dm~tMl!il,{~~JkJ:\!,:
            Chnd C, Walters                                        Chad C, Walters
            Customer Number 05073                                  ut2l4,953.65J 1
Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 56 of 239




    ATTOIU'TEY DOCKET NO,                                                 DECLARATION AND
    083$2'.UHlS                                                         POWER OF ATTORNEY
                                                                                    I



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           I hen~by declare thin aU statements made hewin of my own knowledge are two and
    that all statements made on information and bellef are believed to be true~ and further that
   these Stfltements wel'e made with the knowledg;e that wlUfol thl1;1e statements and the like so
   made am punishable by fine or imprisonment of not more than five years, or both, 1.mdet
   Seotion 1001 ofT!tle l8 ofthe Unlted StatM Code, and that such wlllfal false ata.tements may
   jeopardize the validity of the applk:athm or any patent issulng thereon.
Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 57 of 239




    ATTORNEY DOCKET NO.                                       DECLAR..A.TlON AND
    083523,0i 18                                            POWER OF ATI'ORNEY

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    Thlc of Invention: ·       MATCHJNG PROCESS SYSTEM AND METHOD

    Full mime ofinv~ntor;

    hwemorts signature:
    Date:


    Resldenoe (City, State):   North Hollywood, CaHfomfo.
    Post Offloe Addrt:i!l!l;   11201 Ot>q}f) St fMM
                               North Hdlywootl, Gullfomla 9160 l
                                                                      Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 58 of 239
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     :f.''''''''''''''''""'"''''''''''""''''-"'"'..................,,,. . . . . . . . .,,""'~''''''''''''''''''''''''"''~~''»».''"'''»"""'''""'"''''''''''''''''''''"''''''''"''''''''''":'-.'''"»."*""'""""""""''''''''''''''''''''''''''''''~'''"'~""''''''''''~'~"'"'"''"""""i
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     IJames
     r~~. . . . ~. . ~~. . . :
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                             . . . "'''''"»"""       . . .~.,.~,.,.,.,.,.,.~~. .~. . . ."'.,. ".;..
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      . . . . . . . . . .,,,,,»».'~'''''~'..-,.-,.-,.-,.""-,.""»":'-":'-":'--,.":'-'''''"'''"''''''''''''''"''''''''»:-.,..:-:-:-.. . . . . . .-,.~. . . . . .-,.1'. . . . . . . . . . . . .". . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .,,,,,,,.....,...........~~....1..-,....-,..,.........,...,,,,,,,,,,,,....,,,,,,,,.................,,,,,"''':-.'"...-,.-,.-,.-,.-,...................,.................................,,. ,,. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . '«
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                                                                             ... bQ_IJL\l!Y--~--~"""'"""'''"'""""""'"""'"""'"""""""""''""'"J  a deooa~ or legally lflcapsci!Jll~oo !rivsntar):                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ~
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     t'"'""'~;;,;::;:,:-:::~-:::";~-::------"''""""""'"""""""""""T"'                                                                                                                                                                                                                              _ _ _ _ T. .,,v..x                                                                                                                     . . . .5". . .~o;... . .a:-.. . . . ."'o"'""'"''l""''"""''"'"u.,..,..,..,..,..,."s~.,..,..,..,.,. . . . . . . . . . ". .............1. ~
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     :i;...,,., ,~~~s
     :S:                    :-: ~~"''§s ~ S''-~~ ~§ s
                   ~, '\,.,$~ ~ "--~ ~ '%..§ ~-- ""', ~           "'• ,                                                                                                      rJ                                                                                  -1                                                                                                                                                                                               ..,,.
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  ~ ! believe the above-named k111entor or joint Inventor to be the original Inventor or ~n 0Mgiru:1! joint i1111enior of a claimed invention ~
  ~                         in the app!icat!os~,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            1
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  ~I hereby acknowledge tha! any wmful false statement made !n t!'\is statement Is pt.mishable under 'IS U.S,C. i001 by fine or                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         f
 ~                         imprisonment or not more than five (5) years, or both.
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 ~
 ~
 ~             Relationship to the $nventor to whom ~his substitute s!atement applies:
~
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! D Legal Representative (for deceased or legally lncap£1dU1ted inventor only),
!


Il                                 r~1 ~\m~i~in:t~e,
                                   l~l       .
J                                  [~~~ Person to whon-1 the h'l\'£mtor is urn:li~r ~m >)t~lig<>titXl tt~ .01ssi~$fl,
-=                                 ~                ~ P~~rs:::~n ~v~10 o~hitH'\~i$S~~ sho)•v~ ~~ S\.~ffie~~nt p~opd~~t~~f'Y Snt~~r~~st ~nth~ rn~3:t~~~r (pet~tk)n ~""~nd~~r 3~~ CFT~ -~ .A.t3 ~t~ ~~~.-~J$r~Nj}, o~~
~                                  L~...J

! ['"] Joint Inventor,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ~
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                                                       . ..:-:-:-:-:-:-........,....................................., ..,,,,,,. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ., . . . . . . . . . . . . . . . . . . . . . . . . . ,,
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      This ..:.~:... ~h;~fa.):1 o~ i:~it-:n-r&~fax~ ~s ~~~quk&t"S b~• ~~5 U.t~. C, ii S. ;;H~-:3 :$7 Cf:'R i .S:t T~N~ ;~~fr~:~~:::~~~k::~~                                                                                                                                                                                                                                                            m~·~~~;!'~d k~ ob~~~~~ (-,.r ~~~~;:1 ~ b~~~~~j~ ~·~~~ft~;- ~::!.~btk~ ~'-'-~::tt;h iB ~~J ~n& (~nrJ
      ~~~:;~~;l~~!j::~~:~:~~-,~;;~;~~;i;~, ~~:~;~;~~;~~-:·~,;~~~,~~;:'.~!;,;:~~~' !;~;~:;~~~~~~/,_;~~~;,;~(;; l'.;:;:i'~:,~;:; c;~;;1~): -~-~:~; 1~ai'~~~~:~~~~;:.:~:;~::,:~,,;~::~s:~~~\;:~::;i:,~~~~~~: R>
      c::~mm>.~n~~ ~}l ~jl~· :.~.rrn.~::t)l {.Y§fan~. )''"((;._~ ~\~{~~:tl;"<:.: ~) ).:~~;:~nr..~~~":i~"::: ~"~:f:: l~?l~~H ~~'~.·..i~\~r~,~~..::.:$~[:~q~>:~ n-:.~' ~:.:.:X:.=t.-.::.~fi~i' ~~~ l.~. ~'~'~t~. ~tK~\.~)~ b:.:~ s.~:~~ to ~h~ ~}h~f fr~fo·fl~~~U~:-:~ Of:k:~'$·,'· U.S.
      f~:..~~~~~~~- ~.t~:5 lt.~:~::.t~~~r~&.:k ()t:'k~~·,. ~;.~,~~- t)~f~~~S~f~~".:":~)~ ~~'(~ C<:·~-~~~~'{~~~~i::(} P.{J. ·~i-c.-::~: · ;..~*~i(!, :-~l\.'tx~~~~,~~l~~- ~,/;.~ ~~~~:H ~~.- ~~~t 1~H) NCfr·.~~f~(!·~':f~~ ("::~ .f:'()t·~~~~~tlfri~ ~:()!~~~$ -:ro
      TH~S .A~)t)R[~1S . g~~N~:l Tt)~ Co~~~'1~%$~§o~~*~· f~)t ~~~t~~1§*=- }'.!-,{),a'-'$~ i~~~~~ A§~R~~-::t§rh~. V.A ~~~~i~-.. i~§:~,
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                                                                     Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 59 of 239

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         l                            [iJ Inventor cannot be found or reached after di!l~1ent effort, or                                                                                                                                                                                                                                                                                                                                                                                                                                            ~
        Il
                                      0 Inventor has refused to execute th~i o;~th or dedaratlon lmder 37 CFR 1,63.
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         ~ !f them am join!. inventors, please check nie appropriate box below:                                                                                                                                                                                                                                                                                                                                                                                                                                                                  I~
        ~                            liJ An appl!cation data sheet under 37 CFR 1, 76 (PTOfAIA!i4 or equiv;~lenl.) nam!ng !he entire inventive ~mmy has been
        ~                                                 or is currently :submitted.
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                                                           An applic;oifo:in data :sheet under 37 CFH 1.76 {PTO/AlA/i4 or equivalent) has not been :submitted, Thus, a SubstiMe
                                                           Statement Supplemef1ta! Sheet (PT0/AIA!1 1 or equivalent} naming the entire inventive entity and pmvidlng if1ventor                                                                                                                                                                                                                                                                                                                                                                 I ~

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 I~ /~p~~~~~::u)~         Match Group, LLC
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                 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 60 of 239



                             Electronic Patent Application Fee Transmittal
 Application Number:                            15944542


 Filing Date:                                   03-Apr-2018




 Title of Invention:                            Matching Process System and Method




 First Named Inventor/Applicant Name:           Sean Rad


 Filer:                                         Chad Christian Walters/Wendy Flottman


 Attorney Docket Number:                        083523.0121


 Filed as Large Entity


Filing Fees for Utility under 35 USC 111 (a)


                                                                                                 Sub-Total in
                         Description                   Fee Code        Quantity         Amount
                                                                                                   USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


 Extension-of-Time:
            Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 61 of 239
                                                                                   Sub-Total in
                     Description               Fee Code      Quantity     Amount
                                                                                     USO($)


Miscellaneous:


           STATUTORY OR TERMINAL DISCLAIMER      1814           1          160         160


                                                        Total in USO($)            160
             Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 62 of 239
                                      Electronic Acknowledgement Receipt

                         EFSID:                          33896687


                  Application Number:                     15944542


         International Application Number:

                  Confirmation Number:                   3585




                    Title of Invention:                  Matching Process System and Method




       First Named Inventor/Applicant Name:              Sean Rad


                   Customer Number:                      5073


                          Filer:                         Chad Christian Walters/Wendy Flottman


                   Filer Authorized By:                  Chad Christian Walters


               Attorney Docket Number:                   083523.0121


                      Receipt Date:                      02-0CT-2018


                       Filing Date:                      03-APR-2018


                      Time Stamp:                         16:05:12


                    Application Type:                     Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                   yes

Payment Type                                            DA

Payment was successfully received in RAM                 $160

RAM confirmation Number                                   1003181NTEFSW00003074020384

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               Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 63 of 239




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Document                                                                                   File Size(Bytes}/                         Multi              Pages
                    Document Description                          File Name
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                     Amendment/Req. Reconsideration-After Non-Final Reject                                  1                                    1



                                                 Claims                                                     2                                    11



                      Applicant Arguments/Remarks Made in an Amendment                                     12                                    15


Warnings:
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               Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 64 of 239
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1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
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National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
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national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
               Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 65 of 239

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                     REJECTION OVER A "PRIOR" PATENT
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        Under :he PaP<:>rNa:f: Rt:l~t:etia:1 Act of 1995. :10 r;emons are reql.'imd to :espo:id le a collt:.::t:ar. cf infcrr.iaticr. i;;iiess it displavs a valid OMB comrol number.
            TERMINAL DISCLAIMER TO OBVIATE A DOUBLE PATENTING                                                                         Docket Nurr.bm (Optii:m@I)
                                                                                                                                      083852.0121

 In re Application of: Match Group. LLC

Application No.: 15/944,M2

 Filed: 04-03-2018
For: Matching Process Sysiern and Method



T!1e owner*, Match Group. LLC                                      ___ , of ___________          mo..............
                                                                                        percent interest in the instant application hereby disclaims.
except as provided below, the terminal part of the statutory term of any patent granted on the instant application which would extend beyond
the expiration dale of !he full statutmy term prior patent No ..\"!,733 811             as the term of said prior p@tent is defined in 35 U.S.C. 154
and 1"13, and as the term of said prior patent is presently shortened by any terminal disclaimer. The owner hereby agrees that ar.y patent so
granted on the instant application shall be enforceable only for and during such period that it and the prior patent are commonly owned. This
agreement runs with any patent granted on the instam application and is binding upon the grantee. its successors or assigns.

In making Hie above disciaimer, the owner does not disclaim the terminal part of !he term of any patent granted on the instant application that
would extend to the expiration date of the full statutory term as def:ned in 35 U.S.C. ·154 and 173 of the prior patent, ''as U1e term of said prior
patent is presently shortened by any termina! disclaimer," in t!1e event that said prior patent later:
     expires for failure to pay a maintenance fee;
    is t;eld unenforceable;
    is found invalid by a court of competent jurisdiction:
     is statutorily disclaimed in whole or terminally disciaimed under 37 CFR ·10321;
     has aii claims canceled by a reexamination certificate;
    is reissued; or
    is :n any manner tem:inaied prior to the expiration of its full statuto;y term as presently shortened by any terminal disclaimer.


Check either box 1 or 2 below, if appropriate.

i. [{] For submissions on behalf of a business/organization (e.g., corporation, partnership, university, government agency,
           etc.), tt1e undersigned is empowered to act on behalf of the businessforganization.

          I hereby declare that all statements made herein of my own knowledge are true and that all statements made on information and
belief are believed lo be true; and further !ha! these statements were made with the knowledge that willful fal$e statements and the like so
made are punishable by fine or imprisonment, or both, under Section 1001 of Ti!ie ·rn of the United States Code and that suct1 willful false
statements may jeopardize the validity of the application or any patent issued thereon.

2.   D The undersigned is an attorney or agent of record. Reg. No .....................________________________
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     [2J     Terminal disciaimer fee under 37 CFR 1.20(d) included.

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Form PTO/SB/96 may be used for making !his certification. See MPEP § 324.

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 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 66 of 239




                                        Privacy Act Statement

The Privacy Act of 1974 (PL 93~579} requires that you be g:ven certain information in connection
with your submission of the attached form related to a patent application or patent Accordingly,
pursuant to U1e requirements of the Act, please be advised that: (1) the general authority for the
collection of this information is 35 U.S.C. 2{b)(2). (2) furnishing of the information solicited is voluntary;
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The information provided by you in this form will be subject to the following routine uses:

    1. The information on this form wiil be treated confidentially to the extent a!lowed under the
       Freedom of information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from
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   6. A record in this system of records may be disclosed, as a routine use, to anotner federal
       agency for purposes of National Security review (35 U.S.C. 181) and for review pursuant to
      the Atomic Energy Act (42 U.S.C. 218(c)).
   7. A record from this system of records may be disclosed, as a routine use, to the Administrator,
      General Services, or his/her designee. during an inspection of records conducted by GSA as
      part of that agency's responsibility to recommend improvements in records management
      practices and programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall
      be made in accordance with the GSA regulat!ons governing inspection of records for this
      purpose, and any other relevant (U::c, GSA or Commerce) directive. Such disclosure shall not
      be used to make determinations about individLials.
   8. A record from this system cf records may be disc!osed, as a routlne use, to the public after
      either publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent
      pursuant to 35 U S.C. 151. Further, a record may be disclosed, subject to the limitations of 37
      CFR 1.14, as a routine use. to the pubilc if the record was filed in an application which
      became abandoned or in whicl1 the proceedings were terminated and which application is
      referenced by either a published application, an application open to public inspection or an
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   9. A record from this system of records may be disclosed, as a routine use, to a Federal, State,
      or local law enforcement agency, if the USPTO becomes aware of a violation or potential
      violation of law or regulation.
                    Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 67 of 239
                                                                                                                                                                              PTO/SB/06 (09-11)
                                                                                                                                             Approved for use through 1/31/2014. OMB 0651-0032
                                                                                                                          U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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    PATENT APPLICATION FEE DETERMINATION RECORD                                                             Application or Docket Number                Filing Date
                                    Substitute for Form PT0-875                                                      15/944,542                      04/03/2018             D To be Mailed

                                                                                                                           ENTITY:          ~LARGE           D SMALL D MICRO
                                                                         APPLICATION AS FILED - PART I
                                                   (Column 1)                          (Column 2)

                   FOR                           NUMBER FILED                       NUMBER EXTRA                                     RATE($)                            FEE($)

 D BASIC FEE                                           N/A                                 N/A                                        N/A
       (37 CFR 1.16(a), (b), or (c))

 D SEARCH    FEE
   (37 CFR 1.16(k), (i), or (m))
                                                       N/A                                 N/A                                        N/A

 D (37
   EXAMINATION FEE
       CFR 1.16(0), (p), or (q))
                                                       N/A                                 N/A                                        N/A
 TOTAL CLAIMS
 (37 CFR 1.16(i))                                          minus 20 =       *                                                x   $          =

 INDEPENDENT CLAIMS
 (37 CFR 1.16(h))                                            minus 3 =      *                                                x   $          =

                                            If the specification and drawings exceed 100 sheets
                                            of paper, the application size fee due is $310 ($155
 0APPLICATION SIZE FEE
                                            for small entity) for each additional 50 sheets or
   (37 CFR 1.16(s))
                                            fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                            CFR 1.16(s).
 D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
 * If the difference in column 1 is less than zero, enter "O" in column 2.                                                           TOTAL



                                                                      APPLICATION AS AMENDED - PART II

                                    (Column 1)                        (Column 2)              (Column 3)

                                CLAIMS                           HIGHEST
                                REMAINING                        NUMBER
f--     10/02/2018              AFTER                            PREVIOUSLY
                                                                                          PRESENT EXTRA                              RATE($)                    ADDITIONAL FEE ($)
z                               AMENDMENT                        PAID FOR
w      Total (37 CFR
~       1.16(i\\                * 12                 Minus       ** 24                =   0                                  x   $100 =                                     0
0
z       Independent
       (37 CFR 1.16(hll         *4                   Minus       ***4                 =   0                                  x   $460 =                                     0
w
~
<(
        D Application Size Fee (37 CFR 1.16(s))
        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                             TOTAL ADD'L FEE                               0
                                    (Column 1)                        (Column 2)              (Column 3)

                                  CLAIMS                          HIGHEST
                                 REMAINING                         NUMBER
                                                                                          PRESENT EXTRA                              RATE($)                    ADDITIONAL FEE ($)
                                   AFTER                         PREVIOUSLY
                                AMENDMENT                         PAID FOR
 f--
 z     Total (37 CFR
                                *                    Minus       **                                                          x $
 w      1.16(i))                                                                      =                                                     =

 ~      Independent
                                                                                                                             x $
 0     (37 CFR 1.16(h))         *                    Minus       ***                  =                                                    =
 z      D Application Size Fee (37 CFR 1.16(s))
 w
 ~
 <(     D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                             TOTAL ADD'L FEE

 * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                       LIE
 ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".                                   LAVINIA JOHNSON
 *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
 The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
This collection of information is required by 37 CFR 1.16. The information is required to obtain or retain a benefit by the public which is to file (and by the US PTO to
process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete, including gathering,
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                Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 68 of 239
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    APPLICATION NO.            FILING DATE           FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.                     CONFIRMATION NO.

       15/944,542              04/03/2018                  Sean Rad                       083523.0121                          3585

       5073             7590            08/10/2018                                                           EXAMINER
       BAKER BOTTS L.L.P.
                                                                                                          CHOI. YUK TING
       2001 ROSS A VENUE
       SUITE 900
       DALLAS, TEXAS 75201-2980                                                             ART UNIT                      PAPER NUMBER

       UNITED ST ATES OF AMERICA                                                                2153


                                                                                   NOTIFICATION DATE                      DELIVERY MODE

                                                                                            08/10/2018                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

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following e-mail address(es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                         Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 69 of 239
                                                                                                           Application No.              Applicant(s)

                                                                                                           15/944,542                    Rad et al.
        Examiner-Initiated Interview Summary
                                                                                                           Examiner                     Art Unit             AIA Status
                                                                                                           YUK TING CHOI                2153                 No


  All participants (applicant, applicant's representative, PTO personnel):

 (1) YUK TING CHOI.                                                                                 (3) _ _ .


 (2) Chad Walters.                                                                                  (4) _ _ .



      Date of Interview: 25 July 2018.

          Type:          ~ Telephonic    0 Video Conference
                         0 Personal [copy given to: 0 applicant~ applicant's representative]
  Exhibit shown or demonstration conducted:                               0 Yes             0 No.
      If Yes, brief description: _ _ .


  Issues Discussed                 ~ 101          0 112           0 102           0 103           ~ Others
  (For each of the checked box(es) above. please describe below the issue and detailed description of the discussion)


  Claim(s) discussed: 1,7,13 and 19.

  Identification of prior art discussed: none.

  Substance of Interview
  (For each issue discussed, provide a detailed description and indicate if agreement was reached. Some topics may include: identification or clarification of a reference
  or a portion thereof, claim interpretation, proposed amendments, arguments of any applied references etc ... )

   Examiner suggested Applicant to incorporate claims 3, 9, 15 and 21 into claim 1, 7, 13 and 19 and a Terminal Disclaimer
  for case 14/059, 192 to overcome the potential double patenting rejections in order to expedite the prosecution process.
  Applicant could not make decision at this stage. No agreement has been reached.




 Applicant recordation instructions: It is not necessary for applicant to provide a separate record of the substance of interview.

 Examiner recordation instructions: Examiners must summarize the substance of any interview of record. A complete and proper recordation of the
 substance of an interview should include the items listed in MPEP 713.04 for complete and proper recordation including the identification of the general
 thrust of each argument or issue discussed, a general indication of any other pertinent matters discussed regarding patentability and the general results or
 outcome of the interview, to include an indication as to whether or not agreement was reached on the issues raised.

 0 Attachment
 NUK TING CHOI/
 Primary Examiner, Art Unit 2153

U.S. Patent and Trademark Office
PTOL-413B (Rev. 8/11/2010)                                                         Interview Summary                                              Paper No. 20180803
                Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 70 of 239
                                                                            UNITED STATES DEPARTMENT OF COMMERCE
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                                                                                       www.uspto.gov




    APPLICATION NO.            FILING DATE           FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.                     CONFIRMATION NO.

       15/944,542              04/03/2018                  Sean Rad                       083523.0121                          3585

       5073             7590            08/08/2018                                                           EXAMINER
       BAKER BOTTS L.L.P.
                                                                                                          CHOI. YUK TING
       2001 ROSS A VENUE
       SUITE 900
       DALLAS, TEXAS 75201-2980                                                             ART UNIT                      PAPER NUMBER

       UNITED ST ATES OF AMERICA                                                                2153


                                                                                   NOTIFICATION DATE                      DELIVERY MODE

                                                                                            08/08/2018                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address(es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                        Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 71 of 239
                                                                                    Application No.                                Applicant(s)
                                                                                    15/944,542                                     Rad et al.
                      Office Action Summary                                         Examiner                                      Art Unit            AIA Status
                                                                                    YUK TING CHOI                                 2153                No
                -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE 3 MONTHS FROM THE MAILING
 DATE OF THIS COMMUNICATION.
                                                            -
           Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
           after SIX (6) MONTHS from the mailing date of this communication.
           If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
           Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
           Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
           earned patent term adjustment. See 37 CFR 1.704(b).

 Status
       1)~ Responsive to communication(s) filed on 4/03/2018.
          0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on           .
      2a)O This action is FINAL.                       2b) ~ This action is non-final.
       3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
           _ _ ;the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
           closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

 Disposition of Claims*
     5) ~ Claim(s)      1-24 is/are pending in the application.
                 5a) Of the above claim(s) _ _ is/are withdrawn from consideration.
         6)    O      Claim(s) _ _ is/are allowed.
         7)    ~      Claim(s) 1-24 is/are rejected.
         8)    O      Claim(s) _ _ is/are objected to.
         9)    O      Claim(s) _ _ are subject to restriction and/or election requirement
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http://www.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PPHfeedback@uspto.gov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
      11 )~ The drawing(s) filed on 1-24 is/are:                    a)~      accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).

 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
           a)O All      b)O Some**    c)O None of the:
                     1.0           Certified copies of the priority documents have been received.
                     2.0           Certified copies of the priority documents have been received in Application No. _ _ .
                     3.0           Copies of the certified copies of the priority documents have been received in this National Stage
                                   application from the International Bureau (PCT Rule 17.2(a)).
  ** See the attached detailed Office action for a list of the certified copies not received.



 Attachment{s)
 1) ~ Notice of References Cited (PT0-892)                                                         3)   O Interview Summary (PT0-413)
                                                                                                           Paper No(s)/Mail Date _ _ .
 2) ~ Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)
      Paper No(s)/Mail Date 04/03/2018.
                                                                                                   4)   0 Other: _ _.
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                                    Office Action Summary                                 Part of Paper No./Mail Date 20180802
      Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 72 of 239
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Art Unit: 2153

                                        DETAILED ACTION

1.     The present application 15/944,542, filed on 04/03/2018, is being examined under the

pre-AIA first to invent provisions. Claims 1-24 are pending in this office action.


                                             Drawings

2.     The drawings received on 04/03/2018 are accepted by the Examiner.

                                              Priority

3.     Acknowledgment is made of applicant's claim for continuation applications

       - No. 15/576, 773 filed on 08/14/2017, not yet been examined.

       - No. 14/059, 102 filed on 10/21/2013, Patent No. 9,733,811, which is a continuation-in-

part of application

       -No. 12/399,301, filed on 12/19/2008, Patent No. 8, 566, 327, which is a provisional

application

       -No. 61/015/099, filed on 12/19/2007.

4.     A declaration of prior invention under 35 CFR 1.31 was filed on 5/30/2017 in the parent

case application No. 14/059, 192, the earliest filing date was declared to be earlier than

08/6/2012. Therefore, the Janssens reference (US 2014/0040368A1 ), which filed later than the

parent case application No. 14/059, 192 has been withdrawn for consideration.



                                       Double Patenting

5.     The nonstatutory double patenting rejection is based on a judicially created doctrine

grounded in public policy (a policy reflected in the statute) so as to prevent the unjustified or

improper timewise extension of the "right to exclude" granted by a patent and to prevent

possible harassment by multiple assignees. A nonstatutory obviousness-type double patenting

rejection is appropriate where the conflicting claims are not identical, but at least one examined

application claim is not patentably distinct from the reference claim(s) because the examined
     Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 73 of 239
Application/Control Number: 15/944,542                                                       Page 3
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application claim is either anticipated by, or would have been obvious over, the reference

claim(s). See, e.g., In re Berg, 140 F.3d 1428, 46 USPQ2d 1226 (Fed. Cir. 1998); In re

Goodman, 11 F.3d 1046, 29 USPQ2d 2010 (Fed. Cir. 1993); In re Langi, 759 F.2d 887, 225

USPQ 645 (Fed. Cir. 1985); In re Van Ornum, 686 F.2d 937, 214 USPQ 761 (CCPA 1982); In re

Vogel, 422 F.2d 438, 164 USPQ 619 (CCPA 1970); and In re Thorington, 418 F.2d 528, 163

USPQ 644 (CCPA 1969).

       A timely filed terminal disclaimer in compliance with 37 CFR 1.321 (c) or 1.321 (d) may be

used to overcome an actual or provisional rejection based on a nonstatutory double patenting

ground provided the conflicting application or patent either is shown to be commonly owned with

this application, or claims an invention made as a result of activities undertaken within the scope

of a joint research agreement.

       Effective January 1, 1994, a registered attorney or agent of record may sign a terminal

disclaimer. A terminal disclaimer signed by the assignee must fully comply with 37 CFR 3.73(b).

       Claims 1-24 are rejected on the ground of nonstatutory obvious double patenting over

claims 1-15 of Patent No.: US 9,589,032 B 1. The subject matter claimed in the instant

application is disclosed in the Patent No.: US 9,589,032 B1.    For example:



          Patent No.: US 9,733,811 81                   Instant Application: 15/944,542



 Claim 4 ( Similar to other independent            Claim 1 (Similar to other independent

 claims 7 "System" and 1 "method" in               claims 7 "System", 13 "method and 19

 order)                                            "system").

 A non-transitory computer-readable
                                                   A non-transitory computer-readable
 medium comprising instructions that,
                                                   medium comprising instructions that,
      Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 74 of 239
Application/Control Number: 15/944,542                                                       Page 4
Art Unit: 2153

 when executed by a processor, are                 when executed by a processor, are

 configured to: electronically receive a           configured to: electronically receive a

                                                   plurality of user online dating profiles,


 plurality of user online-dating profiles,
                                                   each profile comprising traits of a

                                                   respective user;

 each profile comprising traits of a

 respective user and associated with a social

 networking platform;

 electronically receive a first request for        electronically receive a first request for

 matching, the first request electronically        matching, the first request electronically

 submitted by a first user using a first           submitted by a first user using a first

 electronic device;                                electronic device;



                                                   determine from
 determine a set of potential matches from
                                                   the plurality of user online-dating
 the plurality of user online-dating profiles
                                                   profiles a set of potential matches



 for the first user in response to receiving the   for the first user;

 first request;

                                                   cause the display of a graphical
 cause the display of a graphical

 representation of a first potential match

 of the set of potential matches to the first

 user on a graphical user interface of
     Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 75 of 239
Application/Control Number: 15/944,542                                                       Page 5
Art Unit: 2153

 the first electronic device, the first            representation of a first potential match

 potential match corresponding to a                of the set of potential matches to




 second user; determine that the first user
                                                   the first user on a graphical user
 expressed
                                                   interface of



        a positive preference indication           the first electronic device, the first

 regarding the first potential match at least by   potential match corresponding to a

 determining that the first user performed a       second user;

 first swiping gesture associated with the

 graphical representation of the first             receive from the first electronic device of the

 potential match on the graphical user             first user a first positive preference

 interface;                                        indication associated with the graphical

                                                   representation of the second user on the

                                                   graphical user interface, the first positive
 in response to the determination that the first
                                                   preference indication associated with a
 user expressed the positive preference
                                                   first gesture performed on the graphical
 indication regarding the first potential
                                                   user interface;
 match, automatically




                                                   cause the graphical user interface to
 cause the graphical user interface to
                                                   display a graphical representation of a
 display a graphical representation of a
     Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 76 of 239
Application/Control Number: 15/944,542                                                        Page 6
Art Unit: 2153

 second potential match of the set of              second potential match of the set of

 potential matches instead of the graphical        potential matches instead of the

 representation of the first potential match;      graphical representation of the first

 determine that the second user has                potential match; receive from a second

 expressed a positive preference                   electronic device of the second user a

                                                   positive preference indication

                                                   regarding the first user;
 indication regarding the first user after




 determining that the first user expressed the     determine to allow the first user to

 positive preference indication regarding the      communicate with the second user in

 first potential match; determine to enable        response to receiving from the first

 communication between the first user and          electronic device of the first user the first

 the second user in response to the                positive preference indication regarding

 determination that both the first user has        the second user and receiving from the

 expressed the positive preference                 second electronic device of the second

 indication regarding the second user and          user

                    the second user has

 expressed the positive preference                    the positive preference indication

 indication regarding the first user;              regarding the first user;


 in response to the determination to enable

 communication between the first user and the

 second user, cause the graphical user

 interface to display to the first user both the
                                                   receive from the first electronic device of the
 graphical representation of the first potential
     Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 77 of 239
Application/Control Number: 15/944,542                                                        Page 7
Art Unit: 2153

 match; determine that the first user expressed   first user

 a negative preference indication regarding       a first negative preference

 a second potential match of the set of           indication associated with a

 potential matches at least by determining that

 the first user performed a second swiping

 gesture associated with a graphical              graphical representation of a

 representation of the second potential match     third potential match on the graphical

 on the graphical user interface, the second      user interface, the first negative preference

 swiping gesture different than the first         indication associated with a second

 swiping gesture, the second potential match      gesture performed on the graphical user

 corresponding to a third user; determine to      interface, the third potential match

                                                  corresponding to a third user;



                                                  without allowing communication between
 prevent communication between the first
                                                  the first user and the third user, receive
 user and the third user in response to
                                                  from the first electronic device of the first
 determining that both the first user has
                                                  user a second positive preference
 expressed the positive preference
                                                  indication associated with a
 indication regarding the second user and the
                                                  graphical representation of a fourth potential
 second user has expressed the positive
                                                  match on the graphical user interface, the
 preference indication regarding the first
                                                  second positive preference indication
 user; determine that the first user expressed
                                                  associated with the first gesture performed
 a positive preference indication regarding a
                                                  on the graphical user interface, the fourth
 third potential match of the set of potential
                                                  potential match corresponding to a fourth
 matches at least by determining that the first
     Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 78 of 239
Application/Control Number: 15/944,542                                                                           Page 8
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 user performed the first swiping gesture                    user;

 associated with a graphical representation of

 the third potential match on the graphical user             receive from a third electronic device of the

 interface, the third potential match                        fourth user a second negative preference

 corresponding to a fourth user; and determine               indication associated with a graphical

 to prevent communication between the first                  representation of the first user; and

 user and the fourth user in response to

 determining that the fourth user has                        without allowing communication between

 expressed a negative preference indication                  the first user and the fourth user, receive

 regarding the first user.                                   from the first electronic device of the first

                                                             user a third positive preference indication

                                                             associated with a graphical representation

                                                             of a fifth potential match on the graphical

                                                             user interface, the third positive

                                                             preference indication associated with the

                                                             first gesture performed on

                                                             the graphical user interface, the fifth

                                                             potential match corresponding to a fifth

                                                             user.




                                     Claim Rejections - 35 USC § 101

6.     35 U.S.C. 101 reads as follows:

       Whoever invents or discovers any new and useful process, machine, manufacture, or composition of matter, or any new
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       and useful improvement thereof, may obtain a patent therefor, subject to the conditions and requirements of this title.




        Claims 1-24 are rejected under 35 U.S.C. 101 because the claimed invention is directed

to non-statutory subject matter.


        In claims 1-24 are rejected under 35 U.S.C 101 because the claimed invention is

directed to a judicial exception (i.e., a law of nature, a natural phenomenon, or an abstract idea)

without significantly more. Claims 1-24 are directed to the abstract idea of storing electronic

objects being associated with metadata having properties, as explained in detail below. The

claims do not include additional elements that are sufficient to amount to significantly more than

the judicial exception because the additional computer elements, which are recited at a high

level of generality, provide conventional computer software functions that do not add meaningful

limits to practicing the abstract idea.

        Claim 1, recites, in part, an article of manufacture for matching user profiles including

receiving user online dating profiles, each profile comprising traits of a respective user [e.g.

collecting information]; receiving a first request for matching from a first user [e.g. collecting and

analyzing information]; determining a set of potential matches for the first user [e.g. analyzing

information]; receiving a first positive preference indication associated with the graphical

representation of the second user on the graphical user interface [e.g. analyzing received

information] ; cause the graphical interface to display a second potential match of the set of

potential matches instead of the first potential match [e.g. displaying results of the collection and

analysis]. These steps describe for matching user profiles are correspond to concepts identified

as abstract ideas by the courts, e.g., collecting information, analyzing it and displaying

certain results of the collection and analysis in Electric Power Group. Claim 1 also recites

additional limitations receiving from a second electronic device of the second user a positive

preference indication regarding the first user from a second user and allowing the first user to
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communicate with the second user in response to the first positive preference indication

regarding the second user and receiving the second user the positive preference indication

regarding the first user [e.g. generating communication based on both parties indicated positive

preferences (rules)]; receiving a first negative preference associated with a graphical user

interface, the first negative preference indication associated with a third user ; without allowing

communication between the first and the third user when either the first user or the third user

indicates a negative preference indication [e.g. generating prevent communication process

based on one of the party indicated a negative preference (rules)]; receiving from a third

electronic device of the fourth user a second negative preference indication associated with a

graphical representation of the first user; without allowing communication between the first user

and the fourth user when either the first user or the fourth user indicates a negative preference

indication [e.g. generating prevent communication process based on one of the party indicated

a negative preference indication (rules)].These steps describe allowing or preventing user

communication based on user's negative or positive preference indication are corresponding to

concepts identified as abstract ideas by the courts, e.g., Generating tasks [based on] rules ... to

be completed upon the occurrence of an event in Accenture. The additional limitations do not

appear to be improvement in another technology. In addition, the recited limitations "receiving",

"determining" "displaying", "updating", "allowing" and "without allowing" are recited at a higher

level of generality and are recited as performing generic computer function routinely used in

computer search engine applications. Generic computer component recited as performing

generic computer functions are amount to no more than impending the abstract idea with a

computerized system. The use of generic computer components to allowing or disallowing

communication based on the rules designed for the system does not impose any meaningful

limit on the computer implementation of the abstract idea. Thus, taken alone, the additional

elements do not amount to significantly more than the above-identified judicial exception (the

abstract idea). Looking at the limitation as an ordered combination adds nothing that is not
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already present when looking at the elements taken individually. There is no indication that the

combination of elements improves the functioning of a computer or improves any other

technology. Their collective functions merely provide conventional computer implementation.

The dependent claims 2-6 are also rejected further define the communication platform is a

social networking platform, the received gesture type and the notification message presenting

an option for the user to communicate are corresponds to abstract idea, e.g., collecting

information, analyzing it and displaying certain results of the collection and analysis in

Electric Power Group which is directed to abstract idea. Therefore, claims 1-6 are not patent

eligible.

        Claim 7, recites, in part, a system for matching user profiles including receiving user

online dating profiles, each profile comprising traits of a respective user [e.g. collecting

information]; receiving a first request for matching from a first user [e.g. collecting and analyzing

information]; determining a set of potential matches for the first user [e.g. analyzing

information]; receiving a first positive preference indication associated with the graphical

representation of the second user on the graphical user interface [e.g. analyzing received

information] ; cause the graphical interface to display a second potential match of the set of

potential matches instead of the first potential match [e.g. displaying results of the collection and

analysis]. These steps describe for matching user profiles are correspond to concepts identified

as abstract ideas by the courts, e.g., collecting information, analyzing it and displaying

certain results of the collection and analysis in Electric Power Group. Claim 7 also recites

additional limitations receiving from a second electronic device of the second user a positive

preference indication regarding the first user from a second user and allowing the first user to

communicate with the second user in response to the first positive preference indication

regarding the second user and receiving the second user the positive preference indication

regarding the first user [e.g. generating communication based on both parties indicated positive

preferences (rules)]; receiving a first negative preference associated with a graphical user
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interface, the first negative preference indication associated with a third user ; without allowing

communication between the first and the third user when either the first user or the third user

indicates a negative preference indication [e.g. generating prevent communication process

based on one of the party indicated a negative preference (rules)]; receiving from a third

electronic device of the fourth user a second negative preference indication associated with a

graphical representation of the first user; without allowing communication between the first user

and the fourth user when either the first user or the fourth user indicates a negative preference

indication [e.g. generating prevent communication process based on one of the party indicated

a negative preference indication (rules)].These steps describe allowing or preventing user

communication based on user's negative or positive preference indication are corresponding to

concepts identified as abstract ideas by the courts, e.g., Generating tasks [based on] rules ... to

be completed upon the occurrence of an event in Accenture. The additional limitations do not

appear to be improvement in another technology. In addition, the recited limitations "receiving",

"determining" "displaying", "updating", "allowing" and "without allowing" are recited at a higher

level of generality and are recited as performing generic computer function routinely used in

computer search engine applications. Generic computer component recited as performing

generic computer functions are amount to no more than impending the abstract idea with a

computerized system. The use of generic computer components to allowing or disallowing

communication based on the rules designed for the system does not impose any meaningful

limit on the computer implementation of the abstract idea. Thus, taken alone, the additional

elements do not amount to significantly more than the above-identified judicial exception (the

abstract idea). Looking at the limitation as an ordered combination adds nothing that is not

already present when looking at the elements taken individually. There is no indication that the

combination of elements improves the functioning of a computer or improves any other

technology. Their collective functions merely provide conventional computer implementation.

The dependent claims 8-12 are also rejected further define the communication platform is a
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social networking platform, the received gesture type and the notification message presenting

an option for the user to communicate are corresponds to abstract idea, e.g., collecting

information, analyzing it and displaying certain results of the collection and analysis in

Electric Power Group which is directed to abstract idea. Therefore, claims 7-12 are not patent

eligible.

        Claim 13, recites, in part, a method for matching user profiles including receiving user

online dating profiles, each profile comprising traits of a respective user [e.g. collecting

information]; receiving a first request for matching from a first user [e.g. collecting and analyzing

information]; determining a set of potential matches for the first user [e.g. analyzing

information]; receiving a first positive preference indication associated with the graphical

representation of the second user on the graphical user interface [e.g. analyzing received

information] ; cause the graphical interface to display a second potential match of the set of

potential matches instead of the first potential match [e.g. displaying results of the collection and

analysis]. These steps describe for matching user profiles are correspond to concepts identified

as abstract ideas by the courts, e.g., collecting information, analyzing it and displaying

certain results of the collection and analysis in Electric Power Group. Claim 13 also recites

additional limitations receiving from a second electronic device of the second user a positive

preference indication regarding the first user from a second user and allowing the first user to

communicate with the second user in response to the first positive preference indication

regarding the second user and receiving the second user the positive preference indication

regarding the first user [e.g. generating communication based on both parties indicated positive

preferences (rules)]; receiving a first negative preference associated with a graphical user

interface, the first negative preference indication associated with a third user ; without allowing

communication between the first and the third user when either the first user or the third user

indicates a negative preference indication [e.g. generating prevent communication process

based on one of the party indicated a negative preference (rules)]; receiving from a third
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electronic device of the fourth user a second negative preference indication associated with a

graphical representation of the first user; without allowing communication between the first user

and the fourth user when either the first user or the fourth user indicates a negative preference

indication [e.g. generating prevent communication process based on one of the party indicated

a negative preference indication (rules)].These steps describe allowing or preventing user

communication based on user's negative or positive preference indication are corresponding to

concepts identified as abstract ideas by the courts, e.g., Generating tasks [based on] rules ... to

be completed upon the occurrence of an event in Accenture. The additional limitations do not

appear to be improvement in another technology. In addition, the recited limitations "receiving",

"determining" "displaying", "updating", "allowing" and "without allowing" are recited at a higher

level of generality and are recited as performing generic computer function routinely used in

computer search engine applications. Generic computer component recited as performing

generic computer functions are amount to no more than impending the abstract idea with a

computerized system. The use of generic computer components to allowing or disallowing

communication based on the rules designed for the system does not impose any meaningful

limit on the computer implementation of the abstract idea. Thus, taken alone, the additional

elements do not amount to significantly more than the above-identified judicial exception (the

abstract idea). Looking at the limitation as an ordered combination adds nothing that is not

already present when looking at the elements taken individually. There is no indication that the

combination of elements improves the functioning of a computer or improves any other

technology. Their collective functions merely provide conventional computer implementation.

The dependent claims 14-18 are also rejected further define the communication platform is a

social networking platform, the received gesture type and the notification message presenting

an option for the user to communicate are corresponds to abstract idea, e.g., collecting

information, analyzing it and displaying certain results of the collection and analysis in
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Electric Power Group which is directed to abstract idea. Therefore, claims 13-18 are not patent

eligible.

        Claim 19, recites, in part, a system for matching user profiles including receiving user

online dating profiles, each profile comprising traits of a respective user [e.g. collecting

information]; receiving a first request for matching from a first user [e.g. collecting and analyzing

information]; determining a set of potential matches for the first user [e.g. analyzing

information]; receiving a first positive preference indication associated with the graphical

representation of the second user on the graphical user interface [e.g. analyzing received

information] ; cause the graphical interface to display a second potential match of the set of

potential matches instead of the first potential match [e.g. displaying results of the collection and

analysis]. These steps describe for matching user profiles are correspond to concepts identified

as abstract ideas by the courts, e.g., collecting information, analyzing it and displaying

certain results of the collection and analysis in Electric Power Group. Claim 7 also recites

additional limitations receiving from a second electronic device of the second user a positive

preference indication regarding the first user from a second user and allowing the first user to

communicate with the second user in response to the first positive preference indication

regarding the second user and receiving the second user the positive preference indication

regarding the first user [e.g. generating communication based on both parties indicated positive

preferences (rules)]; receiving a first negative preference associated with a graphical user

interface, the first negative preference indication associated with a third user ; without allowing

communication between the first and the third user when either the first user or the third user

indicates a negative preference indication [e.g. generating prevent communication process

based on one of the party indicated a negative preference (rules)]; receiving from a third

electronic device of the fourth user a second negative preference indication associated with a

graphical representation of the first user; without allowing communication between the first user

and the fourth user when either the first user or the fourth user indicates a negative preference
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indication [e.g. generating prevent communication process based on one of the party indicated

a negative preference indication (rules)].These steps describe allowing or preventing user

communication based on user's negative or positive preference indication are corresponding to

concepts identified as abstract ideas by the courts, e.g., Generating tasks [based on] rules ... to

be completed upon the occurrence of an event in Accenture. The additional limitations do not

appear to be improvement in another technology. In addition, the recited limitations "receiving",

"determining" "displaying", "updating", "allowing" and "without allowing" are recited at a higher

level of generality and are recited as performing generic computer function routinely used in

computer search engine applications. Generic computer component recited as performing

generic computer functions are amount to no more than impending the abstract idea with a

computerized system. The use of generic computer components to allowing or disallowing

communication based on the rules designed for the system does not impose any meaningful

limit on the computer implementation of the abstract idea. Thus, taken alone, the additional

elements do not amount to significantly more than the above-identified judicial exception (the

abstract idea). Looking at the limitation as an ordered combination adds nothing that is not

already present when looking at the elements taken individually. There is no indication that the

combination of elements improves the functioning of a computer or improves any other

technology. Their collective functions merely provide conventional computer implementation.

The dependent claims 20-24 are also rejected further define the communication platform is a

social networking platform, the received gesture type and the notification message presenting

an option for the user to communicate are corresponds to abstract idea, e.g., collecting

information, analyzing it and displaying certain results of the collection and analysis in

Electric Power Group which is directed to abstract idea. Therefore, claims 19-24 are not patent

eligible.
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          Referring to claims 1 and 7, Moldavsky discloses a non-transitory computer-readable

medium comprising instructions that, when executed by a processor, are configured to:

          electronically receive a plurality of user online dating profiles (See para. [0008] and

[0040], receiving a list of pre-qualifying match based on user's dating preferences) each

profile comprising traits of a respective user (See Figures 5 and 7, para. [0118], each

matched profile including name, category from which the match was selected, photo and

etc.);

          electronically receive a first request for matching, the first request electronically

submitted by a first user using a first electronic device (See para. [0116], a first user submit a

search criteria to look for a match);

          determine from the plurality of user online-dating profiles a set of potential matches for

the first user (See para. [0118] and Figure 7, the system determines a list of matches

based on search criteria chosen by the first user);

          cause the display of a graphical representation of a first potential match of the set of

potential matches to the first user on a graphical user interface of the first electronic device, the

first potential match corresponding to a second user (See Figure 7, para. [0151] displaying a

first match in the list on the screen shown in Figure 7, the first match is corresponding to

a second user);

          receive from the first electronic device of the first user a first positive preference

indication associated with the graphical representation of the second user on the graphical user

interface, the first positive preference indication associated with a first gesture performed on the

graphical user interface (See para. [0154], if the first user is interested in the first match,

first user taps gesture "save and connect" [e.g. positive preference] associated with the

first match);
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       cause the graphical user interface to display a graphical representation of a second

potential match of the set of potential matches instead of the graphical representation of the first

potential match (See para. [0154] and Figure 7, moving the first match into a "saved

matched" directory and when user go back to the original search list, a second match in

the list is displayed, the first match has been moved to "saved matched'); [ ... ]

       receive from the first electronic device of the first user a first negative preference

indication associated with a graphical representation of a third potential match on the graphical

user interface (See para. [0119] and Figure 8, receiving a first negative preference

"Dismiss Match" from the first user on a third match on the list), the first negative

preference indication associated with a second gesture performed on the graphical user

interface, the third potential match corresponding to a third user (See para. [0119] and Figure

8, the second gesture is tap on "Dismiss Match" associated with the third match);

[ ... ] receive from the first electronic device of the first user a second positive preference

indication associated with a graphical representation of a fourth potential match on the graphical

user interface (See para. [0154], if the first user is interested in the fourth match, first user

taps gesture "save and connect" [e.g. positive preference] associated with the fourth

match), the second positive preference indication associated with the first gesture preformed on

the graphical user interface , the fourth potential match corresponding to a fourth user (See

para. [0154], first user taps gesture "save and connect" [e.g. positive preference]

associated with the fourth match);

       receive from a third electronic device of the fourth user a second negative preference

indication associated with a graphical representation of the first user (See para. [0119] and

Figures 8 and 28, receiving a second negative preference "Dismiss Match" from another

device regarding on a first user on the list); and
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[ ... ] receive from the first electronic device of the first user a third positive preference indication

associated with a graphical representation of a fifth potential match on the graphical user

interface (See para. [0154], if the first user is interested in the fifth match, first user taps

gesture "save and connect" [e.g. positive preference] associated with the fifth match),

the third positive preference indication associated with the first gesture performed on the

graphical user interface, the fifth potential match corresponding to a fifth user (See para. [0154],

first user taps gesture "save and connect" [e.g. positive preference] associated with the

fifth match).

        Moldavsky discloses receiving a positive preference indication and a negative

preference indications on a potential match from one or more client devices but does not

explicitly disclose allow or disallow communication based on the received preference

indications.

        However, Hymes discloses receive from a second electronic device of the second user a

positive preference indication regarding the first user, determine to allow the first user to

communicate with the second user in response to receiving from the first electronic device of

the first user the first positive preference indication regarding the second user and receiving

from the second electronic device of the second user the positive preference indication

regarding the first user (See Figure 5 and para. [0073]-para. [0086], receiving expressed

interest message from a second user and determine to allow or facilitate communication

with the second user in response to first personal also expressed interest in

communicate with the second user, note the system allows to communicate only when

both parties have expressed interest to communicate); without allowing communication

between the first user and the third user when either of the first user or the third user does not

provide positive preference indication and without allowing communication between the first

user and the fourth user when either of the first user or the third user does not provide positive
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preference indication (See Figure 5 and para. [0073]-para. [0086], receiving expressed

interest message from a first user and determine to withhold communication with the

third or fourth user in response to the third person or fourth person does not expressed

interest in communicate with the first user, note the system allows to communicate only

when both parties have expressed interest to communicate).

        Hence, it would have been obvious to one having ordinary skill in the art at the time of

invention was made to modify the matching profile system of Moldavsky to include allow or

disallow communication based on the received preference indications, in order to facilitate

developing relationship with people that one in interested in (See, Hymes, para. [0008]).

       As to claims 2, 8, 14 and 20, Moldavsky discloses wherein at least one or more of the

plurality of user on-line dating profiles is associated with a social networking platform (See para.

[0003]and para. [0005], para. [0039] and para. [0114], the Connect Quest application is a

social networking system including dating and friendship).

       As to claims 5, 11, 17 and 23, Moldvasky discloses in response to determining to allow

the first user to communicate with the second user, cause the display of a graphical notification

on the graphical user interface of the first electronic device of the first user, the graphical

notification indicating that a match exists between the first user and the second user and

presenting an option for the first user to communicate with the second user (See para. [0120]-

para. [0122], the user can communicate with other using group chat, private chat or

public chat after indicating the second user is a match as showed in Figure 7).

       As to claims 6, 12, 18 and 24, Moldvasky discloses in response to determining to allow

the first user to communicate with the second user.
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cause the display of a graphical notification on the graphical user interface of the first electronic

device of the first user, the graphical notification indicating that a match exists between the first

user and the second user and presenting an option for the first user to communicate with the

second user (See para. [0120]-para. [0122], the user can communicate with other using

group chat, private chat or public chat after indicating the second user is a match as

showed in Figure 7).

        Referring to claims 13 and 19, Moldavsky discloses a computer implemented method

of profile matching (See para. [0008] and [0040], providing a list of pre-qualifying match

based on user's dating preferences), comprising:

       electronically transmitting from a first electronic device of a first user a first request for

matching (See para. [0116], a first user submit a search criteria to look for a match);

       causing the display of a graphical representation of a first potential match of a set of

potential matches to the first user on a graphical user interface of the first electronic device, the

first potential match corresponding to a second user (See Figure 7, para. [0151] displaying a

first match in the list on the screen shown in Figure 7, the first match is corresponding to

a second user); wherein the set of potential matches for the first user are determined from a

plurality of user online-dating profiles in response to the first request for matching (See para.

[0118] and Figure 7, the system determines a list of matches based on search criteria

chosen by the first user); wherein the plurality of user online-dating profiles each comprises

traits of a respective user (See Figures 5 and 7, para. [0118], each matched profile

including name, category from which the match was selected, photo and etc.);

       transmitting from the first electronic device of the first user a first positive preference

indication associated with the graphical representation of the second user on the graphical user

interface, the first positive preference indication associated with a first gesture performed on the

graphical user interface (See para. [0154], if the first user is interested in the first match,
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first user taps gesture "save and connect" [e.g. positive preference] associated with the

first match);

       causing the display on the graphical user interface of a graphical representation of a

second potential match of the set of potential matches instead of the graphical representation of

the first potential match (See para. [0154] and Figure 7, moving the first match into a

"saved matched" directory and when user go back to the original search list, a second

match in the list is displayed, the first match has been moved to "saved matched');[ ... ]

       transmitting from the first electronic device of the first user a first negative preference

indication associated with a graphical representation of a third potential match on the graphical

user interface (See para. [0119] and Figure 8, receiving a first negative preference

"Dismiss Match" from the first user on a third match on the list), the first negative

preference indication associated with a second gesture performed on the graphical user

interface, the third potential match corresponding to a third user( See para. [0119] and Figure 8,

the second gesture is tap on "Dismiss Match" associated with the third match);

[ ... ] transmitting from the first electronic device of the first user a second positive

preference indication associated with a graphical representation of a fourth potential match on

the graphical user interface (See para. [0154], if the first user is interested in the fourth

match, first user taps gesture "save and connect" [e.g. positive preference] associated

with the fourth match), the second positive preference indication associated with the first

gesture performed on the graphical user interface (See para. [0154], first user taps gesture

"save and connect" [e.g. positive preference] associated with the fourth match), wherein

the fourth potential match corresponding to a fourth user; wherein there is a fourth user

expression of a negative preference for the first user (See para. [0119] and Figures 8 and 28,

receiving a second negative preference "Dismiss Match" from another device regarding

on a first user on the list); and
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     [ ... ] transmitting from the first electronic device of the first user a third positive preference

indication associated with a graphical representation of a fifth potential match on the graphical

user interface (See para. [0154], if the first user is interested in the fifth match, first user

taps gesture "save and connect" [e.g. positive preference] associated with the fifth

match), the third positive preference indication associated with the first gesture performed

on the graphical user interface, the fifth potential match corresponding to a fifth user (See para.

[0154], first user taps gesture "save and connect" [e.g. positive preference] associated

with the fifth match).

Moldavsky discloses receiving a positive preference indication and a negative preference

indications on a potential match from one or more client devices but does not explicitly disclose

allow or disallow communication based on the received preference indications.

       However, Hymes discloses receive from a second electronic device of the second user a

positive preference indication regarding the first user, determine to allow the first user to

communicate with the second user in response to receiving from the first electronic device of

the first user the first positive preference indication regarding the second user and receiving

from the second electronic device of the second user the positive preference indication

regarding the first user (See Figure 5 and para. [0073]-para. [0086], receiving expressed

interest message from a second user and determine to allow or facilitate communication

with the second user in response to first personal also expressed interest in

communicate with the second user, note the system allows to communicate only when

both parties have expressed interest to communicate); without allowing communication

between the first user and the third user when either of the first user or the third user does not

provide positive preference indication and without allowing communication between the first

user and the fourth user when either of the first user or the third user does not provide positive

preference indication (See Figure 5 and para. [0073]-para. [0086], receiving expressed
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interest message from a first user and determine to withhold communication with the

third or fourth user in response to the third person or fourth person does not expressed

interest in communicate with the first user, note the system allows to communicate only

when both parties have expressed interest to communicate).

       Hence, it would have been obvious to one having ordinary skill in the art at the time of

invention was made to modify the matching profile system of Moldavsky to include allow or

disallow communication based on the received preference indications, in order to facilitate

developing relationship with people that one in interested in (See, Hymes, para. [0008]).




       Any inquiry concerning this communication or earlier communications from the examiner

should be directed to YUK TING CHOI whose telephone number is (571 )270-1637. The

examiner can normally be reached on Monday-Friday 9am-6pm.

       Examiner interviews are available via telephone, in-person, and video conferencing

using a USPTO supplied web-based collaboration tool. To schedule an interview, applicant is

encouraged to use the USPTO Automated Interview Request (AIR) at

http://www.uspto.gov/interviewpractice.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Heather Herndon can be reached on 5712724136. The fax phone number for the

organization where this application or proceeding is assigned is 571-273-8300.

       Information regarding the status of an application may be obtained from the Patent

Application Information Retrieval (PAIR) system. Status information for published applications

may be obtained from either Private PAIR or Public PAIR. Status information for unpublished

applications is available through Private PAIR only. For more information about the PAIR

system, see http://pair-direct.uspto.gov. Should you have questions on access to the Private
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PAIR system, contact the Electronic Business Center (EBC) at 866-217-9197 (toll-free). If you

would like assistance from a USPTO Customer Service Representative or access to the

automated information system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.


                                                          YUK TING CHOI
                                                          Examiner
                                                          Art Unit 2153


/YUK TING CHOI/
Primary Examiner, Art Unit 2153
                         Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 96 of 239
                                                                                    Application/Control No.              Applicant(s)/Patent Under
                                                                                    15/944,542                           Reexamination
                                                                                                                         Rad et al.
                Notice of References Cited                                          Examiner                             Art Unit
                                                                                    YUK TING CHOI                        2153               Page 1 of 1


                                                                          U.S. PATENT DOCUMENTS
                    Document Number                       Date
*              Country Code-Number-Kind Code           MM-YYYY
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                                               Include as applicable: Author, Title Date, Publisher, Edition or Volume, Pertinent Pages)
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*A copy of this reference is not being furnished with this Office action. (See MPEP § 707.05(a).)
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          Search Notes                15/944,542                         Rad et al.
                                      Examiner                           Art Unit

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 CPC - Searched*
 Symbol                                                                    Date                      Examiner
 G06F17/30867 OR G06F17/3053 OR G06F17/30386                              08/02/2018


 CPC Combination Sets - Searched*
 Symbol                                                                    Date                      Examiner




 US Classification - Searched*
 Class                 Subclass                                            Date                      Examiner



* See search history printout included with this form or the SEARCH NOTES box below to determine the scope of the
search.


 Search Notes
 Search Notes                                                              Date                       Examiner
 G06F17/30867 OR G06F17/3053 OR G06F17/30386 and East Text
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 search
 East Text Search                                                          08/02/2018
 Inventor and Assignee search                                              08/02/2018
 Double Patenting search                                                   08/02/2018
 NPL google search                                                         08/02/2018
 IDS search                                                                08/02/2018


 Interference Search
 US Class/CPC
                          US Subclass/CPC Group                            Date                       Examiner
 Symbol




  /YUK TING CHOI/
  Primary Examiner, Art Unit 2153




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                                                           Page 1 of 1
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         Index of Claims                  15/944,542                             Rad et al.
                                          Examiner                               Art Unit

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              Rejected                       Cancelled               N    Non-Elected                A           Appeal

  -           Allowed                        Restricted               I   Interference               0         Objected

                                                             CLAIMS
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          CLAIM                                                           DATE
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                                                                    Application Number:                               First Named Inventor:
        INFORMATION DISCLOSURE                                      15/944,542 - GAU: 2153                            Sean Rad et al.
        STATEMENT BY APPLICANT                                      Attorney Docket No:                               Filing Date:
                                                                    083523.0121


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                       2014/0040368                                    02/06/2014                                                 Janssens

                       2014/007 4824                                   03/13/2014                                                      Rad


                                                        NON-PATENT LITERATURE (NPL)
Examiner
 Initials*                 DOCUMENT (Including Author (if any), Title, and Source)                                                                 DATE
             PCT Notification of Transmittal of the International Search Report and the Written Opinion                                      February 10, 2009
             of the International Searching Authority, or the Declaration with attached PCT International
             Search Report and Written Opinion of the International Searching Authority in International
             Annlication No. PCT/US08/87706, dated February 10, 2009, 8 pages.


Active 37710608.1                                                                  DA TE CONSIDERED
EXAMINER                        /YUK TING CHOI/                                                                       07/25/2018

*EXAMINER: Initial if citation considered, whether or not citation is in conformance with MPEP 609. Draw line through citation if not in conformance and not
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**The date identified by the applicant for any NPL herein shall not be construed to be an admission that it is or is considered to be prior art under 35 U.S.C. §§ I 02-
103.

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                              ALL REFERENCES CONSIDERED EXCEPT WHERE LINED THROUGH. /Y.C/
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                                                                            100 of 239 - GAU: 2153
                                                                   Application Number:                                First Named Inventor:
       INFORMATION DISCLOSURE                                                                                         Sean Rad et al.
       STATEMENT BY APPLICANT                                      Attorney Docket No:                                Filing Date:
                                                                   083523.0121



                                  ISSUED U.S. PATENTS AND PUBLISHED U.S. APPLICATIONS
Examiner
 Initials*        Document Number                          Publication or Issue Date                                    First Named Inventor




                                                       NON-PATENT LITERATURE (NPL)
Examiner
 Initials*                 DOCUMENT (Including Author (if any), Title, and Source)                                                                DATE
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             filed December 19, 2008 in the name of Todd M. Carrico, 14 pages.
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             Consideration Under the After Final Consideration Pilot Program 2. 0 filed 06/06/2013 for
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Active 37710608. 1                                                                 DA TE CONSIDERED
EXAMINER                  /YUK TING CHOI/
                                                                                                                        07/25/2018

*EXAMINER: Initial if citation considered, whether or not citation is in conformance with MPEP 609. Draw line through citation if not in conformance and not
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103.

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                     All References Considered Except \Nhere Lined Through. /Y.Ci
EAST Search History
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                   EAST Search History

                   EAST Search History (Prior Art}



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                   I S284 I 1                       I "20120088524" and dismiss$3                                                                        I US-PGPUB; I OR                                           I OFF                  i 2018/08/021
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                   IS282 I 1 I"20120088524" and receiv$3 near5                                                                            I US-PGPUB; IOR                           IOFF ~ 2018/08/021
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                   I S280 I 1                       I "20120088524" and send same saved                                                                  I US-PGPUB; I OR                                           I OFF                  i 2018/08/021
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EAST Search History
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                   I                i               i                                                                                                     1 USPAT·                      i                            i                      i 16"46                        i
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                   IS278 ! 1 ! "20120088524" and dismiss$3                                                                              ! US-PGPUB; ! OR                      ! OFF               ! 2018/08/02!
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                   IS275 I 1 I"20120088524" and (user) near10                                                                                      I US-PGPUB; IOR                                IOFF ~ 2018/08/021
                   I             I Iprofile$3 and select$3 near10 criter$5                                                                         I USPAT; I                                     I                     ~ 16:20                     I
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                   IS274 ! 1 ! "20120088524" and (generat$3 creat$3) ! US-PGPUB; ! OR                                                                                                             ! OFF                 ! 2018/08/02!
                   I             I I near10 profile$3 and select$3 near10                                                                          ! USPAT;            I                          I                     ~ 16: 19                    I
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                   ! S273 ! 1                       ! "20120088524" and creat$3 near10                                                                    ! US-PGPUB; ! OR                                           ! OFF                  ! 2018/08/02!
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                   IS271 I 1 I"20120088524" and profile$3 and (dat$3) IUS-PGPUB; IOR                                                                                                IOFF ~ 2018/08/021
                   I           I I near10 (preference$3)                                                                                  I USPAT; I                                I                  ~ 16: 14    I
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                   IS270 ! 1                        ! "20120088524" and profile$3 and ( dat$3) ! US-PGPUB; ! OR                                                                                                      ! OFF                  ! 2018/08/02!
                   I     !                          ! and criter$3                             ! USPAT;     !                                                                                                        !                      ~ 16: 13    !
                   i     !                          !                                          i USOCR·     !                                                                                                        !                      i           !
                   I     I                          I                                            FPRS· ,                                                  I                             I                            I                      ~                              I
                   I     I                          I                                            EPO· ,JPO·                                               I                             I                            I                      ~                              I
                   I     I                          I                                            DERWENT·                                                 I                             I                            I                      ~                              I
                   ~                l               l                                                                                                     ~                           'l                             l                      ~                              l

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EAST Search History
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                                                                                                                                                    i EPO· JPO· i
                                                                                                                                                    I DERWENT·!
                                                                                                                                                                                                       i
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                                                                                                                                                                                                                           i
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                      .............! .........        J. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ...! !.~~=:!:~-~--:..! .........................! ...................! ..........................!
                      S255 l324                         i(match$3) near10 (profil$3) and (click$3                                                   iUS-PGPUB;IOR                                      !OFF                i2018/07/25I
                           !                            ! select$3 swip$3) near10 (like$3 positive                                                  IUSPAT;     !                                      !                   113:59     !
                           !                            ! button$3 love$3 interest$3) near10                                                        ! USOCR;    !                                      !                   !          !
                           !                            ! (profile$3) and (initat$3 start$3 creat$3                                                 ! FPRS;     !                                      !                   !          !
                           !                            ! generat$3) near10 (communication                                                          ! EPO; JPO; !                                      !                   !          !
                           I                            I contact$3 messag$3 chat$3) and (dating                                                    I DERWENT; I                                       I                   i          I
                      ..........J ........J ~!~-~-~~-~J~-~!~-~--~-~~~-~--~-~~-~~-~lL.......................J !.§~_""'_!g_§_J .....................J ................J .......................J
                    EJEJ ~~~-;~~~-~j-~-~~~~~~~~2-~!.~;~;~~~~~-~--J[~~-:~:~.~J~E:J f~_~;~~-~:-~~1
                      S252 I 138 ! (match$3) near10 (profil$3) and ( click$3                                                                        I US-PGPUB; I OR                                   I OFF                    2018/07/251
                           i     ! select$3 swip$3) near10 (like$3 positive                                                                         ! USPAT;    !                                      i                        13:55      !
                           !     I button$3 love$3 interest$3) near10                                                                               i USOCR·    I                                      !                                   I
                                   1_
                                   :..


                                     j
                                                        IIgenerat$3)
                                                          (prorne$3) and Onfat$3 start$3 creat$3
                                                                     near10 (communication
                                                                                                 II FPRS;  '
                                                                                                    EPO· JPO· I
                                                                                                                                                                             i i:.                      j
                                                                                                                                                                                                                                                          II
                                                        I contact$3 messag$3 chat$3) near20                                                         IDERWENT; I                                                                                           I
                                   i                    ! (like$3 positive love$3 interest$3) and                                                   ! I BM_TDB !                                       i                                                  !
                      .............L.......J(~9.!!.~-~--~!.~9.!~-~J~.9.!~-~--~-~-~:.~..-~-~-~~~-~lL.....J .......................J ........................l                                                                    ..........................l
                                                433 !(match$3) near10 (profil$3) and (click$3                                                       !US-PGPUB;!OR                                      !OFF                !2018/07/25!
                                                    ! select$3 swip$3) near10 (like$3 positive                                                      ! USPAT;    !                                      !                   ! 13:51    !
                                                    I button$3 love$3 interest$3) near10                                                            I USOCR;    I                                      I                   i          I
                                                    ! (profile$3) and (initat$3 start$3 creat$3                                                     ! FPRS;     !                                      !                   i          !
                                                    ! generat$3) near10 (communication                                                              ! EPO; JPO; !                                      !                   !          !
                                                    ! contact$3 messag$3 chat$3) near20                                                             I DERWENT;!                                        !                   !          !
                                                . . . . .J (!!.~~-~~-E-~~!.!!.~~--L~~-~-~~--!-~.!~~-~~!-~~-L................J !.~~=:!:~-~....L. . . . . . . . . . . L. . . . . . . . .L. . . . . . . . . . .J
                      S250I100                          I (match$3) near10 (profil$3) and (click$3                                                  I US-PGPUB;I OR                                    I OFF               i 2018/07/251
                          !                             ! select$3 swip$3) near10 (like$3 positive                                                  I USPAT;    !                                      !                   ! 13:47      !
                          !                             ! button$3 love$3 interest$3) near10                                                        I USOCR;    !                                      !                   1            !
                          !                             ! (profile$3) and (initat$3 start$3 creat$3                                                 ! FPRS;     !                                      !                   !            !
                          !                             ! generat$3) near10 (communication                                                          ! EPO; JPO; !                                      !                   !            !
                          I                             I contact$3 messag$3 chat$3) near20                                                         I DERWENT; I                                       I                   i            I
                          !                             ! (like$3 positive love$3 interest$3) and                                                   ! I BM TDB !                                       !                   i            !
                          !                             ! (skip$3 disable$3 disallow$3 prevent$3                                                    !     -     !                                      !                   !            !
                          !                             ! prohibit$3) near10 (communication                                                         I           !                                      !                   !            !
                      ...........J ........J ~g-~!-~E!..~-~~~-~9.~-~-~--~0.9.!.~~-L..............................J . . . . . . . . . . . .J ......................J ...............J .......................J
                      S249 i 73                         i(match$3) near10 (profil$3) and (click$3 i US-PGPUB; I OR                                                                                     i OFF               i 2018/07/251
                                                        ! select$3 swip$3) near10 (like$3 love$3        USPAT; !                                    I                                                                      ! 13:42      I
                                                        ! interest$3) near10 (profile$3) and (initat$3! USOCR; !                                                                                                           i            I
                                                        ! start$3 creat$3 generat$3) near10           ! FPRS;  !                                                                                                           !            !

                                                        Ii chat$3)
                                                           (communication
                                                                   near20 (like$3
                                                                           contact$3
                                                                                  love$3 interest$3) I
                                                                                      messag$3         EPO; JPO; I
                                                                                                     i DERWENT;  i                                                                                                         !.
                                                                                                                                                                                                                           :1                             i
                                                                                                                                                                                                                                                          :!. . .

                                                        ! and (disable$3 disallow$3 prevent$3                                                       ! I BM TDB !
                                                        ! prohibit$3) near10 (communication                                                         I     -    !
                      ............L .......           J ~g~_!.~E!..~~~~-~9-~-~~--~0-~.!!~.L...............................J . . . . . . . . . . . . L. . . . . . . . . . . L .................L ........................i
                      S248 I 44                             (match$3) near10 (profil$3) and (click$3 I US-PGPUB;I OR                                                                                   i OFF               i 2018/07/251
                                   i                        select$3 swip$3) near10 (like$3 love$3       I USPAT; !                                                                                    i                   ! 13:42      I
                                   !                        interest$3) near10 (profile$3) and (initat$31 USOCR;  !                                                                                    !                   i            i


                                   !
                                   1_
                                   :. . . . .               start$3 creat$3 generat$3) near10
                                                            (communication contact$3 messag$3
                                                            chat$3) near20 (like$3 love$3 interest$3)
                                                                                                                                                    II FPRS;
                                                                                                                                                       EPO; JPO; I
                                                                                                                                                    I DERWENT; I
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                                                            and (disable$3 disallow$3 prevent$3                                                     ! I BM TDB !
                                   i                        prohibit$3) near10 (conmmunication                                                      !     -    !                                       i                   i                              i

                      .............!                        ~9-~.!-~~-!--~-~-~~~9-~-~~---~~-~!~-~L................................L.......................L......................L...............J. . . . . . . . . . . .J
                      S247 I 44                         I (match$3) near10 (profil$3) and (click$3 I US-PGPUB;I OR                                                                                     I OFF               i 2018/07/251
                           !                            ! select$3 swip$3) near10 (like$3 love$3       I USPAT;    !                                                                                   !                   ! 13:42      !
                           !                            ! interest$3) near10 (profile$3) and (initat$31 USOCR;     !                                                                                   !                   1            !
                           !                            ! start$3 creat$3 generat$3) near10            ! FPRS;     !                                                                                   !                   !            !
                           !                            ! (communication contact$3 messag$3            ! EPO; JPO; !                                                                                   !                   !            !
                           !                            ! chat$3) near20 (like$3 loce$3 interest$3) ! DERWENT;!                                                                                        !                   !            !
                           ;                            ;                                              ~           ;                                                                                   ;                   ~            ;


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                                    !                ! and (disable$3 disallow$3 prevent$3                                                                ! I BM TDB !                                                       !       1l                              !
                                    !                ! prohibit$3) near10 (conmmunication                                                                 I     -    !                                                       !       !                               !
                      . . . . . . L. . . .J ~~~-!-~9.!..~~~~-~~-~-~~--~~-~-!!~.L...............................J . . . . . . . . . . . . L. . . . . . . . . . . L. . . . . . . . .L. . . . . . . . . . .J
                      S246 I 56                      i (match$3) near10 (profil$3) and (click$3                                                           i US-PGPUB;I OR                                                    i OFF   i 2018/07/251
                                                       select$3 swip$3) near10 (like$3 love$3                                                             IUSPAT;     !                                                                  13:36                       I
                                                       interest$3) and ( next second) near10                                                              ! USOCR;    !
                                                       (profile$3) and (initat$3 start$3 creat$3                                                          ! FPRS;     !
                                                       generat$3) near10 (communication                                                                   ! EPO; JPO; !
                                                       contact$3 messag$3 chat$3) near20                                                                  I DERWENT; I
                                                       ( like$3 loce$3 interest$3) and ( disable$3                                                        ! I BM TDB !
                                                       disallow$3 prevent$3 prohibit$3) near10                                                            !     -     !
                                                       (conmmunication contact message$3                                                                  !           !
                                                         ~-~-~!-~-~)...............................................................................J ......................J
                                                                                                                                                              .....-~~~~~~~~......,r~~~,,.........~~~......,1


                      S245 l702 i(match$3) near10 (profil$3) and (click$3                                                                                 iUS-PGPUB;IOR                                                      !OFF        2018/07/251
                           i    ! select$3 swip$3) near10 (like$3 love$3                                                                                  I USPAT;    !                                                      i           13:34      I
                           !    ! interest$3) and ( next second) near10                                                                                   I USOCR;    I                                                      !                      i
                                    I                I
                                  (profile$3) and (initat$3 start$3 creat$3                                                                               ! FPRS;     !                                                      I                      !
                                    ~
                                I generat$3) near10 (communication                                                                                        I EPO; JPO;                          I                             ~                                       I
                           i    I contact$3 messag$3 chat$3) near20                                                                                       I DERWENT; I                                                       i                                       I
                           !    ! (like$3 loce$3 interest$3)
                      ~~~~~~~~~~~~..'   ~~~~~~~~~~~..'
                                                                                                                                                          ! I BM TDB !
                                                         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~\   ~~~~~~~~~-::::::-~~~~~~~~~~~~~~..'
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                      S244 I 113                     I (user$3 ) near20 (message communicat$3 I US-PGPUB; I OR                                                                                                               I OFF   i 2018/07/251
                           !                         ! chat) near20 (user$3) near20 (mutual       ! USPAT;    !                                                                                                              !       i 12:34      !
                           !                         ! both) near20 (interest$3 like$3 thumb$3 ! USOCR;       !                                                                                                              !       !                               !
                           !                         ! agree$3) and match$3 near10 (user$3        I FPRS;     !                                                                                                              !       !                               !
                           !                         ! profil$3) and (initiat$3 start$3 allow$3 ) I EPO; JPO; !                                                                                                              !       1                               !
                           !                         ! near10 (message communicat$3 chat$3        ! DERWENT;!                                                                                                                !       !                               !
                      .............l ............l ~-~-~~~~-~--~-~-~-i-~~-~L~-~-~:.?.QJ~-~.!-~-~!..~.~-!.~L....J ~-~-~=!.!?..~.....l .........................l ....................! ..........................l
                                        397 ! (user$3 ) near20 (message communicat$3 ! US-PGPUB; ! OR                                                                                                                        ! OFF   ! 2018/07/25!
                                            ! chat) near20 (user$3) near20 (both     ! USPAT;     !                                                                                                                          !       ! 12:11     !
                                            ! near20 (interest$3 like$3 thumb$3      ! USOCR;     !                                                                                                                          !       !           !
                                            I agree$3)) and match$3 near10 (user$3   I FPRS;      I                                                                                                                          I       i           I
                                            ! profil$3) and (social dating single$3) ! EPO; JPO; !                                                                                                                           !       i           !
                                            i                                        i DERWENT·!                                                                                                                             i       i           i
                                                     I                                 1 BM TDB ,                                                         I                                    I                             I       1
                                        ~~~~~~~~~~~~: ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~~~~~~~~~~~: ~~~~~~~~~~~~~~~~~~~~~~~~~: ~~~~~~~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~~~~~~~~~~~~~:
                                                                                                                                                                                                                                                                     I
                      S242 I 437                     I (user$3 ) near20 (message communicat$3 I US-PGPUB; I OR                                                                                                               I           2018/07/251
                           !                         ! chat) near20 (user$3) near20 (both     I USPAT;     !                                                                                                                 !           12: 10     !
                           !                         ! near20 (interest$3 like$3 thumb$3        USOCR;     !                                              I                                                                  !                      !
                           !                         ! agree$3)) and match$3 near10 (user$3   ! FPRS;      !                                                                                                                 !                      !
                           I                         I profil$3)                              I EPO; JPO; I                                                                                                                  I                      I
                           I                         I                                        i DERWENT· I                                                                                                                   I                      I
                           !                         !                                          1 BM TDB , !                                              I
                      ~~~~~~~~~~~~~J ~~~~~~~~~~~J ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ~~~~~~~~~-::::-~~~~~~~~~~~~~~J ~~~~~~~~~~~~~~~~~~~~~~~~J
                                                                                                                                                                                                                             !                      !
                                                                                                                                                                                                                                         ~~~~~~~~~~~~~~~~~~~~~~~~~~J

                      S240 I 11                      ! (match$3 recommend$3 suggest$3)            I US-PGPUB; I OR                                                                                                           I OFF       2018/07/251
                                                     ! near10 (profil$3 user$3) and (match$3      ! USPAT;    !                                                                                                                          12:05      !
                                                     I recommend$3 suggest$3 display$3            i USOCR·    I
                                                     ! provid$3) near10 (user profil$3) and         FPRS; '   !                                           I
                                                     I (positive negative like$3 dislike$3 love$3   EPO; JPO;                                             I                                    I
                                                       thumb ) and ( allow$3 enable$3 start$3     ! DERWENT;!
                                                       initial$3 provid$3) near10 (communication ! I BM_TDB !
                                                       messag$3 chat$3) near10 both near10        !           !
                                                       (consent$3 interest$3 agree$3 like$3       I           I
                                                       love$3 thumb$3 positive heart$3) and       !           !
                                                       (singles dating social) and match$3 near20!            !
                                                       (profil$3) and (present$3 display$3)       I           !
                      ___________..!                     ~-~-~:.-~_2J.~-~!-~-~~-~L~-~-~:.-~_2J!-!.~~~1~L_____________J _ _ _ _ _ _ _ _ _ _ _ _J ______________________J
                      S239 I 1                       I "20050027707" and initial near5                                                                        US-PGPUB; I OR                                                 i OFF   i 2018/07/251
                                    i                ! communicat$3                                                                                           USPAT;    !                                                    i       ! 12:01                         I
                                    !                i                                                                                                        USOCR;    !                                                    !       i                               i
                                   I                 I                                                                                                                                         '                             I       I                               I
                                   I:                I:                                                                                                       ~~~;JPO; I
                                                                                                                                                               DERWENT;!                                                 :
                                                                                                                                                                                                                             I:      I                .
                                                                                                                                                                                                                                                                     I
                                    I
                      ~~~~~~~~~~~~J ~~~~~~~~~~~J
                                                     I                                                                                                           BM TDB I ~~~~~~~~~~~~~~~~~~~~~~~~JI ~~~~~~~~~~~~~~~~~~~~i ~~~~~~~~~~~~~~~~~~~~~~~~~~JI
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                    lii----1                                                                                                                              i                                    !                             ii      1                               !


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                   I S238 ! 2                                                                      ! "20050027707" and communicat$3                                                                                                                                                                                                                                                                      ! US-PGPUB; ! OR
                                                                                                                                                                                                                                                                                                                                                                                                         1 USPAT·
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ! OFF                                                        12018/07/25!
                   I                                        I                                      I                                                                                                                                                                                                                                                                                                                                                                                      I                                                                             I                                                            112·00     I
                   I                                        I                                      I                                                                                                                                                                                                                                                                                                     I USOCR·     I                                                                                                                                                 I                                                            ~ .        I
                   I                                        I                                      I                                                                                                                                                                                                                                                                                                     I FPRS· ,    I                                                                                                                                                 I                                                            ~          I
                   I                                        I                                      I                                                                                                                                                                                                                                                                                                     I EPO· ,JPO· I                                                                                                                                                 I                                                            ~          I
                   I                                        I                                      I                                                                                                                                                                                                                                                                                                     I DERWENT· I                                                                                                                                                   I                                                            ~          I
                   I. . . . . .J_ _ _ _ _J_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ J!.§~_.,,._!g_§__ ] ______________________J_ _ _ _ _ _ _ _ J_ _ _ _ _ _ _ _ _ _ _ _ J
                   I S237 ! 5                                                                      ! "10896578"                                                                                                                                                                                                                                                                                          ! US-PGPUB; ! OR                                                                                                                                               ! OFF                                                        ! 2018/07/25!
                   I      !                                                                        !                                                                                                                                                                                                                                                                                                     lusPAT·      !                                                                                                                                                 !                                                            112·00      !
                   I      I                                                                        I                                                                                                                                                                                                                                                                                                     I USOCR·     I                                                                                                                                                 I                                                            ~ .         I
                   !      !                                                                        !                                                                                                                                                                                                                                                                                                     ! FPRS· ,    !                                                                                                                                                 !                                                            !           !
                   I      I                                                                        I                                                                                                                                                                                                                                                                                                     I EPO· ,JPO· I                                                                                                                                                 I                                                            ~           I
                   I      I                                                                        I                                                                                                                                                                                                                                                                                                     I DERWENT· I                                                                                                                                                   I                                                            ~           I
                   1 __________                     J_ _ _ _ _J_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ J~-~-~=!!2.~__J_ _ _ _ _ _ _ _ _ _ _ J_ _ _ _ _ _ _ _ J _ _ _ _ _ _ _ _ _ _ _ _J
                   IS234 ! 235 ! (match$3 recommend$3 suggest$3)                                                                                I US-PGPUB; ! OR                                                                                                                                                                                                                                                                                                                                                                                                        ! OFF                                                         ~ 2018/07/25!
                   I                                        I                                      I near10 (profil$3 user$3) and (match$3      I USPAT;    I                                                                                                                                                                                                                                                                                                                                                                                                           I                                                            ~ 11 :53                                                                            I
                   I                                        I                                      I recommend$3 suggest$3 display$3            I USOCR;    I                                                                                                                                                                                                                                                                                                                                                                                                           I                                                            ~                                                                                   I
                   I                                        !                                      ! provid$3) near10 (user profil$3) and       ! FPRS;     !                                                                                                                                                                                                                                                                                                                                                                                                           !                                                            !                                                                                   !
                   I                                        I                                      I (positive negative like$3 dislike$3 love$3 I EPO; JPO; I                                                                                                                                                                                                                                                                                                                                                                                                           I                                                            !                                                                                   I
                   I                                        I                                      I thumb ) and ( allow$3 enable$3 start$3     I DERWENT; I                                                                                                                                                                                                                                                                                                                                                                                                            I                                                            ~                                                                                   I
                   I                                        I                                      I initial$3 provid$3) near10 (communication ! I BM TDB I                                                                                                                                                                                                                                                                                                                                                                                                             I                                                            ~                                                                                   I
                   I                                        I                                      I messag$3 chat$3) near20 (consent$3         I    -      I                                                                                                                                                                                                                                                                                                                                                                                                           I                                                            ~                                                                                   I
                   I                                        I                                      I agree$3 like$3 love$3 thumb$3 positive     I           I                                                                                                                                                                                                                                                                                                                                                                                                           I                                                            1                                                                                   I
                   I                                        I                                      I heart$3) and (singles dating social) and   I           I                                                                                                                                                                                                                                                                                                                                                                                                           I                                                            ~                                                                                   I
                   I                                        I                                      I match$3 near20 (profil$3) and (display$3) I            I                                                                                                                                                                                                                                                                                                                                                                                                           I                                                            ~                                                                                   I
                   !                                        I
                   ~ ..........................................
                                                                                                   I near10 (match$3) near10 (user$3)
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                   IS230 I 104 I (match$3) near10 (profil$3 user$3) and                                                                              I US-PGPUB; I OR I OFF ~ 2018/07/251
                   I               !              ! (recommend$3 suggest$3 display$3                                                                 ! USPAT;    !    !     ! 11 :09                     !
                   I               I              I provid$3) near10 (user profil$3) and                                                             I USOCR;    I    I     !                            I
                   I               I              I (positive negative like$3 dislike$3 love$3 I FPRS;                                                           I    I     ~                            I
                   I               I              I thumb ) and ( allow$3 enable$3 start$3                                                           ! EPO; JPO; I    I     ~                            I
                   I               I              I initial$3 provid$3) near10 (communication I DERWENT; I                                                            I     1                            I
                   I               I              I messag$3 chat$3) near20 (both) near20 I IBM_TDB I                                                                 I     ~                            I
                   ! ..............I .............I ..................................................................................................
                   ~
                                                     (like$3 love$3 thumb$3 positive heart$3) I ..........................I ..........................I ....................! ...........................I                                                                                                                                                                                                                                                                                                                                                                                                                            ~




                   r29 !Di"s48o885".pn ... 7917448".pn.                                                                              i[uSPAr !LJ"!loFF 12018107125!
                   !           !          !"8060463".pn."8180804".pn.                                                                !                       !                       !                  !11:06                   !
                   i. . . . . J _ _ _ _ _J ::.~:?.~-~-~?.!..'.'.:E.~_:______________________________________________________________J _ _ _ _ _ _ _ _ _ _ _ J _ _ _ _ _ _ _ _ _ _ _ J _ _ _ _ _ _ _ _ _J _ _ _ _ _ _ _ _ _ _ _ _J
                   I S225 ! 30 ! "20050021750" "20050027707"                                                                                          ! US-PGPUB; ! OR                                        ! OFF                  ! 2018/07/25!
                   I                I              l"20060059147""20060085419"                                                                        lusPAT                      I                           I                      ~11:04                       I
                   !                !              ! "20060106780" "20070073687"                                                                      !                           !                           !                      !                            !
                   I                I              I "20010013803" "20080196094"                                                                      I                           I                           I                      ~                            I
                   I                I              I "20080294624" "20030301118"                                                                      I                           I                           I                      ~                            I
                   I                I              I "20090106040" "20100125632"                                                                      I                           I                           I                      ~                            I
                   I                I              1"20110087974""20110196927"                                                                        I                           I                           I                      ~                            I
                   I                I              I "20120088524" "20140040368"                                                                      I                           I                           I                      ~                            I
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                                                     "20140074824"                                                                                    ! ~~~~~~~~~~~~~~~~~~~~~~~~~!! ~~~~~~~~~~~~~~~~~~~~~~~~~!! ~~~~~~~~~~~~~~~~~~~~~! ~~~~~~~~~~~~~~~~~~~~~~~~~~!!
                   I S224 ! 23                                                                     ! "20050021750" "20050027707"                                                                                                                                                                                                                                                                         ! US-PGPUB ! OR                                                                                                                                                ! OFF                                                        ! 2018/07/25!
                   I      I                                                                        1"20060059141""20060085419"                                                                                                                                                                                                                                                                           I          I                                                                                                                                                   I                                                            ~11:04      I
                   I      I                                                                        I "20060106180" "20010013687"                                                                                                                                                                                                                                                                         I          I                                                                                                                                                   I                                                            ~           I
                   !      !                                                                        ! "20070073803" "20080196094"                                                                                                                                                                                                                                                                         !          !                                                                                                                                                   !                                                            !           !
                   I      I                                                                        I "20080294624" "20030301118"                                                                                                                                                                                                                                                                         I          I                                                                                                                                                   I                                                            ~           I
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                   IS215 I 37 I ((sean near5 rad)(todd near5 carrico)                                                                                                                                                                                                                                                                                                                                    I US-PGPUB;I OR                                                                                                                                                I OFF                                                         ~ 2018/07/251
                   1                                        I                                      I (kenneth near5 hoskin) (jam es near5                                                                                                                                                                                                                                                                I USPAT·       I                                                                                                                                               I                                                             ~ 10·53                                                                            I
                   I                                        I                                      I stone) (jonathan near5 badeen)).in. and                                                                                                                                                                                                                                                             ! USOCR·       I                                                                                                                                               I                                                             ~ .                                                                                I
                   I                                        I                                      I match$3 near10 profil$3                                                                                                                                                                                                                                                                             I FPRS· '      I                                                                                                                                               I                                                             ~                                                                                  I
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EAST Search History
                           Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 107 of 239
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                Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 108 of 239


Bibliographic Data
Application No:       15/944,542
Foreign Priority claimed:           0 Yes        @No
35 USC 119 (a-d) conditions met:    0Yes         ~No                 D Met After Allowance
Verified and Acknowledged:         I/YUK TING CHOI/
                                   Examiner's Signature             Initials

Title:                             IMatching Process System and Method




         FILING or 371(c) DATE     CLASS             GROUP ART UNIT            ATTORNEY DOCKET NO.
         04/03/2018                707               2153                      083523.0121
         RULE

APPLICANTS
  Match Group, LLC, Dallas, TX,
INVENTORS
  Sean Rad Los Angeles, CA, UNITED STATES
  Todd M. Carrico Sachse, TX, UNITED STATES
  Kenneth B. Hoskins Plano, TX, UNITED STATES
  James C. Stone Addison, TX, UNITED STATES
  Jonathan Badeen North Hollywood, CA, UNITED STATES
CONTINUING DATA
  This application is a CON of 15676773 08/14/2017
  15676773 is a CON of 14059192 10/21/2013 PAT 9733811
  14059192 has PRO of 61793866 03/15/2013
  14059192 is a CIP of 12339301 12/19/2008 PAT 8566327
  12339301 has PRO of 61015099 12/19/2007
FOREIGN APPLICATIONS
IF REQUIRED, FOREIGN LICENSE GRANTED**
  04/27/2018
STATE OR COUNTRY
  UNITED STATES
ADDRESS
  BAKER BOTTS L.L.P.
  2001 ROSS A VENUE
  SUITE 900
  DALLAS, TX 75201-2980
          Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 109 of 239

 UNITED STATES
FILING FEE RECEIVED
 $6,720
                   Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 110 of 239
Doc code: IDS                                                                                                                                                  PTO/SB/08a (02-18)
                                                                                                                           Approved for use through 11/30/2020. OMB 0651-0031
Doc description: Information Disclosure Statement (IDS) Filed                                         U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                               Application Number                         15944542
                                                               Filing Date                                2018-04-03
INFORMATION DISCLOSURE                                         First Named Inventor             IRAD
STATEMENT BY APPLICANT                                         Art Unit                                   2153
( Not for submission under 37 CFR 1.99)
                                                               Examiner Name                    IYuk Ting Choi
                                                               Attorney Docket Number                     083523.0121




                                                                           U.S.PATENTS

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                    Patent Number                        Issue Date                                              Relevant Passages or Relevant
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                                                                                                                 Figures Appear



            1       9547369                                  2017-01-17            WERNICK et al.




            2       9720570                                  2017-08-01            WERNICK et al.


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                    Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 111 of 239
                                                           Application Number                    15944542

                                                           Filing Date                           2018-04-03
INFORMATION DISCLOSURE                                     First Named Inventor         IRAD
STATEMENT BY APPLICANT                                     Art Unit                              2153
( Not for submission under 37 CFR 1.99)
                                                           Examiner Name                IYuk Ting Choi
                                                           Attorney Docket Number                083523.0121




                    Include name of the author (in CAPITAL LETTERS), title of the article (when appropriate), title of the item
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                    (book, magazine, journal, serial, symposium, catalog, etc), date, pages(s), volume-issue number(s),
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Examiner Signature        I                                                                       IDate Considered I
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citation if not in conformance and not considered. Include copy of this form with next communication to applicant.


1
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Standard ST.3). 3 For Japanese patent documents, the indication of the year of the reign of the Emperor must precede the serial number of the patent document.
4 Kind of document by the appropriate symbols as indicated on the document under WIPO Standard ST.16 if possible. 5 Applicant is to place a check mark here i1

English language translation is attached.




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                 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 112 of 239
                                                  Application Number             15944542

                                                  Filing Date                    2018-04-03
INFORMATION DISCLOSURE                            First Named Inventor    IRAD
STATEMENT BY APPLICANT                            Art Unit                       2153
( Not for submission under 37 CFR 1.99)
                                                  Examiner Name           IYuk Ting Choi
                                                  Attorney Docket Number         083523.0121




                                                  CERTIFICATION STATEMENT

Please see 37 CFR 1.97 and 1.98 to make the appropriate selection(s):


     That each item of information contained in the information disclosure statement was first cited in any communication
D    from a foreign patent office in a counterpart foreign application not more than three months prior to the filing of the
     information disclosure statement. See 37 CFR 1.97(e)(1 ).


OR

     That no item of information contained in the information disclosure statement was cited in a communication from a
     foreign patent office in a counterpart foreign application, and, to the knowledge of the person signing the certification
     after making reasonable inquiry, no item of information contained in the information disclosure statement was known to
D    any individual designated in 37 CFR 1.56(c) more than three months prior to the filing of the information disclosure
     statement. See 37 CFR 1.97(e)(2).



D    See attached certification statement.
D    The fee set forth in 37 CFR 1.17 (p) has been submitted herewith.
~    A certification statement is not submitted herewith.
                                                             SIGNATURE
 A signature of the applicant or representative is required in accordance with CFR 1.33, 10.18. Please see CFR 1.4(d) for the
form of the signature.

Signature              /Chad C. Walters/                            Date (YYYY-MM-DD)          2018-08-07

Name/Print             Chad C. Walters                              Registration Number        48022



This collection of information is required by 37 CFR 1.97 and 1.98. The information is required to obtain or retain a benefit by the
public which is to file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR
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                                                     Privacy Act Statement




The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your submission of the
attached form related to a patent application or patent. Accordingly, pursuant to the requirements of the Act, please be advised
that: (1) the general authority for the collection of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited
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The information provided by you in this form will be subject to the following routine uses:

      1.       The information on this form will be treated confidentially to the extent allowed under the Freedom of Information Act
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     2.        A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a
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     3.        A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
           request involving an individual, to whom the record pertains, when the individual has requested assistance from the
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     4.        A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need for
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     5.         A record related to an International Application filed under the Patent Cooperation Treaty in this system of records
           may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property Organization, pursuant
           to the Patent Cooperation Treaty.

     6.        A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of
           National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

     7.        A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services, or
           his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility to
           recommend improvements in records management practices and programs, under authority of 44 U.S.C. 2904 and
           2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection of records for this
           purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make
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           enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




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             Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 114 of 239
                                     Electronic Acknowledgement Receipt

                         EFSID:                           33392407


                 Application Number:                      15944542


          International Application Number:

                Confirmation Number:                      3585




                   Title of Invention:                    Matching Process System and Method




         First Named Inventor/Applicant Name:             Sean Rad


                  Customer Number:                        5073


                          Filer:                          Chad Christian Walters/Wendy Flottman


                 Filer Authorized By:                     Chad Christian Walters


              Attorney Docket Number:                     083523.0121


                     Receipt Date:                        07-AUG-2018


                      Filing Date:                        03-APR-2018


                      Time Stamp:                         10:05:44


                   Application Type:                      Utility under 35 USC 111 (a)


Payment information:
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File Listing:
 Document                                                                                    File Size(Bytes}/                  Multi         Pages
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  Number                                                                                     Message Digest                    Part /.zip   (if appl.)

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                Information Disclosure Statement (IDS)
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                             Form (SB08)
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                                                                                                        82030




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              Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 115 of 239
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New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
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If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
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New International Application Filed with the USPTO as a Receiving Office
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an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
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national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
               Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 116 of 239
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       15/944,542               04/03/2018                  Sean Rad              083523.0121                         3585

       5073             7590             07/12/2018
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE
       SUITE 900
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2153


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   07/12/2018                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
         Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 117 of 239




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                                                                                          Doc Code:
                                                                                          TRACK1 .GRANT


     Decision Granting Request for
        Prioritized Examination                        Application No. :15/944,542
         (Track I or After RCE)

1.   THE REQUEST FILED April 3. 2018                  IS GRANTED.

     The above-identified application has met the requirements for prioritized examination
        A. ~ for an original nonprovisional application (Track I).
         B.   D for an application undergoing continued examination (RCE).

2.   The above-identified application will undergo prioritized examination. The application will be
     accorded special status throughout its entire course of prosecution until one of the following occurs:

         A.       filing a petition for extension of time to extend the time period for filing a reply;
         B.       filing an amendment to amend the application to contain more than four independent
                  claims, more than thirty total claims, or a multiple dependent claim;
         C.       filing a request for continued examination;
         D.       filing a notice of appeal;
         E.       filing a request for suspension of action;
         F.       mailing of a notice of allowance;
         G.       mailing of a final Office action;
         H.       completion of examination as defined in 37 CFR 41.102; or
         I.       abandonment of the application.


     Telephone inquiries with regard to this decision should be directed to Kimberly Inabinet at 571-272-4618.



     I Kimberly Inabinet!                                           Paralegal Specialist, Office of Petitions




       U.S. Patent and Trademark Office
       PT0-2298 (Rev. 02-2012)
    Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 118 of 239



            Office of Petitions: Routing Sheet


                                                        11111
                                                        4 7 0 0
                                                         :...................................................................................................................................................................................



         Application No. j 15944542
This application is being forwarded to your office for
further processing. A decision has been rendered on a
petition filed in this application, as indicated below.
For details of this decision, please see the document
PET.OP.DEC filed on the same date as this document.



                           ,........................,

                           I                            DISMISSED
                           r---------· DENIED
              Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 119 of 239




Office of Petitions: Decision Count Sheet                                                                                                                                                                                                                                                                                                                                       Mailing Month I             7

Application No.                                                                                                                                     15944542                                                                                                                                                                    I llllll lllll lllll 111111111111111111111111111111111
                                                                                                                                                                                                                                                                                                                                  * 1 5 9 4 4 5 4 2 *
For US serial numbers: enter number only, no slashes or commas. Ex: 10123456
For PCT: enter "51 +single digit of year of filing+last 5 numbers", Ex. for PCT/US05/12345, enter 51512345


Deciding Official:                                                                                                       I   Kimberly Inabinet                                                                                                                                                                                                                                                        I
Count (1) - Palm Credit                                                                                                                   15944542
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Decision:~ GRANT                                                                                                                                                                                                                                                                                                                                              11111111111111111111111111111 II llll
              ~                                                                                                                                                    I[] Select Check Box for YES                                                                                                    .                                                          * G R A N T *
                                        ~    .................................................................................................................................................................................................................................................................................................
Decision Type:                          ! 643 - Track One request                                                                                                                                                                                                                                                                                                  1111111111111111111111111
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Notes:

Count (2)




Decision Type: f""NO,NE""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""'""':;1
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Notes:

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Decision: l n/a                                                                                                    ..-l
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Notes:

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                             Initials of Approving Official (if required)
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Printed on:                 7/9/2018
                                                                                                                                                                                                                                                                          Office of Petitions Internal Document - Ver. 5.0
         Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 120 of 239




                                                                             Ul\TfED STATES DEPA RTME'IT OF COMMERCE
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                                                                                   PO Box 1450
                                                                                   Alexandria, Virgmia 22313-1450
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  APPLICATION      FILING or    GRPART
    NUMBER        37l(c)DATE     UNIT       FIL FEE REC'D            ATTY.DOCKET.NO                         TOT CLAIMS IND CLAIMS
  15/944,542     04/03/2018                    2740                   083523.0121            24     4
                                                                                    CONFIRMATION NO. 3585
5073                                                                         UPDATED FILING RECEIPT
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                             1111111111111111111111m~m11~1~~11~11111111111111111111111
SUITE 900
DALLAS, TX 75201-2980
                                                                                                      Date Mailed: 07/06/2018




Receipt is acknowledged of this non-provisional patent application. The application will be taken up for examination
in due course. Applicant will be notified as to the results of the examination. Any correspondence concerning the
application must include the following identification information: the U.S. APPLICATION NUMBER, FILING DATE,
NAME OF APPLICANT, and TITLE OF INVENTION. Fees transmitted by check or draft are subject to collection.
Please verify the accuracy of the data presented on this receipt. If an error is noted on this Filing Receipt, please
submit a written request for a Filing Receipt Correction. Please provide a copy of this Filing Receipt with the
changes noted thereon. If you received a "Notice to File Missing Parts" for this application, please submit
any corrections to this Filing Receipt with your reply to the Notice. When the USPTO processes the reply
to the Notice, the USPTO will generate another Filing Receipt incorporating the requested corrections
lnventor(s)
                   Sean Rad, Los Angeles, CA;
                   Todd M. Carrico, Sachse, TX;
                   Kenneth B. Hoskins, Plano, TX;
                   James C. Stone, Addison, TX;
                   Jonathan Badeen, North Hollywood, CA;
Applicant( s)
                Match Group, LLC, Dallas, TX;
Assignment For Published Patent Application
                Match Group, LLC, Dallas, TX
Power of Attorney: None
Domestic Priority data as claimed by applicant
                  This application is a CON of 15/676,773 08/14/2017
                  which is a CON of 14/059, 192 10/21/2013 PAT 9733811
                  which claims benefit of 61/793,866 03/15/2013
                  and is a CIP of 12/339,301 12/19/2008 PAT 8566327
                  which claims benefit of 61/015,099 12/19/2007
Foreign Applications for which priority is claimed (You may be eligible to benefit from the Patent Prosecution
Highway program at the USPTO. Please see http://www.uspto.gov for more information.) - None.
Foreign application information must be provided in an Application Data Sheet in order to constitute a claim to
foreign priority. See 37 CFR 1.55 and 1.76.


Permission to Access Application via Priority Document Exchange: Yes
                                                       page 1of4
          Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 121 of 239




Permission to Access Search Results: Yes

Applicant may provide or rescind an authorization for access using Form PTO/SB/39 or Form PTO/SB/69 as
appropriate.


If Required, Foreign Filing License Granted: 04/27/2018
The country code and number of your priority application, to be used for filing abroad under the Paris Convention,
is US 15/944,542
Projected Publication Date: 10/11/2018
Non-Publication Request: No
Early Publication Request: No
Title
             Matching Process System and Method
Preliminary Class

Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition Applications: No

                PROTECTING YOUR INVENTION OUTSIDE THE UNITED STATES

Since the rights granted by a U.S. patent extend only throughout the territory of the United States and have no
effect in a foreign country, an inventor who wishes patent protection in another country must apply for a patent
in a specific country or in regional patent offices. Applicants may wish to consider the filing of an international
application under the Patent Cooperation Treaty (PCT). An international (PCT) application generally has the same
effect as a regular national patent application in each PCT-member country. The PCT process simplifies the filing
of patent applications on the same invention in member countries, but does not result in a grant of "an international
patent" and does not eliminate the need of applicants to file additional documents and fees in countries where patent
protection is desired.


Almost every country has its own patent law, and a person desiring a patent in a particular country must make an
application for patent in that country in accordance with its particular laws. Since the laws of many countries differ
in various respects from the patent law of the United States, applicants are advised to seek guidance from specific
foreign countries to ensure that patent rights are not lost prematurely.


Applicants also are advised that in the case of inventions made in the United States, the Director of the US PTO must
issue a license before applicants can apply for a patent in a foreign country. The filing of a U.S. patent application
serves as a request for a foreign filing license. The application's filing receipt contains further information and
guidance as to the status of applicant's license for foreign filing.


Applicants may wish to consult the USPTO booklet, "General Information Concerning Patents" (specifically, the
section entitled "Treaties and Foreign Patents") for more information on timeframes and deadlines for filing foreign
patent applications. The guide is available either by contacting the USPTO Contact Center at 800-786-9199, or it
can be viewed on the USPTO website at http://www.uspto.gov/web/offices/pac/doc/general/index.html.


For information on preventing theft of your intellectual property (patents, trademarks and copyrights), you may wish
to consult the U.S. Government website, http://www.stopfakes.gov. Part of a Department of Commerce initiative,
this website includes self-help "toolkits" giving innovators guidance on how to protect intellectual property in specific
                                                       page 2 of 4
          Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 122 of 239




countries such as China, Korea and Mexico. For questions regarding patent enforcement issues, applicants may
call the U.S. Government hotline at 1-866-999-HALT (1-866-999-4258).


                                 LICENSE FOR FOREIGN FILING UNDER
                                Title 35, United States Code, Section 184
                          Title 37, Code of Federal Regulations, 5.11 & 5.15
GRANTED

The applicant has been granted a license under 35 U.S.C. 184, if the phrase "IF REQUIRED, FOREIGN FILING
LICENSE GRANTED" followed by a date appears on this form. Such licenses are issued in all applications where
the conditions for issuance of a license have been met, regardless of whether or not a license may be required as
set forth in 37 CFR 5.15. The scope and limitations of this license are set forth in 37 CFR 5.15(a) unless an earlier
license has been issued under 37 CFR 5.15(b). The license is subject to revocation upon written notification. The
date indicated is the effective date of the license, unless an earlier license of similar scope has been granted under
37 CFR 5.13 or 5.14.


This license is to be retained by the licensee and may be used at any time on or after the effective date thereof unless
it is revoked. This license is automatically transferred to any related applications(s) filed under 37 CFR 1.53(d). This
license is not retroactive.


The grant of a license does not in any way lessen the responsibility of a licensee for the security of the subject matter
as imposed by any Government contract or the provisions of existing laws relating to espionage and the national
security or the export of technical data. Licensees should apprise themselves of current regulations especially with
respect to certain countries, of other agencies, particularly the Office of Defense Trade Controls, Department of
State (with respect to Arms, Munitions and Implements of War (22 CFR 121-128)); the Bureau of Industry and
Security, Department of Commerce (15 CFR parts 730-774); the Office of Foreign AssetsControl, Department of
Treasury (31 CFR Parts 500+) and the Department of Energy.

NOT GRANTED

No license under 35 U.S.C. 184 has been granted at this time, if the phrase "IF REQUIRED, FOREIGN FILING
LICENSE GRANTED" DOES NOT appear on this form. Applicant may still petition for a license under 37 CFR 5.12,
if a license is desired before the expiration of 6 months from the filing date of the application. If 6 months has lapsed
from the filing date of this application and the licensee has not received any indication of a secrecy order under 35
U.S.C. 181, the licensee may foreign file the application pursuant to 37 CFR 5.15(b).



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and advantages for those who invest and manufacture goods here. Through SelectUSA, our nation works to
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                                                       page 3 of 4
         Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 123 of 239




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                                                    page 4 of 4
          Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 124 of 239




                                                                                          Ul\TfED STATES DEPA RTME'IT OF COMMERCE
                                                                                          United States Patent and Trademark Office
                                                                                          Adm"'· COMMISSIO'JER FOR PATENTS
                                                                                                  PO Box 1450
                                                                                                  Alexandria, Virgmia 22313-1450
                                                                                                  \VVi\V.USpto.gov


    APPLICATION NUMBER              FILING OR 3 71 (C) DATE               FIRST NAMED APPLICANT                      ATTY. DOCKET NO./TITLE

        15/944,542                      04/03/2018                             Sean Rad               083523.0121
                                                                                                CONFIRMATION NO. 3585
5073                                                                                    INFORMAL NOTICE
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                                        111111111111111111111111]~!1]~~1~~1~ ~~~1~~1~1~u1111111111111111111111111
SUITE 900
DALLAS, TX 75201-2980
                                                                                                                     Date Mailed: 07/06/2018




                                  INFORMATIONAL NOTICE TO APPLICANT
Applicant is notified that the above-identified application contains the deficiencies noted below. No period for
reply is set forth in this notice for correction of these deficiencies. However, if a deficiency relates to the inventor's
oath or declaration, the applicant must file an oath or declaration in compliance with 37 CFR 1.63, or a substitute
statement in compliance with 37 CFR 1.64, executed by or with respect to each actual inventor no later than the
expiration of the time period set in the "Notice of Allowability" to avoid abandonment. See 37 CFR 1.53(f).
The item(s) indicated below are also required and should be submitted with any reply to this notice to avoid
further processing delays.
  •A properly executed inventor's oath or declaration has not been received for the following inventor(s):
      Sean Rad
      Todd M. Carrico
      Kenneth B. Hoskins
      James C. Stone
      Jonathan Badeen
                                     Questions about the contents of this notice and the
                                  requirements it sets forth should be directed to the Office
                                    of Data Management, Application Assistance Unit, at
                                   (571) 272-4000 or (571) 272-4200 or 1-888-786-0101.




                 I sareebuddin/




                                                              page 1of1
                Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 125 of 239

                        PATENT APPLICATION FEE DETERMINATION RECORD                                                                   Application or Docket Number

                                                    Substitute for Form PT0-875                                                       15/944,542


                        APPLICATION AS FILED - PART I                                                                                                  OTHER THAN
                                          (Column 1)                      (Column 2)                       SMALL ENTITY                OR             SMALL ENTITY

              FOR                    NUMBER FILED                    NUMBER EXTRA                     RATE($)              FEE($)                 RATE($)            FEE($)

BASIC FEE
(37 CFR 1.16(a), (b), or (c))
                                              N/A                             N/A                       N/A                                         N/A               300
SEARCH FEE
(37 CFR 1.16(k), (i), or (m))
                                              N/A                             N/A                       N/A                                         N/A               660
EXAMINATION FEE
(37 CFR 1.16(0), (p), or (q))
                                              N/A                             N/A                       N/A                                         N/A               760
TOTAL CLAIMS
(37 CFR 1.16(i))
                                        24          minus 20=
                                                                              4                                                        OR     x      100      =       400
INDEPENDENT CLAIMS
(37 CFR 1.16(h))
                                         4          minus 3 =
                                                                               1                                                              x     460       =       460
                                  If the specification and drawings exceed 100
APPLICATION SIZE                  sheets of paper, the application size fee due is
FEE                               $31 O ($155 for small entity) for each additional                                                                                  0.00
(37 CFR 1.16(s))                  50 sheets or fraction thereof. See 35 U.S.C.
                                  41 (a)(1 )(G) and 37 CFR 1.16(s).

MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))                                                                                                                    0.00
* If the difference in column 1 is less than zero, enter "O" in column 2.                              TOTAL                                       TOTAL             2580

                  APPLICATION AS AMENDED - PART II

                                                                                                                                                       OTHER THAN
                                 (Column 1)                      (Column 2)        (Column 3)              SMALL ENTITY                OR             SMALL ENTITY
                                  CLAIMS                     HIGHEST
                                 REMAINING                    NUMBER                   PRESENT                           ADDITIONAL                               ADDITIONAL
<(                                                                                                     RATE($)                                     RATE($)
                                   AFTER                    PREVIOUSLY                  EXTRA                              FEE($)                                   FEE($)
I-                              AMENDMENT                    PAID FOR
z
w               Total                             Minus
                                                           ..                      =
                                                                                                  x                =                   OR     x               =
~          (37 CFR 1.16(i))
0
z           Independent                           Minus
                                                           ...                     -
                                                                                                  x                =                   OR     x               =
           (37CFR 1.16(h))
w
~
<(       Application Size Fee (37 CFR 1.16(s))

         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))                                                               OR

                                                                                                       TOTAL                                       TOTAL
                                                                                                                                       OR
                                                                                                      ADD'L FEE                                   ADD'L FEE

                                 (Column 1)                      (Column 2)        (Column 3)
                                  CLAIMS                     HIGHEST
                                 REMAINING                    NUMBER                   PRESENT                           ADDITIONAL                               ADDITIONAL
Ill                                                                                                    RATE($)                                     RATE($)
                                   AFTER                    PREVIOUSLY                  EXTRA                              FEE($)                                   FEE($)
I-                              AMENDMENT                    PAID FOR
z
w               Total                             Minus    ..                      =              x                =
                                                                                                                                       OR     x               =
~
0
z
           (37 CFR 1.16(i))

            Independent                           Minus    ...                     =
                                                                                                  x                =                   OR     x               =
w          (37CFR 1.16(h))
~
<(       Application Size Fee (37 CFR 1.16(s))
                                                                                                                                       OR
         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))

                                                                                                       TOTAL                                       TOTAL
                                                                                                                                       OR
                                                                                                     ADD'L FEE                                    ADD'L FEE
        * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.
       ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
      *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
          The "Highest Number Previously Paid For" (Total or Independent) is the highest found in the appropriate box in column 1.
       Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 126 of 239

ATTORNEY DOCKET NO,                                              PATENT APPUCATION
083523,0121                                                           USSN 15/944,542

                                                       1 of3


                  IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


In re application of:                Sean RAD et aL
Application No,:                     15/944,542
Filing Date:                        April 3, 2018
Group Art Unit:                     TBD
Confim1ation No.:                   3585
Examiner:                           Unassigned
Title:                              l'v1ATCHING PROCESS SYSTEM AND METHOD



Commissioner for Patents
P.O. Box 1450
Alexandria, Virginia 22313


Dear Examiner:


            RESPONSE TO NOT~C!f~11LEI!~!t£_Q!~RECTED APfLICATION__f APERS
            This paper is submitted in response to the Notice to File Corrected Application Papers
dated May 1, 2018 (the "Notice"). App!icants submit the follow"ing:
            "      Remarks which begin on page 2 of this paper; and
            Q      Replace-rne.nt J~l(}~ 3 of dra\v.i11gs.




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      Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 127 of 239

ATTORNEY DOCKET NO,                                         PATENT APPLICATION
083523,0121                                                      USSN 15/944,542

                                             2 of3




           The Notice requires replacement drawings in compliance with 37 C,FJt 1,84 and 37
C.F,R. L121(d), The replacement drawing includes no new matter,




38167416
        Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 128 of 239

ATTORNEY DOCKET NO.                                                PA TENT APPLICA.TION
083523.0121                                                              USSN 15/944,542

                                                  3 of3


                                             CONCLUSION

             Applicant has made an earnest attempt to place this case in condition for allowance. For
the foregoing reasons, and for other apparent reasons, Applicant respectfully requests full
allowance of all pending claims.
             If the Examiner believes a telephone conference '\Nould advance prosecution of this case
in any way, the Examiner is invited to contact the undersigned attorney at the Exarniner's
convenience,
             Applicant believes no foe(s) to be currently due, however, the Commissioner is hereby
authorized to charge any additional required fees and credit any overpayments to Deposit
Account No. 02-0384 of BAKER BOTTS LL.P.
                                                 Respectfully submitted,
                                                 BAKER BOTTS L.LP,
                                                 Attorneys for Applicant



                                                 Chad C. Walters
                                                 Reg. No. 48,022
                                                 (214) 953-6511
Date:
Curres1wnd~1u~t~ I%.dtJs~,s~:

Customer Number:         05073




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Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 129 of 239
                                                              Matching ProcHss Sys!ern and Mett10d
                                                                             083523.0121                                                           REPLACEMENT SHEET




                                                                              3/11




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                                                                                                                                                    l
                                          !   Jane Doe

                                          ~· Jane Boe                                                                                               I
                                                                                                                                                    l
                                   31

                                          l   Jane Loe                (s;;l~h;;' , 39                                                          i

                 r--~- HARRv~_TS______ =1 , FIG. 2

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                                          11 Jane Loe                 rn~ ;~.~.,,,~__,~.
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              <ham11e>




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                                         2 ~----··· You and <handle> both like music, speak German,
                                                   and mentioned "Play--doh" in your profiles.                                                           .
                                                  .................                        ............................................................--J
             Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 130 of 239
                                    Electronic Acknowledgement Receipt

                       EFSID:                    32974718


                 Application Number:             15944542


          International Application Number:

                Confirmation Number:             3585




                  Title of Invention:            Matching Process System and Method




         First Named Inventor/Applicant Name:    Sean Rad


                  Customer Number:               5073


                         Filer:                  Chad Christian Walters/Wendy Flottman


                 Filer Authorized By:            Chad Christian Walters


              Attorney Docket Number:            083523.0121


                    Receipt Date:                22-JUN-2018


                     Filing Date:                03-APR-2018


                     Time Stamp:                 11:32:10


                  Application Type:              Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment
                                                I no
File Listing:
 Document                                                                           File Size(Bytes}/                   Multi         Pages
                     Document Description               File Name
  Number                                                                            Message Digest                     Part /.zip   (if appl.)

                                                                                              129811


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                                                                                7db 17a2f21252669417e2cb04fd52772735
                                                                                                29af3
            Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 131 of 239
                                            Multipart Description/PDF files in .zip description

                                   Document Description                                  Start                End


                        Applicant Response to Pre-Exam Formalities Notice                  1                   3



                           Drawings-only black and white line drawings                     4                   4


Warnings:
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                                                       Total Files Size (in bytes)                129811



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characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New Agglications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.
National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.
New International Agglication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
   Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 132 of 239




Document code: WFEE

                        United States Patent and Trademark Office
                      Sales Receipt for Accounting Date: 06/25/2018


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                 01   FC: 1051             160.00 DA
          Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 133 of 239




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                                                                                     United States Patent and Trademark Office
                                                                                     Adm"'· COMMISSIO'JER FOR PATENTS
                                                                                             PO Box 1450
                                                                                             Alexandria, Virgmia 22313-1450
                                                                                             \VVi\V.USpto.gov


    APPLICATION NUMBER             FILING OR 3 71 (C) DATE           FIRST NAMED APPLICANT                      ATTY. DOCKET NO./TITLE

        15/944,542                     04/03/2018                         Sean Rad               083523.0121
                                                                                           CONFIRMATION NO. 3585
5073                                                                               FORMALITIES LETTER
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                                   111111111111111111111111]~!l]~~1~~1~~HH~ ~~~11111111111111111111111111
SUITE 700
DALLAS, TX 75201-2980
                                                                                                                Date Mailed: 05/01/2018




                         NOTICE TO FILE CORRECTED APPLICATION PAPERS
                                                     Filing Date Granted
An application number and filing date have been accorded to this application. The application is informal since
it does not comply with the regulations for the reason(s) indicated below. Applicant is given TWO MONTHS
from the date of this Notice within which to correct the informalities indicated below. Extensions of time may be
obtained by filing a petition accompanied by the extension fee under the provisions of 37 CFR 1.136(a).
The required item(s) identified below must be timely submitted to avoid abandonment:
  •Replacement drawings in compliance with 37 CFR 1.84 and 37 CFR 1.121 (d) are required. The drawings
   submitted are not acceptable because:
     •The drawings must be reasonably free from erasures and must be free from alterations, overwriting,
      interlineations, folds, and copy marks. See Figure(s) 3.
Applicant is cautioned that correction of the above items may cause the specification and drawings page count to
exceed 100 pages. If the specification and drawings exceed 100 pages, applicant will need to submit the required
application size fee.
  •Surcharge as set forth in 37 CFR 1.16(f) must be submitted.
   The surcharge is due for any one of:
     •late submission of the basic filing fee, search fee, or examination fee,
     • late submission of inventor's oath or declaration,
     •filing an application that does not contain at least one claim on filing, or
     •submission of an application filed by reference to a previously filed application.
SUMMARY OF FEES DUE:
The fee(s) required within TWO MONTHS from the date of this Notice to avoid abandonment is/are itemized
below. No entity status discount is in effect. If applicant is qualified for small entity status, a written assertion of
small entity status must be submitted to establish small entity status. (See 37 CFR 1.27). If applicant is qualified
for micro entity status, an acceptable Certification of Micro Entity Status must be submitted to establish micro
entity status. (See 37 CFR 1.29 and forms PTO/SB/15A and 15B.)
   • $ 160 surcharge.
   • $( 0) previous unapplied payment amount.
   •$160TOTALFEEBALANCEDUE.
Items Required To Avoid Processing Delays:

                                                             page 1of2
          Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 134 of 239




Applicant is notified that the above-identified application contains the deficiencies noted below. No period for
reply is set forth in this notice for correction of these deficiencies. However, if a deficiency relates to the inventor's
oath or declaration, the applicant must file an oath or declaration in compliance with 37 CFR 1.63, or a substitute
statement in compliance with 37 CFR 1.64, executed by or with respect to each actual inventor no later than the
expiration of the time period set in the "Notice of Allowability" to avoid abandonment. See 37 CFR 1.53(f).
  •A properly executed inventor's oath or declaration has not been received for the following inventor(s):
      Sean Rad
      Todd M. Carrico
      Kenneth B. Hoskins
      James C. Stone
      Jonathan Badeen
Replies must be received in the USPTO within the set time period or must include a proper Certificate of Mailing
or Transmission under 37 CFR 1.8 with a mailing or transmission date within the set time period. For more
information and a suggested format, see Form PTO/SB/92 and MPEP 512.
                 Replies should be mailed to:
                                    Mail Stop Missing Parts
                                    Commissioner for Patents
                                    P.O. Box 1450
                                    Alexandria VA 22313-1450
Registered users of EFS-Web may alternatively submit their reply to this notice via EFS-Web, including a copy
of this Notice and selecting the document description "Applicant response to Pre-Exam Formalities Notice".
https ://sportal. uspto .gov/authenticate/AuthenticateUserlocal EP F. htm I
For more information about EFS-Web please call the USPTO Electronic Business Center at 1-866-217-9197 or
visit our website at http://www.uspto.gov/ebc.

        If you are not using EFS-Web to submit your reply, you must include a copy of this notice.
                                    Questions about the contents of this notice and the
                                 requirements it sets forth should be directed to the Office
                                   of Data Management, Application Assistance Unit, at
                                  (571) 272-4000 or (571) 272-4200 or 1-888-786-0101.




                 /lvongxay/




                                                         page 2 of 2
                Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 135 of 239

                        PATENT APPLICATION FEE DETERMINATION RECORD                                                                   Application or Docket Number

                                                    Substitute for Form PT0-875                                                       15/944,542


                        APPLICATION AS FILED - PART I                                                                                                  OTHER THAN
                                          (Column 1)                      (Column 2)                       SMALL ENTITY                OR             SMALL ENTITY

              FOR                    NUMBER FILED                    NUMBER EXTRA                     RATE($)              FEE($)                 RATE($)            FEE($)

BASIC FEE
(37 CFR 1.16(a), (b), or (c))
                                              N/A                             N/A                       N/A                                         N/A               300
SEARCH FEE
(37 CFR 1.16(k), (i), or (m))
                                              N/A                             N/A                       N/A                                         N/A               660
EXAMINATION FEE
(37 CFR 1.16(0), (p), or (q))
                                              N/A                             N/A                       N/A                                         N/A               760
TOTAL CLAIMS
(37 CFR 1.16(i))
                                        24          minus 20=
                                                                              4                                                        OR     x      100      =       400
INDEPENDENT CLAIMS
(37 CFR 1.16(h))
                                         4          minus 3 =
                                                                               1                                                              x     460       =       460
                                  If the specification and drawings exceed 100
APPLICATION SIZE                  sheets of paper, the application size fee due is
FEE                               $31 O ($155 for small entity) for each additional                                                                                  0.00
(37 CFR 1.16(s))                  50 sheets or fraction thereof. See 35 U.S.C.
                                  41 (a)(1 )(G) and 37 CFR 1.16(s).

MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))                                                                                                                    0.00
* If the difference in column 1 is less than zero, enter "O" in column 2.                              TOTAL                                       TOTAL             2580

                  APPLICATION AS AMENDED - PART II

                                                                                                                                                       OTHER THAN
                                 (Column 1)                      (Column 2)        (Column 3)              SMALL ENTITY                OR             SMALL ENTITY
                                  CLAIMS                     HIGHEST
                                 REMAINING                    NUMBER                   PRESENT                           ADDITIONAL                               ADDITIONAL
<(                                                                                                     RATE($)                                     RATE($)
                                   AFTER                    PREVIOUSLY                  EXTRA                              FEE($)                                   FEE($)
I-                              AMENDMENT                    PAID FOR
z
w               Total                             Minus
                                                           ..                      =
                                                                                                  x                =                   OR     x               =
~          (37 CFR 1.16(i))
0
z           Independent                           Minus
                                                           ...                     -
                                                                                                  x                =                   OR     x               =
           (37CFR 1.16(h))
w
~
<(       Application Size Fee (37 CFR 1.16(s))

         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))                                                               OR

                                                                                                       TOTAL                                       TOTAL
                                                                                                                                       OR
                                                                                                      ADD'L FEE                                   ADD'L FEE

                                 (Column 1)                      (Column 2)        (Column 3)
                                  CLAIMS                     HIGHEST
                                 REMAINING                    NUMBER                   PRESENT                           ADDITIONAL                               ADDITIONAL
Ill                                                                                                    RATE($)                                     RATE($)
                                   AFTER                    PREVIOUSLY                  EXTRA                              FEE($)                                   FEE($)
I-                              AMENDMENT                    PAID FOR
z
w               Total                             Minus    ..                      =              x                =
                                                                                                                                       OR     x               =
~
0
z
           (37 CFR 1.16(i))

            Independent                           Minus    ...                     =
                                                                                                  x                =                   OR     x               =
w          (37CFR 1.16(h))
~
<(       Application Size Fee (37 CFR 1.16(s))
                                                                                                                                       OR
         FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))

                                                                                                       TOTAL                                       TOTAL
                                                                                                                                       OR
                                                                                                     ADD'L FEE                                    ADD'L FEE
        * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.
       ** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
      *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
          The "Highest Number Previously Paid For" (Total or Independent) is the highest found in the appropriate box in column 1.
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                                                                             Ul\TfED STATES DEPA RTME'IT OF COMMERCE
                                                                             United States Patent and Trademark Office
                                                                             Adm"'· COMMISSIO'JER FOR PATENTS
                                                                                    PO Box 1450
                                                                                    Alexandria, Virgmia 22313-1450
                                                                                    \VVi\V.USpto.gov


  APPLICATION      FILING or    GRPART
    NUMBER        37l(c)DATE     UNIT       FIL FEE REC'D            ATTY.DOCKET.NO                          TOT CLAIMS IND CLAIMS
  15/944,542     04/03/2018                    2580                   083523.0121            24      4
                                                                                     CONFIRMATION NO. 3585
5073                                                                         FILING RECEIPT
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                             1111111111111111111111m~mllW~~~I~~™~~11111111111111111111111
SUITE 700
DALLAS, TX 75201-2980
                                                                                                       Date Mailed: 05/01/2018




Receipt is acknowledged of this non-provisional patent application. The application will be taken up for examination
in due course. Applicant will be notified as to the results of the examination. Any correspondence concerning the
application must include the following identification information: the U.S. APPLICATION NUMBER, FILING DATE,
NAME OF APPLICANT, and TITLE OF INVENTION. Fees transmitted by check or draft are subject to collection.
Please verify the accuracy of the data presented on this receipt. If an error is noted on this Filing Receipt, please
submit a written request for a Filing Receipt Correction. Please provide a copy of this Filing Receipt with the
changes noted thereon. If you received a "Notice to File Missing Parts" for this application, please submit
any corrections to this Filing Receipt with your reply to the Notice. When the USPTO processes the reply
to the Notice, the USPTO will generate another Filing Receipt incorporating the requested corrections
lnventor(s)
                   Sean Rad, Los Angeles, CA;
                   Todd M. Carrico, Sachse, TX;
                   Kenneth B. Hoskins, Plano, TX;
                   James C. Stone, Addison, TX;
                   Jonathan Badeen, North Hollywood, CA;
Applicant( s)
                Match Group, LLC, Dallas, TX;
Assignment For Published Patent Application
                Match Group, LLC, Dallas, TX
Power of Attorney: None
Domestic Priority data as claimed by applicant
                  This application is a CON of 15/676,773 08/14/2017
                  which is a CON of 14/059, 192 10/21/2013 PAT 9733811
                  which claims benefit of 61/793,866 03/15/2013
                  and is a CIP of 12/339,301 12/19/2008 PAT 8566327
                  which claims benefit of 61/015,099 12/19/2007
Foreign Applications for which priority is claimed (You may be eligible to benefit from the Patent Prosecution
Highway program at the USPTO. Please see http://www.uspto.gov for more information.) - None.
Foreign application information must be provided in an Application Data Sheet in order to constitute a claim to
foreign priority. See 37 CFR 1.55 and 1.76.


Permission to Access Application via Priority Document Exchange: Yes
                                                       page 1of4
          Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 137 of 239




Permission to Access Search Results: Yes

Applicant may provide or rescind an authorization for access using Form PTO/SB/39 or Form PTO/SB/69 as
appropriate.


If Required, Foreign Filing License Granted: 04/27/2018
The country code and number of your priority application, to be used for filing abroad under the Paris Convention,
is US 15/944,542
Projected Publication Date: To Be Determined - pending completion of Corrected Papers
Non-Publication Request: No
Early Publication Request: No
Title
             Matching Process System and Method
Preliminary Class

Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition Applications: No

                PROTECTING YOUR INVENTION OUTSIDE THE UNITED STATES

Since the rights granted by a U.S. patent extend only throughout the territory of the United States and have no
effect in a foreign country, an inventor who wishes patent protection in another country must apply for a patent
in a specific country or in regional patent offices. Applicants may wish to consider the filing of an international
application under the Patent Cooperation Treaty (PCT). An international (PCT) application generally has the same
effect as a regular national patent application in each PCT-member country. The PCT process simplifies the filing
of patent applications on the same invention in member countries, but does not result in a grant of "an international
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Applicants also are advised that in the case of inventions made in the United States, the Director of the US PTO must
issue a license before applicants can apply for a patent in a foreign country. The filing of a U.S. patent application
serves as a request for a foreign filing license. The application's filing receipt contains further information and
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Applicants may wish to consult the USPTO booklet, "General Information Concerning Patents" (specifically, the
section entitled "Treaties and Foreign Patents") for more information on timeframes and deadlines for filing foreign
patent applications. The guide is available either by contacting the USPTO Contact Center at 800-786-9199, or it
can be viewed on the USPTO website at http://www.uspto.gov/web/offices/pac/doc/general/index.html.


For information on preventing theft of your intellectual property (patents, trademarks and copyrights), you may wish
to consult the U.S. Government website, http://www.stopfakes.gov. Part of a Department of Commerce initiative,
this website includes self-help "toolkits" giving innovators guidance on how to protect intellectual property in specific
                                                       page 2 of 4
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countries such as China, Korea and Mexico. For questions regarding patent enforcement issues, applicants may
call the U.S. Government hotline at 1-866-999-HALT (1-866-999-4258).


                                 LICENSE FOR FOREIGN FILING UNDER
                                Title 35, United States Code, Section 184
                          Title 37, Code of Federal Regulations, 5.11 & 5.15
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date indicated is the effective date of the license, unless an earlier license of similar scope has been granted under
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license is not retroactive.


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security or the export of technical data. Licensees should apprise themselves of current regulations especially with
respect to certain countries, of other agencies, particularly the Office of Defense Trade Controls, Department of
State (with respect to Arms, Munitions and Implements of War (22 CFR 121-128)); the Bureau of Industry and
Security, Department of Commerce (15 CFR parts 730-774); the Office of Foreign AssetsControl, Department of
Treasury (31 CFR Parts 500+) and the Department of Energy.

NOT GRANTED

No license under 35 U.S.C. 184 has been granted at this time, if the phrase "IF REQUIRED, FOREIGN FILING
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if a license is desired before the expiration of 6 months from the filing date of the application. If 6 months has lapsed
from the filing date of this application and the licensee has not received any indication of a secrecy order under 35
U.S.C. 181, the licensee may foreign file the application pursuant to 37 CFR 5.15(b).



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and advantages for those who invest and manufacture goods here. Through SelectUSA, our nation works to
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community; serves as an ombudsman for existing and potential investors; advocates on behalf of U.S. cities, states,
and regions competing for global investment; and counsels U.S. economic development organizations on investment
attraction best practices. To learn more about why the United States is the best country in the world to develop

                                                       page 3 of 4
         Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 139 of 239




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                                                    page 4 of 4
                Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 140 of 239


 Doc Code: TRACK1 .REQ
 Document Description: TrackOne Request
                                                                                                                                                                 PTOIAIN424 (04-14)



                            CERTIFICATION AND REQUEST FOR PRIORITIZED EXAMINATION
                                         UNDER 37 CFR 1.102(e) (Page 1of1)

 First Named
 Inventor:                       Sean Rad                                                I   Nonprovisional Application Number (if
                                                                                             known):
                                                                                                                                                I
 Tille of
 Invention:                      Matching Process System and Method
 APPLICANT HEREBY CERTIFIES THE FOLLOWING AND REQUESTS PRIORITIZED EXAMINATION FOR
 THE ABOVE-IDENTIFIED APPLICATION.

         1. The processing fee set forth in 37 CFR 1.17(i)(1) and the prioritized examination fee set forth in
            37 CFR 1.17(c) have been filed with the request. The publication fee requirement is met
            because that fee, set forth in 37 CFR 1.18(d), is currently $0. The basic filing fee, search fee,
            and examination fee are filed with the request or have been already been paid. l understand
            that any required excess claims fees or application size fee must be paid for the application.

         2.          l understand that the application rnay not contain, or be amended to contain, more than four
                     independent claims, more than thirty total claims, or any multiple dependent claims, and that
                     any request for an extension of time will cause an outstanding Track I request to be dismissed.

         3. The applicable box is checked below:
                I.      EJ Original Application {Track One) Prioritized Examination under§ 1.102{elt11
                                                                                             M




         i.          (a) Tt1e application is an original nonprovisional utility application filed under 35 U.S.C. 111(a).
                         This certification and request is being filed with the utility application via EFS-Web.
                                                          ---OR---
                     (b) The application is an original nonprovisional plant application filed under 35 U.S.C. 111 (a).
                         This certification and request is being filed with the plant application in paper.

         ii.         An executed Inventor's oath or declaration under 37 CFR 1.63 or ~37 CFR 1.64 for each
                     inventor,    m:
                                   the application data sheet meeting the conditions specified in 37 CFR 1.53(f)(3)(i) is
                     filed with the application.

               II.      0 Reguest for Contim,md Exc,i!flination ~Prioritized Examination under§ 1.102(e)L2l
         i.   A request for continued examination has been filed with, or prior to, this form.
         ii. lf the application is a utility application, this certification and request is being filed via EFS-Web.
         iii. The application is an original nonprovisional utility application filed under 35 U.S.C. 111(a), or is
              a national stage entry under 35 U.S.C, 371.
         iv. This certification and request is being filed prior to the rnalling of a first Office action responsive
              to the request for continued examination.
         v. No prior request for continued examination has been granted prioritized examination status
              under 37 CFR 1.102(e)(2).


                        /Ill fJ! ~
Sii:inature            ! J~~-{. £!_.... -~::--·:::-::::::--:~:.................................................................------+--o_at_eA_p_r_il_3_,_2_0_1_8_______________________ _

Ngte: This form must be signed in accordancE1 wHh 37 CFR 1.33. See 37 CFR 1.4(d) for signature requirements and certifications.
Submit multiple forms if more than one siqnature_}~.!.~!g!:!.f!.f?f!.:~ .............................__     .................................
r····J
!-~-
                         one
          *Total of ...._ _ forms are submitted.
             Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 141 of 239
                                                                                                                                                      PTO/AIA/14 (11-15)
                                                                                                                    Approved for use through 04/30/2017. OMS 0651-0032
                                                                                                   U.S. Patent and Trademark Office: U.S. DEPARTMENT OF COMMERCE
                 Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMS control number.


                                                                       Attorney Docket Number                  083523.0121
  Application Data Sheet 37 CFR 1.76
                                                                       Application Number

  Title of Invention       I Matching Process System and Method
  The application data sheet is part of the provisional or non provisional application for which it is being submitted. The following form contains the
  bibliographic data arranged in a format specified by the United States Patent and Trademark Office as outlined in 37 CFR 1.76.
  This document may be completed electronically and submitted to the Office in electronic format using the Electronic Filing System (EFS) or the
  document may be printed and included in a paper filed application.


Secrecy Order 37 CFR 5.2:
  D Portions or all of the application associated with this Application Data Sheet may fall under a Secrecy Order pursuant to
        37 CFR 5.2 (Paper filers only. Applications that fall under Secrecy Order may not be filed electronically.)

Inventor Information:
 Inventor  1                                                                                                                     I Remove I
 Legal Name

  Prefix Given Name                                              Middle Name                                   Family Name                                        Suffix
            Sean                                                                                               Rad
  Residence Information (Select One)                       0 US Residency              0     Non US Residency   Q Active US Military Service
  City      Los Angeles                                 I State/Province I CA                  I Country of Residencd I us

Mailing Address of Inventor:

 Address 1                                10430 Wilshire Blvd.

 Address 2                                Unit 1403
 City             I   Los Angeles                                                          I State/Province               I CA
  Postal Code                         I   90024                                    I Country i        I us
 Inventor 2                                                                                                                     I Remove I
 Legal Name

 Prefix Given Name                                              Middle Name                                   Family Name                                         Suffix
           Todd                                                 M.                                            Carrico
  Residence Information (Select One)                      0 US Residency               0     Non US Residency            0 Active US Military Service
 City       Sachse
                                                        I State/Province I TX                  / Country of Residencd                 j US


Mailing Address of Inventor:

 Address 1                                1407 Sunrise Lane

 Address 2
 City             I Sachse                                                                 I State/Province               I TX
 Postal Code                          1   75048                                   I Countryi              1   us
 Inventor 3                                                                                                                     I Remove I
 Legal Name

 Prefix Given Name                                              Middle Name                                   Family Name                                         Suffix
           Kenneth                                              B.                                            Hoskins
  Residence Information (Select One)                      0 US Residency               0     Non US Residency            0 Active US Military Service
EFS Web 2.2.12
            Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 142 of 239
                                                                                                                                                          PTO/AlN14 (11-15)
                                                                                                                     Approved for use through 04/30/2017. OMB 0651-0032
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                 Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.

                                                                      Attorney Docket Number                   083523.0121
 Application Data Sheet 37 CFR 1.76
                                                                      Application Number

 Title of Invention        I Matching Process System and Method
 City    I Plano                                        I State/Province I TX                   I Country of Residencd                I US

Mailing Address of Inventor:

 Address 1                              2817 Chancellor Drive
 Address 2
 City             I Plano                                                                  I State/Province               I TX
 Postal Code                             75074                                     I Countryi              1   us
 Inventor 4                                                                                                                      I Remove I
 Legal Name

 Prefix Given Name                                               Middle Name                                   Family Name                                        Suffix
           James                                                 c.                                            Stone
  Residence Information (Select One) (!) US Residency                                  0     Non US Residency   Q Active US Military Service
 City      Addison                                      I State/Province I TX                  I Country of Residencd I

Mailing Address of Inventor:

 Address 1                              15826 Breedlove
 Address 2
 City             I Addison                                                                I State/Province               I TX
 Postal Code                             75001                                     I Country i             1   us
Inventor 5                                                                                                                      I Remove I
Legal Name

 Prefix Given Name                                              Middle Name                                    Family Name                                        Suffix
          Jonathan                                                                                             Badeen
 Residence Information (Select One) (!) US Residency                                   0     Non US Residency             0 Active US Military Service
 City      North Hollywood                              I State/Province I CA                  I Country of Residencd I us

Mailing Address of Inventor:

 Address 1                              11201 Otsego St. #400
 Address 2
 City             I North Hollywood                                                        I State/Province               I TX
 Postal Code                             91601
                                                                                   I Countryi             I us
 All Inventors Must Be Listed - Additional Inventor Information blocks may be
 generated within this form by selecting the Add button.                                                                                 I Add I
Correspondence Information:
 Enter either Customer Number or complete the Correspondence Information section below.
 For further information see 37 CFR 1.33(a).

D An Address is being provided for the correspondence Information of this application.
EFS Web 2.2.12
            Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 143 of 239
                                                                                                                                                          PTO/AIN14 (11-15)
                                                                                                                     Approved for use through 04/30/2017. OMB 0651-0032
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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                                                                       Attorney Docket Number                  083523.0121
  Application Data Sheet 37 CFR 1.76
                                                                      Application Number

 Title of Invention        I Matching Process System and Method
  Customer Number                         05073

  Email Address                           PTOmail1@bakerbotts.com
                                                                                                                       I       Add Email             J Remove Email    j


Application Information:
 Title of the Invention                   Matching Process System and Method

 Attorney Docket Number 083523.0121
                                                                                           I Small Entity Status Claimed D
 Application Type                         Nonprovisional

 Subject Matter                           Utility

 Total Number of Drawing Sheets (if any)
                                                                   I 11                      J   Suggested Figure for Publication (if any) I

Filing By Reference:
Only complete this section when filing an application by reference under 35 U.S.C. 111 (c) and 37 CFR 1.57(a). Do not complete this section if
application papers including a specification and any drawings are being filed. Any domestic benefit or foreign priority information must be
provided in the appropriate section(s) below (i.e., "Domestic Benefit/National Stage Information" and "Foreign Priority Information").

For the purposes of a filing date under 37 CFR 1.53(b), the description and any drawings of the present application are replaced by this
reference to the previously filed application, subject to conditions and requirements of 37 CFR 1.57(a).
                                                                                                                                                                           i-
 Application number of the previously                    Filing date (YYYY-MM-DD)                                     Intellectual Property Authority or Country
  filed application




 Publication Information:
 D     Request Early Publication (Fee required at time of Request 37 CFR 1.219)

       Request Not to Publish. I hereby request that the attached application not be published under
  D 35 U.S.C. 122(b) and certify that the invention disclosed in the attached application has not and will not be the
       subject of an application filed in another country, or under a multilateral international agreement, that requires
       publication at eighteen months after filing.




Representative Information:

 Representative information should be provided for all practitioners having a power of attorney in the application. Providing
 this information in the Application Data Sheet does not constitute a power of attorney in the application (see 37 CFR 1.32).
 Either enter Customer Number or complete the Representative Name section below. If both sections are completed the customer
 Number will be used for the Representative Information during processing.




 Please Select One:                   0     Customer Number               I 0 US Patent Practitioner             10 Limited Recognition (37 CFR 11.9)
 Customer Number                      05073




EFS Web 2.2.12
             Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 144 of 239
                                                                                                                                                          PTO/AIA/14 (11-15)
                                                                                                                     Approved for use through 04/30/2017. OMB 0651-0032
                                                                                                 U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                 Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.

                                                                       Attorney Docket Number                  083523.0121
  Application Data Sheet 37 CFR 1. 76
                                                                       Application Number

  Title of Invention          Matching Process System and Method



Domestic Benefit/National Stage Information:
This section allows for the applicant to either claim benefit under 35 U.S.C. 119(e), 120, 121, 365(c), or 386(c) or indicate
National Stage entry from a PCT application. Providing benefit claim information in the Application Data Sheet constitutes
the specific reference required by 35 U.S.C. 119(e) or 120, and 37 CFR 1.78.
When referring to the current application, please leave the "Application Number" field blank.

     Prior Application Status             Pending                                                                                        I Hemove I
                                                                                                                                       Filing or 371(c) Date
      Application Number                            Continuity Type                      Prior Application Number                         (YYYY-MM-DD)

                                          Continuation of                               15/676773                                  2017-08-14

     Prior Application Status             Patented                                                                                       I Remove I
      Application                                                Prior Application              Filing Date                                          Issue Date
                                 Continuity Type                                                                          Patent Number            (YYYY-MM-DD)
       Number                                                        Number                   (YYYY-MM-DD)
  15/676773                Continuation of                    14/059192                    2013-10-21                     9733811                2017-08-15

     Prior Application Status             Expired                                                                                        I Remove     J

                                                                                                                                       Filing or 371(c) Date
      Application Number                            Continuity Type                      Prior Application Number                         (YYYY-MM-DD)

  14/059192                               Claims benefit of provisional                61/793866                                   2013-03-15

    Prior Application Status              Patented                                                                                       I Remove I
      Application                                                Prior Application              Filing Date                                          Issue Date
                                 Continuity Type                                                                          Patent Number            (YYYY-MM-DD)
       Number                                                        Number                   (YYYY-MM-DD)
  14/059192                Continuation in part of            12/339301                   2008-12-19                      8566327                2013-10-22
    Prior Application Status              Expired                                                                                        I Remove I
                                                                                                                                       Filing or 371(c) Date
      Application Number                            Continuity Type                      Prior Application Number                         (YYYY-MM-DD)

 12/339301                                Claims benefit of provisional                61/015099                                   2007-12-19

 Additional Domestic BenefiUNational Stage Data may be generated within this form
 by selecting the Add button.




Foreign Priority Information:
This section allows for the applicant to claim priority to a foreign application. Providing this information in the application data sheet
constitutes the claim for priority as required by 35 U.S.C. 119(b) and 37 CFR 1.55. When priority is claimed to a foreign application
that is eligible for retrieval under the priority document exchange program (PDX)i the information will be used by the Office to
automatically attempt retrieval pursuant to 37 CFR 1.55(i)(1) and (2). Under the POX program, applicant bears the ultimate
responsibility for ensuring that a copy of the foreign application is received by the Office from the participating foreign intellectual
property office, or a certified copy of the foreign priority application is filed, within the time period specified in 37 CFR 1.55(g)(1 ).

                                                                                                                                         I Remove I
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                                                                      Attorney Docket Number                   083523.0121
 Application Data Sheet 37 CFR 1. 76
                                                                      Application Number

 Title of Invention        I Matching Process System and Method
                                       I                                       I                                               I
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Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition
Applications
      This application ( 1) claims priority to or the benefit of an application filed before March 16, 2013 and (2) also
      contains, or contained at any time, a claim to a claimed invention that has an effective filing date on or after March
 D    16, 2013.
      NOTE: By providing this statement under 37 CFR 1.55 or 1.78, this application, with a filing date on or after March
      16, 2013, will be examined under the first inventor to file provisions of the AIA.




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                                                                       Attorney Docket Number                  083523.0121
    Application Data Sheet 37 CFR 1. 76
                                                                       Application Number

    Title of Invention     I Matching Process System and Method


Authorization or Opt-Out of Authorization to Permit Access:

When this Application Data Sheet is properly signed and filed with the application, applicant has provided written authority
to permit a participating foreign intellectual property (IP) office access to the instant application-as-filed (see paragraph A
in subsection 1 below) and the European Patent Office (EPO) access to any search results from the instant application
(see paragraph B in subsection 1 below).

Should applicant choose not to provide an authorization identified in subsection 1 below, applicant must opt-out of the
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NOTE: This section of the Application Data Sheet is ONLY reviewed and processed with the INITIAL filing of an
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1. Authorization to Permit Access by a Foreign Intellectual Property Office(s)

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application claiming priority to the instant patent application is filed, access to: (1) the instant patent application-as-filed
and its related bibliographic data, (2) any foreign or domestic application to which priority or benefit is claimed by the
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( 1).

B. Search Results from U.S. Application to EPO - Unless box Bin subsection 2 (opt-out of authorization) is checked,
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application is filed. See 37 CFR 1.14(h)(2).
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The applicant is reminded that the EPO's Rule 141 ( 1) EPC (European Patent Convention) requires applicants to submit a
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the instant application.

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                                                                      Attorney Docket Number                   083523.0121
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                                                                      Application Number

  Title of Invention       I Matching Process System and Method

Applicant Information:

 Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Title 37 of CFR
 to have an assignment recorded by the Office.

 Applicant         1
If the applicant is the inventor (or the remaining joint inventor or inventors under 37 CFR 1.45), this section should not be completed.
The information to be provided in this section is the name and address of the legal representative who is the applicant under 37 CFR
1.43; or the name and address of the assignee, person to whom the inventor is under an obligation to assign the invention, or person
who otherwise shows sufficient proprietary interest in the matter who is the applicant under 37 CFR 1.46. If the applicant is an
applicant under 37 CFR 1.46 (assignee, person to whom the inventor is obligated to assign, or person who otherwise shows sufficient
proprietary interest) together with one or more joint inventors, then the joint inventor or inventors who are also the applicant should be
identified in this section.
                                                                                                                                           I Clear I
0 Assignee                                        lo     Legal Representative under 35 U.S.C. 117
                                                                                                                            lo      Joint Inventor

0 Person to whom the inventor is obligated to assign.                                    Jo        Person who shows sufficient proprietary interest

If applicant is the legal representative, indicate the authority to file the patent application, the inventor is:


                                                                                                                              I
Name of the Deceased or Legally Incapacitated Inventor:                          I                                                                                        I
 If the Applicant is an Organization check here.                          0
 Organization Name
                                 I Match Group, LLC
 Mailing Address Information For Applicant:
 Address 1                               8750 N. Central Expressway

 Address 2                               Suite 1400
 City                                    Dallas                                           State/Province                 TX
 Country I US                                                                             Postal Code                    75231
 Phone Number                                                                             Fax Number

 Email Address


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Assignee Information including Non-Applicant Assignee Information:

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     Title of Invention                      Matching Process System and Method
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      Assignee                  1
Complete this section if assignee information, inciu-cnng-;=.-or;~appi!Cai1fas·s1gn·ee·1nfon11ation, is desired to be included on th-e-patenr·-------
application publication. An assignee-applicant identified in the "Applicant Information" section will appear on the patent application
publication as an applicant. For an assignee-applicant, complete this section only if identification as an assignee is also desired on the
patent application publication.
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     If the Assignee or Non-Applicant Assignee is an Organization check here.                                                                                                                              [~]

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 Mailing Address                    ·1ntormat1on··r;or--Ass·ignee··rncrtidli19                                      Non~Applicant Assignee:                                                                 ----------------------------------------------

     Address 1                                                    8750 N. Central Expressway

     Address 2                                                    Suite 1400
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     City                                                I Dallas                                                               l State/Province                                  TX



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!patent practitioner, ~I_! joint inventors who are the applicant, or one or more joint inventor-applicants who have been given
Ipower of attorney (e.g., see USPTO Form PTOiAIN8i) on behalf of ajl joint inventor-·applicants.
      See Tl CFR 1.4(d) for the manner of making signatures and certifications.




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                                                                       Attorney Docket Number                  083523.0121
 Application Data Sheet 37 CFR 1. 76
                                                                      Application Number

 Title of Invention        I Matching Process System and Method

 This collection of information is required by 37 CFR 1.76. The information is required to obtain or retain a benefit by the public which
 is to file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This
 collection is estimated to take 23 minutes to complete, including gathering, preparing, and submitting the completed application data
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                       MATCHING PROCESS SYSTEM AND METHOD

       ABSTRACT
              A method           for   profile matching     includes      receiving    a
 5     plurality of user profiles,               each user profile comprising
       traits     of       a     respective     user.       The     method   includes
       receiving       a       preference      indication     for     a   first     user
       profile    of       the    plurality of       user profiles.        The    method
       also   includes determining a potential match user profile
10     of the plurality of user profiles based on the preference
       indication      for       the   first   user profile.        The method also
       includes presenting the potential match user profile to a
       second user.
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       WHAT IS CLAIMED IS:
               1.      A         non-transitory                     computer-readable                    medium
       comprising           instructions                     that,     when            executed           by         a
       processor,          are configured to:
 5             electronically                receive          a     plurality of             user    online-
       dating       profiles,             each        profile         comprising             traits           of     a
       respective user;
               electronically receive a                            first request for matching,
       the     first       request          electronically                 submitted          by    a        first
10     user using a first electronic device;
               determine             from       the    plurality           of    user     online-dating
       profiles a set of potential matches for the first user;
               cause the display of a graphical representation of a
       first potential match of the set of potential matches to
15     the first user on a graphical user interface of the first
       electronic            device,                   the         first          potential                  match
       corresponding to a second user;
               receive       from           the        first        electronic          device           of        the
       first        user         a    first            positive           preference           indication
20     associated           with          the     graphical            representation                of            the
       second       user    on       the        graphical          user     interface,             the       first
       positive        preference               indication           associated          with        a        first
       gesture performed on the graphical user interface;
               cause       the        graphical              user     interface          to    display               a
25     graphical       representation                   of     a    second potential                match of
       the    set    of     potential             matches            instead       of    the       graphical
       representation of the first potential match;
               receive           from       a     second           electronic           device          of         the
       second       user     a       positive          preference           indication             regarding
30     the first user;
               determine             to     allow       the        first        user    to    communicate
       with    the     second user                in    response           to    receiving          from           the
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       first       electronic          device         of     the    first          user        the           first
       positive preference                indication          regarding the                   second user
       and    receiving          from    the        second     electronic            device             of     the
       second user          the positive preference                   indication                   regarding
 5     the first user;
               receive       from        the        first    electronic              device             of     the
       first        user     a      first           negative        preference                 indication
       associated          with    a     graphical           representation                   of    a     third
       potential         match      on        the     graphical       user          interface,                 the
10     first       negative       preference           indication          associated                   with     a
       second gesture performed on the graphical user interface,
       the third potential match corresponding to a third user;
               without       allowing           communication             between              the        first
       user        and     the     third            user,     receive              from        the        first
15     electronic          device       of     the     first       user    a        second         positive
       preference           indication               associated           with            a        graphical
       representation             of     a      fourth        potential              match           on        the
       graphical         user     interface,          the    second positive preference
       indication associated with the first gesture performed on
20     the graphical user                interface,          the    fourth potential match
       corresponding to a fourth user;
               receive from a third electronic device of the fourth
       user    a    second       negative           preference       indication                associated
       with a graphical representation of the first user; and
25             without       allowing           communication             between              the        first
       user        and     the     fourth           user,      receive             from        the        first
       electronic          device       of     the     first       user        a     third         positive
       preference           indication               associated           with            a        graphical
       representation             of      a     fifth         potential             match            on        the
30     graphical         user     interface,           the    third       positive             preference
       indication associated with the first gesture performed on
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       ATTORNEY'S DOCKET                                                      PATENT APPLICATION
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       the    graphical          user    interface,         the        fifth    potential   match
       corresponding to a fifth user.


               2.         The medium of Claim 1,                wherein at least one or
 5     more of the plurality of user on-line dating profiles is
       associated with a social networking platform.


               3.         The medium of Claim 1, wherein:
               the first gesture comprises a                       first swiping gesture;
10     and
               the        second        gesture      comprises            a     second     swiping
       gesture different than the first swiping gesture.


               4.         The medium of Claim 2, wherein:
15             the first gesture comprises a                       first swiping gesture;
       and
               the        second        gesture      comprises            a     second     swiping
       gesture different than the first swiping gesture


20             5.         The    medium        of    Claim        1,     further     comprising
       instructions configured to,                       in response to determining to
       allow the first user to communicate with the second user,
       cause        the    display       of    a    graphical           notification       on   the
       graphical          user    interface         of    the   first         electronic    device
25     of the       first       user,    the graphical notification indicating
       that a match exists between the first user and the second
       user    and        presenting          an    option      for      the     first   user    to
       communicate with the second user.


30             6.         The    medium        of    Claim        4,     further     comprising
       instructions configured to,                       in response to determining to
       allow the first user to communicate with the second user,
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      ATTORNEY'S DOCKET                                      PATENT APPLICATION
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      cause    the    display   of    a   graphical        notification    on    the
      graphical      user   interface     of   the   first    electronic   device
      of the   first    user,   the graphical notification indicating
      that a match exists between the first user and the second
5     user    and    presenting      an   option     for    the   first   user    to
      communicate with the second user.
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              7.      A system for profile matching,                          comprising:
              an interface operable to:
              electronically           receive         a    plurality of             user    online-
       dating      profiles,       each      profile             comprising          traits       of     a
 5     respective user; and
              electronically receive a                     first request for matching,
       the    first      request       electronically              submitted          by    a     first
       user using a first electronic device;
              a    processor      coupled      to          the    interface          and    operable
10     to:
              determine         from   the   plurality             of     user   online-dating
       profiles     a    set of potential matches                       for    the       first    user;
       and
              cause the display of a graphical representation of a
15     first potential match of the set of potential matches to
       the first user on a graphical user interface of the first
       electronic          device,           the            first         potential               match
       corresponding to a second user;
              wherein the interface is further operable to receive
20     from   the       first    electronic         device          of    the    first          user     a
       first positive preference               indication associated with the
       graphical        representation         of           the     second       user        on        the
       graphical        user    interface,         the      first        positive         preference
       indication        associated with           a       first    gesture          performed          on
25     the graphical user interface;
              wherein      the    processor        is       further       operable          to    cause
       the    graphical         user    interface            to     display          a     graphical
       representation of a             second potential match of the set of
       potential matches instead of the graphical representation
30     of the first potential match;
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       ATTORNEY'S DOCKET                                                      PATENT APPLICATION
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               wherein the interface is further operable to receive
       from    a    second        electronic             device       of    the     second          user    a
       positive preference indication regarding the first user;
               wherein        the           processor          is      further        operable             to
 5     determine to allow the first user to communicate with the
       second       user     in        response          to    receiving          from    the        first
       electronic         device        of       the    first       user    the     first      positive
       preference          indication                 regarding       the        second       user       and
       receiving from the second electronic device of the second
10     user     the       positive          preference           indication         regarding            the
       first user; and
               wherein the interface is further operable to:
                      receive from the first electronic device of the
       first       user      a      first             negative        preference          indication
15     associated          with     a       graphical          representation            of    a     third
       potential          match        on       the     graphical          user    interface,            the
       first       negative       preference             indication          associated             with    a
       second gesture performed on the graphical user interface,
       the third potential match corresponding to a third user;
20                    without            allowing             communication           between            the
       first       user    and     the       third       user,       receive       from       the    first
       electronic          device       of       the     first       user    a     second      positive
       preference           indication                 associated           with     a        graphical
       representation             of        a     fourth        potential           match       on       the
25     graphical user             interface,            the second positive preference
       indication associated with the first gesture performed on
       the graphical user interface,                           the    fourth potential match
       corresponding to a fourth user;
                      receive           from      a    third     electronic device                  of   the
30     fourth       user     a      second             negative       preference          indication
       associated with             a    graphical             representation of               the    first
       user; and
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                     without          allowing         communication           between        the
       first    user    and     the    fourth     user,       receive        from    the    first
       electronic       device        of    the   first       user       a   third    positive
       preference        indication            associated        with          a      graphical
 5     representation           of     a     fifth      potential            match     on     the
       graphical       user    interface,         the    third positive             preference
       indication associated with the first gesture performed on
       the    graphical       user    interface,        the    fifth         potential match
       corresponding to a fifth user.
10
               8.    The system of Claim 7,                wherein at least one or
       more of the plurality of user on-line dating profiles is
       associated with a social networking platform.


15             9.    The system of Claim 7, wherein:
               the first gesture comprises a first swiping gesture;
       and
               the     second        gesture      comprises          a       second     swiping
       gesture different than the first swiping gesture.
20
               10.   The system of Claim 8, wherein:
               the first gesture comprises a first swiping gesture;
       and
               the     second        gesture      comprises          a       second     swiping
25     gesture different than the first swiping gesture


               11.   The system of Claim 7,               wherein the processor is
       further operable to,                in response to determining to allow
       the first user to communicate with the second user,                                  cause
30     the display of a          graphical notification on the graphical
       user    interface        of    the     first     electronic           device     of    the
       first user,       the graphical notification indicating that a
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       match exists between the                  first      user and the        second user
       and     presenting        an        option        for     the        first    user     to
       communicate with the second user.


 5             12.    The     system of         Claim 10,        wherein      the    processor
       is    further    operable       to,       in    response        to    determining      to
       allow the first user to communicate with the second user,
       cause    the     display       of    a    graphical           notification      on    the
       graphical       user    interface         of   the      first    electronic      device
10     of the first         user,     the graphical notification indicating
       that a match exists between the first user and the second
       user    and     presenting          an   option         for    the    first    user    to
       communicate with the second user.


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       ATTORNEY'S DOCKET                                                         PATENT APPLICATION
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                                                          64


               13.     A       computer            implemented              method          of     profile
       matching,       comprising:
               electronically transmitting                          from     a    first      electronic
       device of a first user a first request for matching;
 5             causing the display of a graphical representation of
       a   first potential match of a                          set of potential matches to
       the first user on a graphical user interface of the first
       electronic              device,              the         first            potential              match
       corresponding to a second user;
10             wherein         the        set    of potential matches                  for       the    first
       user    are     determined                from     a    plurality          of       user    online-
       dating        profiles         in        response       to     the    first          request       for
       matching;
               wherein the plurality of user online-dating profiles
15     each comprises traits of a respective user;
               transmitting from the first electronic device of the
       first     user           a     first         positive           preference            indication
       associated          with           the     graphical           representation               of     the
       second    user          on    the        graphical       user    interface,               the    first
20     positive       preference                indication          associated         with        a    first
       gesture performed on the graphical user interface;
               causing the display on the graphical user interface
       of a graphical representation of a second potential match
       of the set of potential matches instead of the graphical
25     representation of the first potential match;
               allowing             the     first       user     to     communicate              with     the
       second user in response to the first electronic device of
       the first user transmitting the first positive preference
       indication          regarding             the    second      user     and       a    second       user
30     expressing          a        positive           preference       regarding            the        first
       user;
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               transmitting from the first electronic device of the
       first     user        a     first            negative           preference           indication
       associated       with       a     graphical             representation              of    a    third
       potential       match        on        the       graphical       user        interface,             the
 5     first    negative          preference              indication          associated             with    a
       second gesture performed on the graphical user interface,
       the third potential match corresponding to a third user;
               without allowing the                      first user to communicate with
       the    third     user,      transmitting                 from    the        first    electronic
10     device    of     the       first       user        a    second     positive          preference
       indication associated with a                            graphical       representation of
       a fourth potential match on the graphical user interface,
       the second positive preference indication associated with
       the     first     gesture              performed           on     the        graphical          user
15     interface,       the      fourth potential match corresponding to a
       fourth user;
               wherein       there        is        a    fourth        user        expression         of     a
       negative preference for the first user; and
               without       allowing           communication                between        the       first
20     user    and     the       fourth       user,           transmitting          from     the      first
       electronic       device          of     the        first       user     a     third      positive
       preference        indication                     associated        with        a         graphical
       representation             of      a     fifth           potential           match        on        the
       graphical       user       interface,             the    third positive              preference
25     indication associated with the first gesture performed on
       the    graphical          user    interface,             the    fifth        potential match
       corresponding to a fifth user.


               14.     The method of Claim 13, wherein at least one or
30     more of the plurality of user on-line dating profiles is
       associated with a social networking platform.
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              15.    The method of Claim 13, wherein:
              the first gesture comprises a                  first swiping gesture;
       and
              the    second        gesture       comprises         a     second     swiping
 5     gesture different than the first swiping gesture.


              16.    The method of Claim 14, wherein:
              the first gesture comprises a                  first swiping gesture;
       and
10            the    second        gesture       comprises         a     second     swiping
       gesture different than the first swiping gesture


              17.    The    method     of       Claim      13,     further    comprising
       causing      the    display    of    a    graphical       notification       on   the
15     graphical     user    interface          of   the   first       electronic   device
       of the    first     user,     the graphical notification indicating
       that a match exists between the first user and the second
       user   and     presenting       an       option     for   the      first   user    to
       communicate with the second user.
20
              18.    The    method     of       Claim      16,     further    comprising
       causing      the    display    of    a    graphical       notification       on   the
       graphical     user    interface          of   the   first       electronic   device
       of the    first     user,     the graphical notification indicating
25     that a match exists between the first user and the second
       user   and     presenting       an       option     for   the      first   user    to
       communicate with the second user.
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               19.       A system for profile matching,                                comprising:
               an     interface             operable             to     electronically                  transmit
       from    a     first      electronic device                      of    a    first      user       a    first
       request for matching;
 5             a processor coupled to the interface and operable to
       cause       the    display           of    a     graphical                representation              of    a
       first       potential          match of          a       set    of potential matches                       to
       the first user on a graphical user interface of the first
       electronic               device,             the           first            potential                match
10     corresponding to a second user;
               wherein          the    set       of potential matches                        for   the       first
       user    are       determined              from       a    plurality             of     user       online-
       dating        profiles          in    response             to       the     first       request         for
       matching;
15             wherein the plurality of user online-dating profiles
       each comprises traits of a respective user;
               wherein           the        interface             is        further           operable            to
       transmit          from    the        first     electronic                 device      of    the       first
       user    a     first       positive           preference               indication            associated
20     with    the       graphical          representation of                     the      second user            on
       the     graphical              user         interface,                the           first        positive
       preference          indication             associated                with       a    first        gesture
       performed on the graphical user interface;
               wherein the processor is further operable to:
25                       cause         the        display             on     the           graphical          user
       interface          of     a     graphical                representation               of     a       second
       potential match of                   the     set         of potential matches                     instead
       of    the     graphical          representation                  of       the       first    potential
       match; and
30                       allow        the    first          user       to    communicate             with      the
       second user in response to the first electronic device of
       the first user transmitting the first positive preference
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       indication       regarding           the        second          user       and    a    second     user
       expressing        a     positive           preference                regarding          the      first
       user;
               wherein the interface is further operable to:
 5                     transmit           from        the       first       electronic         device         of
       the     first    user     a        first        negative            preference          indication
       associated       with        a     graphical             representation                of   a    third
       potential        match        on    the         graphical            user        interface,           the
       first    negative        preference              indication                associated           with    a
10     second gesture performed on the graphical user interface,
       the third potential match corresponding to a                                           third user;
       and
                       without allowing the                       first       user       to   communicate
       with    the     third user,          transmit             from the           first      electronic
15     device     of    the     first       user        a       second        positive         preference
       indication associated with a                             graphical          representation of
       a fourth potential match on the graphical user interface,
       the second positive preference indication associated with
       the     first     gesture            performed                 on     the        graphical        user
20     interface,       the    fourth potential match corresponding to a
       fourth user;
               wherein        there        is     a     fourth             user    expression           of     a
       negative preference for the first user; and
               wherein        the         interface              is        further        operable           to,
25     without allowing communication between the first user and
       the     fourth        user,        transmit              from       the     first       electronic
       device     of    the     first           user        a    third        positive         preference
       indication associated with a                             graphical          representation of
       a   fifth potential match on the graphical user interface,
30     the third positive preference                             indication associated with
       the     first     gesture            performed                 on     the        graphical        user
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       interface,       the    fifth    potential          match   corresponding       to   a
       fifth user.


               20.   The system of Claim 19, wherein at least one or
 5     more of the plurality of user on-line dating profiles is
       associated with a social networking platform.


               21.   The system of Claim 19, wherein:
               the first gesture comprises a first swiping gesture;
10     and
               the     second     gesture         comprises        a     second     swiping
       gesture different than the first swiping gesture.


               22.   The system of Claim 20, wherein:
15             the first gesture comprises a first swiping gesture;
       and
               the     second     gesture         comprises        a     second     swiping
       gesture different than the first swiping gesture


20             23.   The      system of     Claim 19,         wherein      the    processor
       is    further    operable       to   cause      the display of a           graphical
       notification on the graphical user interface of the first
       electronic       device     of       the     first      user,      the     graphical
       notification        indicating       that       a   match   exists    between    the
25     first    user    and the    second user and presenting an option
       for the first user to communicate with the second user.


               24.   The      system of     Claim 23,         wherein      the    processor
       is    further    operable       to   cause      the display of a           graphical
30     notification on the graphical user interface of the first
       electronic       device     of       the     first      user,      the     graphical
       notification        indicating       that       a   match   exists    between    the
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      first   user   and the   second user   and presenting an option
      for the first user to communicate with the second user.




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                          MATCHING PROCESS SYSTEM AND METHOD


       RELATED APPLICATION
             This         application              is        a    continuation               of      u. s.
       Application            Serial    No.       15, 676, 773       filed August            14,     2017
       and entitled "Matching Process System And Method," which
 5     is    a     continuation              of     U.S.         Application          Serial          No.
       14/059,192         filed October 21,                 2013 and entitled "Matching
       Process System and Method;" which                             (a)    is a    continuation-
       in-part      of    U.S.    Application               Serial     No.    12/339,301            filed
       December         19,    2008    and     entitled "Matching                  Process         System
10     and Method," now U.S.                  Patent No.          8,566,327,         which claims
       benefit      under        35    U.S.C.        § 119(e)          to    U.S.     Provisional
       Application            Serial     No.        61/015,099,            entitled          "Matching
       Process System And Method," filed December 19,                                        2007;    and
       (b)       claims       benefit        under          35   U.S.C.       119(e)          to     U.S.
15     Provisional Application Serial No.                            61/793,866 filed March
       15,       2013     and     entitled           "Social         Matching         System          and
       Method."


       TECHNICAL FIELD
20           This         invention            relates           generally          to        computer
       matching         systems        and    more          particularly       to        a    matching
       process system and method.
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       BACKGROUND
               Networking           architectures                   have       grown          increasingly
       complex in communications environments.                                          In recent years,
       a    series      of       protocols            and        configurations                 have        been
 5     developed in order to accommodate a                                    diverse group of end
       users    having        various          networking              needs.            Many       of    these
       architectures             have     gained       significant                  notoriety         because
       they    can     offer       the       benefits          of    automation,              convenience,
       management,         and enhanced consumer selections.
10             Certain       network          protocols             may       be    used      in     order    to
       allow     an     end        user       to     conduct             an        on-line         search     of
       candidates to             fill    a    given vacancy.                   These protocols may
       relate     to       job     searches,          person             finding         services,          real
       estate    searches,          or        on-line          dating.             While      some    believe
15     that on-line dating is simply a matter of matching supply
       and demand,          there        is    statistical               and       empirical         evidence
       to   suggest         that        successful             on-line         dating         entails        far
       more.
               For example,             people having similar and/or compatible
20     character       traits       and values                 should be            matched        together.
       However,        effectively             linking           two      participants               together
       can prove       to     be    a    challenging endeavor.                           Coordinating a
       relationship between two like-minded individuals can be a
       significant chore,                as there are a number of obstacles and
25     barriers that must be overcome.
               One     problem           that        has        arisen             is    that        matching
       services are limited to searching for matches only within
       their    own     platform.                  Thus,       only       people         who       have     gone
       through       the    process           of    signing          up       for       the   service        are
30     searched for a match.                    One solution to this problem is to
       have     users       register           in     multiple                services.              This     is
       problematic           because           it      can          be        expensive            and      time
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       consuming     for    users.        Further,      the      user must           then visit
       all of the services to monitor the search progress:                                       this
       inefficiency        may   cause        users   to    give        up    on     the       search
       process.
 5           Another problem is               that the      search results of these
       services      contain        many        irrelevant             entities            to     the
       searcher.      This       costs    the    user      of    the    service          time     and
       may deter them from continuing through all of the search
       results.
10           Another       problem       is    that   large       numbers           of    unwanted
       communication requests can become a nuisance to the user.
       Too   many    nuisance        requests         may       deter        the     user        from
       further      use    of     the     system.               Users        with        the    most
       attractive profiles           are oftentimes the ones                    that       receive
15     the most unwanted attention.                   If the users with the most
       attractive profiles cease to use the                        system,          the quality
       of the user pool deteriorates.
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       SUMJV'lARY
               In    one       embodiment,              a    method              for    profile       matching
       comprises          receiving          a    plurality                 of    user       profiles,          each
       user profile comprising traits of a                                        respective user.                   It
 5     also    comprises             receiving          a        preference             indication          for       a
       first user profile of the plurality of user profiles.                                                         It
       further       comprises          determining                     a        potential         match        user
       profile       of    the       plurality          of       user        profiles          based      on        the
       preference          indication             for       the        first       user       profile.              The
10     method also comprises presenting the potential match user
       profile to a second user.
               Receiving         a    preference                 indication             for    a    first       user
       profile       may       include            receiving                 from        a     third       user        a
       recommendation            of    the        first          user profile                for    the    second
15     user.        It may also include receiving from the second user
       a preference indication for                           the        first user profile.                         The
       method may further include determining a                                             score of a third
       user    profile          of     the        plurality                 of    user       profiles          as     a
       potential match for the second user.                                        It may also include
20     altering the score of the third user profile based on the
       preference indication for the first user profile.
               In another embodiment,                       a method for profile matching
       comprises          receiving          a    plurality                 of    user       profiles,          each
       user profile comprising traits of a                                       respective user.                   The
25     method further            comprises              receiving a                request         for matches
       from a       first user,         the first user associated with a                                       first
       user    profile.               The        method          also        comprises             scoring          the
       plurality          of   user     profiles                 for        potential         matching          with
       the    first       user based on comparisons                                of       the plurality of
30     user    profiles          with        the        first          user        profile.            It       also
       comprises          identifying              a        second           user           profile       of        the
       plurality of user profiles                           as     a        potential match               for       the
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       first       user    based    on    the       scoring.           The    method     further
       comprises          identifying         commonality         between      a     third    user
       profile of the plurality of user profiles and the second
       user     profile.             In       addition,        the      method         comprises
 5     presenting to the first user the third user profile as a
       potential match for the first user.
               Depending       on       the     specific          features         implemented,
       particular embodiments may exhibit some,                              none,    or all of
       the    following       technical        advantages.             Various       embodiments
10     may     be    capable       of     dynamically          updating        match        search
       results based on user activity.                        Some embodiments may be
       capable of enhancing match search results by reducing the
       impact       of    restrictive         user       preferences.           In    addition,
       some embodiments may provide the ability to evaluate the
15     attractiveness of potential matches.                            Various embodiments
       may    be    capable     of       importing        user     profiles          from    other
       social-networking             systems.             Some     embodiments          may     be
       capable      of     generating         the    pool    of    users      based     on    both
       explicit and implicit criteria derived from other social
20     networking         systems.        Other      technical         advantages       will    be
       readily       apparent       to    one       skilled       in    the    art     from    the
       following figures,            description and claims.
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       BRIEF DESCRIPTION OF THE DRAWINGS
               Reference          is    now made             to    the        following       description
       taken        in    conjunction              with          the        accompanying          drawings,
       wherein like             reference numbers                  represent           like parts,            and
 5     which:
               FIGURE       lA    is        an    overview         of        one    embodiment         of     the
       matching system;
               FIGURE       lB    shows           the    contents             of    the    terminal         from
       FIGURE lA;
10             FIGURE lC shows                   the contents of the matching server
       from FIGURE lA;
               FIGURE lD is a                   diagram of a                database      from FIGURE lC
       showing one embodiment of how a matching server stores a
       pool;
15             FIGURE lE is a diagram of the display from FIGURE lB
       showing       one        embodiment              of       the    presentation              of    search
       results to a user;
               FIGURE lF is a diagram of the display from FIGURE lB
       showing one embodiment of the presentation of details of
20     a match result entity to a user;
               FIGURE       2     is        a    diagram          depicting          how     a     user     may
       recommend an entity to another user,                                      in accordance with a
       particular embodiment;
               FIGURE 3          is a       diagram of the display from FIGURE lB
25     depicting           how    the            user    may           be     made        aware    of       fate
       characteristics                the        user        shares          with     a     match       result
       entity,       in accordance with a particular embodiment;
               FIGURE       4    is     a       diagram          depicting          how    two    platforms
       may     be        searched       for        a     match,             in     accordance          with     a
30     particular embodiment;
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               FIGURE      5     is        a       flow    chart       indicating      how       a       result
       list    may    be       generated,             in    accordance         with        a    particular
       embodiment;
               FIGURE 6 shows one embodiment of the matching system
 5     displaying to a                user the profile information of a                                  second
       user;
               FIGURE      7     is    a       diagram of             the   display   from       FIGURE       6
       showing the effect of a left swipe gesture;
               FIGURE      8     is    a       diagram of             the   display   from       FIGURE       6
10     showing the effect of a right swipe gesture;
               FIGURE       9     shows             the    matching          system    displaying             a
       match    of    a    first           user      and    a     second user,         in       accordance
       with a particular embodiment;
               FIGURE       10        is       a    flowchart           depicting      a       method       for
15     enabling communication between two users                                      of the matching
       system    of        FIGURE              1    based        on    a    mutual    expression             of
       approval,      in accordance with a particular embodiment;
               FIGURE       11        is       a    flowchart           depicting      a       method       for
       enabling communication between two users                                      of the matching
20     system    of       FIGURE           1       based    on    a     user   suggested         matching
       proposal,      in accordance with a particular embodiment; and
               FIGURES           12A-D              depict            embodiments          of        a     user
       interface.
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       DETAILED DESCRIPTION
                  Referring to FIGURE lA,                           one embodiment of a matching
       system is shown.                       FIGURE lA is a simplified block diagram
       of     a     system              100    for        facilitating             an      on-line       dating
 5     scenario in a network environment.                                     In other embodiments,
       system 100             can be           leveraged to               identify and to              evaluate
       suitable                candidates                   in             other           areas             (e.g.
       hiring/employment,                        recruiting,                real        estate,         general
       person          searches,              etc.) .               Users     14      interact          with      a
10     matching server 20 through terminals 10.                                            FIGURE lB is a
       diagram          showing,              in     one        embodiment,             the     contents        of
       terminal 10.                 Terminal 10 comprises interface 16                                 (so that
       user       14    may be            able       to    interact         with        terminal       10)     and
       display          12.             FIGURE       lC    is       a     diagram       showing,        in     one
15     embodiment,             the contents of matching server 20.                                     Matching
       server          20    comprises memory 26                        and at      least       one    CPU 28.
       Memory 26 may store multiple databases,                                        such as databases
       26a    and           26b.         Terminal          10       and    matching           server    20     are
       communicatively                   coupled          via       network        connections          22     and
20     network 24.
                  Users            14     are        clients,              customers,            prospective
       customers,             or entities wishing                         to participate             in an on-
       line         dating              scenario           and/or           to        view       information
       associated with other participants in the system.                                                  Users
25     14 may also seek to access or to initiate a communication
       with       other       users           that    may be            delivered        via    network        2 4.
       Users 14 may review data                            (such as profiles,                   for example)
       associated             with        other       users          in    order      to      make     matching
       decisions or elections.                             Data,        as used herein,              refers to
30     any type of numeric,                        voice,        video,      text,       or script data,
       or     any       other           suitable          information            in      any     appropriate
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       format       that           may        be        communicated                    from        one        point          to
       another.
               In    one          embodiment,                 terminal            10     represents                (and       is
       inclusive          of)       a       personal              computer             that    may        be       used       to
 5     access       network             24.            Alternatively,                   terminal              10       may   be
       representative                   of    a        cellular              telephone,             an        electronic
       notebook,          a       laptop,          a    personal             digital          assistant                 ( PDA),
       or any other suitable device                                       (wireless or otherwise:                           some
       of which can perform web browsing),                                             component,             or element
10     capable      of        accessing                one       or more          elements          within             system
       100.     Interface 16,                     which may be provided in conjunction
       with    the       items           listed             above,          may        further       comprise                any
       suitable         interface                 for        a    human           user        such       as        a    video
       camera,      a     microphone,                   a    keyboard,             a    mouse,       or        any other
15     appropriate                     equipment                      according                to             particular
       configurations                  and arrangements.                          In addition,                 interface
       16   may      be       a     unique             element              designed          specifically                   for
       communications involving system 100.                                             Such an element may
       be     fabricated                or        produced                 specifically              for           matching
20     applications involving a user.
               Display             12,        in            one       embodiment,              is         a        computer
       monitor.           Alternatively,                         display          12    may be       a        projector,
       speaker,           or       other               device              that        allows        user              14     to
       appreciate information that system 100 transmits.
25             Network            24     is    a       communicative                   platform operable                      to
       exchange         data           or     information                    emanating          from           user          14.
       Network 24             could be a               plain old telephone system                                      (POTS).
       Transmission               of     information                      emanating       from       the        user may
       be assisted by management associated with matching server
30     20   or manually                 keyed          into       a       telephone       or other                 suitable
       electronic             equipment.                    In    other       embodiments,                    network         24
       could        be            any         packet                  data         network            offering                 a
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       communications            interface     or        exchange          between       any        two
       nodes in system 100.              Network 24 may alternatively be any
       local        area    network      (LAN),         metropolitan             area     network
       (MAN),       wide     area    network         (WAN),         wireless         local         area
 5     network       (WLAN),      virtual private network                   (VPN),      intranet,
       or   any      other       appropriate       architecture             or       system        that
       facilitates          communications          in    a    network          or    telephonic
       environment,         including     a    combination            of    any networks             or
       systems described above.                In various embodiments,                    network
10     connections 22 may include,                 but are not limited to,                     wired
       and/ or      wireless      mediums     which        may       be    provisioned             with
       routers and firewalls.
               Matching       server     20   is     operable         to    receive       and        to
       communicate          information        to        terminal          10.           In        some
15     embodiments,         matching server 20 may comprise a plurality
       of servers or other equipment,                     each performing different
       or the same functions in order to receive and communicate
       information          to    terminal     10.         Matching             server    20       may
       include        software       and/or        algorithms              to     achieve           the
20     operations          for    processing,            communicating,              delivering,
       gathering,           uploading,        maintaining,                and/or        generally
       managing data,            as described herein.                 Alternatively,               such
       operations and techniques may be achieved by any suitable
       hardware,           component,         device,           application              specific
25     integrated          circuit     (ASIC),          additional          software,          field
       programmable          gate      array        (FPGA),          server,          processor,
       algorithm,            erasable          programmable                 ROM          (EPROM),
       electrically         erasable     programmable               ROM    (EEPROM),          or    any
       other suitable object that is operable to facilitate such
30     operations.
               In    some    embodiments,          user       14,     using       terminal          10,
       registers       with       matching     server         20.          Registration            may
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       include user 14 submitting information to matching server
       20    about        user      14     as       well    as           characteristics               user       14    is
       seeking to be matched with.                               Such information may include
       a    user handle,                which may be                 a    combination of                characters
 5     that       uniquely          identifies             user          14     to matching            server          20.
       In     various              embodiments,              matching              server             20     may        be
       configured             to        collect           this           information;             for       example,
       matching          server          20    may be           configured             to     ask      user       14    to
       respond to a series of questions.                                        Matching server 20 may
10     be     configured            to        receive           the       information             submitted             by
       user       14    and    create           a    profile             for    user     14      based on             that
       information,            storing the profile in memory 26.
                  As an example only,                     consider a case where user 14 is
       interested              in        participating                     in     an        on-line              dating
15     scenario.           User          14     can access                the    Internet         via       terminal
       10,    travel          to    a    web        site managed by matching server 20,
       and        begin    the          registration                 process.               As    part        of       the
       registration process,                        matching server 20 may ask user                                     14
       a     series       of       questions           which             identifies           characteristics
20     about       user       14.         Thus,       matching                server    20       may       ask    about
       the height,             weight,          age,       location,             and ethnicity of user
       14.         It     may       also        ask        about          the     birthplace,               parents,
       eating           habits,           activities,                    and     goals           of        user        14.
       Matching           server          20        may     further              use     the        registration
25     process to discover what user 14 may be looking for in a
       match,          such as          age,    weight,          height,          location,             ethnicity,
       diet,       education,             etc.            Further,             matching          server          20    may
       ask user 14 to indicate how important certain factors are
       when       looking          for    a    match.            For          example,      matching server
30     20 may          allow       the    user        to    indicate             which        characteristics
       in     a     potential             match           are        a     necessity.                  In    another
       example, matching server 20 may ask,                                       "How important is it
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       that your match does not smoke?"                                Matching server 20 may
       also      allow         the         user         to         indicate           that         certain
       characteristics              are    not    important            search       criteria.               For
       example,    when asking user 14 about what height or weight
 5     user 14 is seeking in a match,                          matching server 20 may be
       configured to receive "not important" as a                                      response.             In
       yet another example, matching server 20 may allow user 14
       to rate which factors are important on a numerical scale.
       For     example,        matching           server        20     may      ask      user      14       the
10     following:         "On a           scale of 1               10,    how important                is    it
       that your match has the same education level as you?"                                                 In
       some embodiments, matching server 20 may specify that any
       number      of      questions              or     requested             descriptions                 are
       necessary before              registration              may be          concluded.             As     an
15     example only, matching server 20 may require that user 14
       communicate        the        sex     of    user        14      and      the      sex      user       14
       prefers     to      be        matched           with.           After        concluding              the
       registration        process,           matching             server      20     may       store       the
       responses of user 14 as a profile.                                This same process may
20     be     repeated         by     several           different           users        14,       causing
       matching server 20 to contain a plurality of profiles.
               FIGURE     lD        depicts       an    embodiment             in   which        matching
       server    20     has     a    database          26a which          contains          a    pool       30.
       Each    entry     in database              2 6a has         a   pool     entity          30a    along
25     with     information               concerning            that         entity.              In        one
       embodiment,        each pool entity 30a-e represents                                  a user and
       their profile.                In    some    embodiments,              not      all       registered
       users     are     in     pool        30.         As     discussed            further           below,
       matching         server       20     may        use     a       selection         process            for
30     including        stored       profiles           in     pool      30.        As      depicted         in
       FIGURE     lD,     in    this       embodiment,             the    collection             of    users
       and profiles           forms pool          30 through which matching server
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       20   may       perform             various           functions          such         as    searches             for
       matches.
                Matching              server          20     may        be     configured               to       search
       through         pool          30        and    present          matches          to       user       14.         In
 5     FIGURE         lE,        one           embodiment           of        this          presentation                is
       depicted            as    occurring             through          display          12.           In     various
       embodiments,                  matches           may        be      presented               to        user        14
       utilizing other communication schemes,                                          such as electronic
       messages            (i.e.,         e-mail)      or text messages                      (i.e.,      utilizing
10     SMS) .         In       the    depicted embodiment,                        a    result          list       31    is
       presented to user 14.                           A      match result                  entity 31a in a
       result     list 31 may be associated with a                                           view button 33.
       Using      interface                16,       user     14    may       request            that        matching
       server         20       provide          more        information               about      an     entity          in
15     result list 31 by pressing the associated view button 33.
       Matching server 20 may then communicate                                               to user         14 more
       information               about               that         entity          by         retrieving                the
       information from memory 26.                                 In FIGURE lF,                 one embodiment
       of information that matching server 20 provides for user
20     14   is    shown.              Using display 12,                      user 14 views              an entity
       from result list 31.                          Matching server 20 may also provide
       user 14 with the ability to contact the entity through a
       contact         button             35.         In     one        embodiment,               when        contact
       button 35 is utilized by user 14,                                      matching server 20 may
25     provide        user           14    with       contact           information              of    the       entity
       such      as        a    telephone             number        or       an       e-mail          address;          in
       another        embodiment,                matching          server         20     may provide               user
       14   with       a       way        to    directly          contact         the       entity,          such       as
       sending             a     message              or      providing                 voice           or        video
30     communication                 between           user        14     and         the     entity.              Even
       further,            matching            server        20    may be         configured                to    al low
       user 14         to       express          a   negative preference                      for      the entity
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       through dislike button 36.                               In one embodiment,                  when,      for
       example,          dislike           button          36     is     utilized        by         user       14,
       matching server 20 may remove the entity from result list
       31;    in another embodiment,                       the entity may be removed from
 5     pool 30 of users from which matches are identified.
               As     an       example           only,          consider        that     user         14       has
       submitted           a        search        request          to     matching            server           20.
       Matching       server             2 0 may search through pool                         3 0,    identify
       results,       and communicate result list 31 to user 14 which
10     would contain other users for whom matching server 20 had
       created       a     profile              and    who       were     identified                through      a
       search       and        selection          process.               Next,        user      14     may      be
       interested in                learning more               about     Jane    Doe,        entity 31a;
       thus,    user 14 would click view button 33 associated with
15     Jane Doe.           Matching server 20 would receive this request
       and respond by displaying                           Jane        Doe's    profile         (stored in
       memory       26),        as        depicted         in     FIGURE        lF.          Next,         after
       reading        the           profile,          user       14     may      be     interested              in
       contacting          Jane          Doe;    hence,         user     14 would click contact
20     button 35.              Matching server 20 would respond by allowing
       user    14     enter          a    message          that    matching           server         20    would
       then communicate to Jane Doe.
               Matching server 20 may even further be configured to
       allow    user           14    to    store       a     match       result        entity;            in   one
25     embodiment,             the system may be configured to allow user 14
       to utilize          favorite button 34                     that will           add the desired
       match        result          entity        into          another        list.           In     another
       embodiment,             utilizing favorite button 34 will remove the
       associated match result entity from result list 31.
30             As an example only,                     user 14 may decide that he would
       like to save Jane Doe's profile so that he can review it
       later.            User        14     may       click        favorite           button         34,       and
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       matching          server      20    may     respond             by       placing          Jane     Doe's
       profile      into       a    separate       list.          Further,             matching server
       20 may also             remove      Jane    Doe       from user's               14    result          list
       31.     As    a    result,         user    14 may see                another match                result
 5     entity       populate          result       list       31.               This    is       beneficial
       because      it may focus               user 14        on evaluating new entities
       rather        than           reevaluating              previously-known                      entities
       because the entities still appear in result list 31.
              In     some          embodiments,          matching               server        20     may          be
10     configured         to       generate       pool       30   by        default         according              to
       various       characteristics              and        preferences               of    user       14    and
       other users of the                  system.           Matching server 20 may also
       restrict entities from being included in pool 30 based on
       the status of the profile,                       or if user 14 has rejected or
15     blocked an entity.                  Matching server 20 may also restrict
       entities from the pool that have blocked or rejected user
       14.         For    example,          matching          server             20    may       not      allow
       profiles that are not in good standing to be included in
       pool 30.          In other embodiments, matching server 20 may be
20     configured to               generate pool            30 by       first          choosing          seeds.
       Seeds include,              but are not limited to,                       profiles that user
       14    has    sent       a   message       to     or    profiles            that       user       14    has
       expressed a         preference            for.        Each seed is                   then compared
       to    other       entities         to    determine          which          entities          will          be
25     included in pool 30.                    Any suitable method can be used to
       determine         which       entities         are     included            in    pool       30.            For
       example,          any       characteristics                or        algorithms             described
       herein may          form      the    basis       of    such          a   determination.                    As
       another       example,         a    commonality             score          may       be     generated
30     based on the comparison between each entity and the seed.
       In    some    embodiments,              this      commonality                  score       can        be     a
       measure of how physically similar the users                                           are    to       each
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       other.         This       score may be generated based on the number
       of    users     that       have       expressed           a        positive          preference          for
       both the seed and the entity being compared.                                                   This score
       may     also     be       generated              based    on        whether              the     seed    and
 5     entity have been viewed together in one session;                                                 further,
       the    more      times          the        seed    and        entity           have       been        viewed
       together,       the       larger the              commonality score.                           The law of
       large       numbers         may       allow         for        a     vast           amount       of     such
       commonalities to be established over a few days.                                                  Testing
10     has    revealed that using such commonality scoring methods
       has yielded at least one physical match for 80% of users
       whose profile has been viewed at least once,                                                  and between
       6     and     1000    physical              matches           for        60%        of    users        whose
       profile has been viewed at                             least once.                  Matching server
15     20 may be further configured to allow entities that have
       a commonality score above a certain threshold to become a
       part     of    pool        30.         Matching           server          20        may        further    be
       configured           to     update          pool       30.           In        some       embodiments,
       matching        server           20    may        do      so        by    creating              new     seed
20     entities based on activity by user 14,                                     such as indicating
       a    preference           for    that       entity.            Further,             matching          server
       20    may     then    compare              the    chosen           seed     entity             with    other
       profiles        stored           in    matching            server              20     and       determine
       whether those profiles will be included in pool 30 using
25     a     threshold       score           as    described              above.                At    least     one
       advantage realized by this embodiment is that user 14 is
       presented with updated potential matches which increases
       the     likelihood              of    user        14     finding           a        suitable          match.
       Another advantage present in certain embodiments                                                  is that
30     these updated potential matches have a greater likelihood
       of compatibility with user 14 since they are chosen based
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       on their commonality with entities user 14 has expressed
       a preference for.
               As an example only,                      consider the case in which user
       14 has    registered,                requested a              search,          and received from
 5     matching           server       20     results              list        31.       Then,          user      14
       decides       to        contact       Jane       Doe        and presses           contact          button
       35.      Aside          from     providing             user        14    with     the       ability        to
       contact Jane Doe,                matching server 20 will designate Jane
       Doe's    profile          as     a    seed.            Matching           server          20 will       then
10     compare       Jane        Doe's       profile           to    other          profiles           stored     in
       memory    26        in    order        to    identify              other       users       who     may     be
       similar to Jane Doe and thus be a good match for user 14.
       In     this        example,          matching            server          20     will       generate         a
       commonality              score       for     each            of     these       comparisons              and
15     compare        these       scores           to     a        preset       threshold.                If     the
       commonality              score       is     lower            than        the     threshold,             that
       profile will             not be        added to pool                    30.      However,          if    the
       commonality score is higher than the threshold,                                                  matching
       server        20    will       add        this     profile              to     pool       30.      As      an
20     example,       further assume that the seed,                                  Jane Doe,          is being
       compared to              another       entity,              Susan Smith.                  Based on        the
       fact    that        both       Susan        and        Jane        have       three        users        (Tom,
       Dick,    and Harry)            who have expressed a positive preference
       for     their           profiles,           matching              server        20        generates         a
25     commonality              score        of     100            for     the        comparison.                 In
       contrast,           matching           server           20        generated           a    commonality
       score    of        50    for     the       comparison              between        the       seed        (Jane
       Doe)     and       yet     another          entity,               Lucy       Goosey.            This     was
       because        only       one        user        (Bob)       had        indicated           a    positive
30     preference           toward          both    Lucy           and     Jane.         Continuing              the
       example,           matching           server           20     is        using        a     commonality
       threshold score of 70,                      which results in including Susan's
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       profile       (whose          commonality             score           was       greater      than       the
       threshold score)               in pool           30       and excluding Lucy's                     (whose
       commonality          score          was    less           than        the       threshold      score) .
       Thus,    user       14       gets    the    benefit              of    having more            entities
 5     identified that may be good matches.
               In    some           embodiments,             matching              server      20     may       be
       configured          to        include       behavioral                 scales.              These       may
       include multi-item scales for materialism and gender-role
       traditionalism.                Such scales may provide the advantage of
10     improved       matching             through           deeper          appreciation            for       the
       personality of entities in the system.
               In    some           embodiments,             matching              server      20     may       be
       configured       to          analyze      profile           text        for      categories.             It
       may     search       for        a     number           of        text       strings          and       then
15     associate the profile with any number of categories.                                                     As
       an example only,                matching server 20 may add any profile
       to     the    Cat        category         whose           text        contains         any        of    the
       following strings:


20                     "cat" "cats" "cat." "cats." "cat," "cats,"


       Matching       server          20    may        be    configured                to   make     it       more
       likely       that        a    profile           will        be     in       a    result       list       if
       categories           associated                 with         the        profile             are        also
25     categories       found in the user's profile who submitted the
       search request.
               Matching server 20 may be configured to analyze one
       or more portions of the                         text of an entity's profile and
       generate a       readability score that may be used in various
30     ways,    such as in the process of searching for matches for
       user    14.         In       some    embodiments,                matching            server       20    may
       analyze       factors          such       as,    but        not       limited         to:      average
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       number of words per sentence,                              total number of words with
       greater      than       three        syllables,                and total      number       of words
       in the profile.               Matching server 20 may also concatenate
       all     of    the        collected           responses               with     a     single        space
 5     between       them.             It     may        further            break        the     text     into
       sentences,         words,        and syllables.                      From these          statistics,
       matching server              20 may also                  be    configured to            generate     a
       readability             score        by,     in       one        embodiment,             taking     the
       average       of    the      Flesch          Kincaid             Reading      Ease        test,     the
10     Flesch       Kincaid         Grade         Level          test,       and    the        Gunning     Fox
       score.             Other         embodiments                   may     utilize           any      other
       combination             of   these         or     other           tests       to        determine     a
       readability score.                    In some embodiments,                    analyses may be
       used to determine the IQ of an entity,                                      the grade level of
15     the writing,            or how nervous the entity generally is.                                     An

       advantage          of     this       embodiment                may    be     that        the     system
       provides           user       14       with           a        metric        for        determining
       approximate intelligence of other users.                                          The readability
       score may be            used,        for    example,             in the matching process
20     to identify potential matches.
               As an example only,                     the       Flesch Kincaid Reading Ease
       score may be             generated by             first          computing         the     following
       intermediate score:


25              206.835 -           (1.015 *        [Average Words per Sentence])
                          (84.6 *       [Average Syllables per Word])


       Then,    the Flesch Kincaid Reading Ease score is determined
       by using the following table:
30
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       Intermediate Score Condition                     Flesh Kincaid Reading Ease
                                                                         Score
       < 100                                        4
       < 91                                         5
       < 81                                         6
       < 71                                         7
       < 66                                         8
       < 61                                         9
       < 51                                         10
       < 31                                         13
       < 0                                          14
       Else                                         15


       The Flesch Kincaid Grade Level may be computed according
       to the following:


 5      (0.39 *      [Average Words Per Sentence])                   +    (11.8 *     [Average
                            Syllables Per Word])               -   15.59


       The Gunning Fox score may be computed according to the
       following:
10
         ([Average Words Per Sentence]                  +    (([Number Of Words With
             More Than 3 Syllables]       I    [Number of Words In Entire
                                Text])+ 100))                * 0.4


15     As    indicated,     any suitable       tests may be utilized in any
       suitable manner to determine a readability score.
               In    some   embodiments,        matching             server      20    may   be
       configured      to   allow   a   user    to          interact      with   the    result
       list     of    another   user.          Matching            server        20    may   be
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       configured          to    allow         a    user       to    express            a     preference             for
       entities       within          a     result        list       of    another               user,         and    to
       indicate to          the other user of this preference.                                             Thus,       a
       user may be          able          to    get      advice          from       a    friend          regarding
 5     what other users may constitute good matches for the user
       and thus be able to find a better match.
              As     an    example          only,         consider         FIGURES               lA and FIGURE
       2.     Two     users           14,      Harry       and        Sally,            are       connected           to
       matching server 20 via terminals 10.                                     Display 12a is used
10     by Harry while             display            12b       is    used by Sally.                       Matching
       server 20 allows Sally to view Harry's result list 31 on
       her    terminal           in       display          12b.           By    pressing                 recommend
       button      37,     Sally          may      indicate          a    preference                for        one    or
       more   of     the        entities           in     result         list       31.           Assume        Sally
15     presses       recommend              button        37        associated               with        Jane       Loe.
       After doing so,                matching server 20 will                                notify Harry of
       Sally's       preference.                   On     Harry's         display                12a,     matching
       server        20     will            cause         notification                      39     to      appear,
       associating          it        with         Jane     Loe.           Notification                   39        will
20     indicate to Harry that Sally has recommended Jane Loe as
       a    potential       match.                 Harry       may       find       Sally's             preference
       helpful       in    determining               which          entities            he       should        pursue
       further       if,    for        example,           he    believes                Sally       understands
       the type of person he is looking for.
25            In     one         embodiment,               matching             server              20     may        be
       configured          to    analyze           the     profiles            of       both       user        14    and
       the entities in pool 30 for keywords.                                        Matching server 20
       may be      configured to                   search through               the profile of user
       14 for      keywords that relate to things such as activities
30     and interests.                 Matching server 20 may generate                                      a    score
       for each entity in pool 30 based on a comparison between
       the    list    of        keywords           found       in     user's            14       profile        and    a
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       similarly-generated                        list          of       keywords          of     each          entity       in
       pool       30.         In     one         embodiment,                   this     is       accomplished                by
       storing          a    list       of       words          in     memory         26,       and     using          it    to
       identify             keywords             in       the        searched          profiles.                  In    some
 5     embodiments,                identified              keywords             may be          used        as    a    means
       of    weighting              various               scores.               As    an        example           only,       a
       profile that contains the word "God" may be weighted much
       differently                than       a    profile                which       has        merely           indicated
       that their religious preference is Christian.                                                        In various
10     embodiments,                this may provide an advantage to user                                               14    in
       that    user          14    is    able         to       determine             how    similar he/she                   is
       with       a         potential            match.                  In      addition,              the        keyword
       analysis             may    be    used             by     the      system        when       searching                and
       identifying matches for a user.
15            As        an    example            only,          consider             two     registered               users,
       Harry      and        Sally,          both          of    whom          have     profiles                stored       in
       matching             server       20.              Matching             server        20    then           analyzes
       each       of        these       profiles               by     comparing             it     to       a     list       of
       predefined keywords.                           Matching             server 20              then      associates
20     each    word          that       matched                the       list    of     keywords                with    each
       profile.             Now assume that Harry performs a                                       search.             While
       fulfilling             Harry's            query,             matching           server          20        evaluates
       Sally's profile                  for       inclusion               in Harry's              result         list       31.
       This    evaluation                includes               comparing             the       list     of       keywords
25     found in Harry's profile to the keywords                                                 found in Sally's
       profile.              The more            keywords            that Harry and Sally have                               in
       common,          the more          likely               i t will         be    that matching                   server
       20    will       include          Sally's               profile          in     Harry's          result          list
       31.
30             In       some        embodiments,                     matching              server        20       may        be
       configured             to    impute            a    level          of    physical           attractiveness
       to    an       entity        in       pool          30.           Matching           server          20     may       be
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       configured to monitor how frequent                                      an entity in pool                    30
       has been viewed as well as how many times that entity has
       been part of a                 result        list in order to                      impute the             level
       of    physical            attractiveness.                     Matching                 server        20     may
 5     further be           configured to              generate            a    score based on this
       data.        Further,            in    some    embodiments,                      matching       server 2 0
       may impute physical attractiveness to an entity based on
       the     imputed            physical           attractiveness                      scores        of        other
       entities.            Matching server                 20 may compute                      an average of
10     the   imputed physical                   attractiveness                  scores           of   the        other
       entities        weighted by              the    commonality score                         between          each
       of the other entities and the present entity.                                                   Empirical
       data indicates that people are more likely to match with
       people         of        similar         attractiveness.                               Thus,     in        many
15     embodiments,              a user may obtain an advantage in that they
       are     able        to    be     presented          with       potential                 matches          that,
       according           to    one     measurement,                are       as        attractive          as    the
       user.
               As     an        example        only,        consider                a     registered             user,
20     Sally, whose profile was created by matching server 20 in
       January.                 Since        that     time,          matching                 server        20     has
       recorded the number of times Sally's profile has appeared
       in    any      user's          result         list       31;        assume              that    this        has
       occurred 10 times.                     Further,          matching server 20 has also
25     recorded        the       number        of    times       a    user              has    viewed       Sally's
       profile        by         clicking           view     button             33        associated              with
       Sally's profile;                 assume        that      this       has           happened 5          times.
       In    this      manner,           matching          server          20           has     constructed          a
       ratio that represents the imputed physical attractiveness
30     of Sally's profile.                     Still further,                  assume that Harry,                    a
       registered user,                 now submits a query.                            Matching server 20
       has   evaluated            the        imputed       physical             attractiveness                   ratio
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       of Harry's profile.                      When evaluating Sally's profile for
       inclusion         in result          list       31    returned to        Harry,       matching
       server           20         will         compare         the          imputed         physical
       attractiveness               of    Sally's       profile        and    Harry's        profile.
 5     The    more      similar           the     ratios       associated       with     Harry       and
       Sally's profiles are to each other,                             the more likely it is
       that Sally's profile will be selected by matching server
       20 to be in Harry's result list 31.                                  In another example,
       assume that Sally's profile has not been registered long
10     enough        to           generate        a     meaningful           imputed         physical
       attractiveness               ratio.             Matching        server     20     may        then
       generate         an    imputed physical                attractiveness           score      based
       on entities that Sally does have commonality scores with.
       This computed average may be weighted by the strength of
15     the commonality score between Sally and each entity with
       whom     she       has        a     commonality          score.          Continuing           the
       example,         assume          that Sally has          a    commonality score of              5
       with   Lucy        and       10    with     Julia.           When    matching     server       20
       computes the Sally's average,                          it will give twice as much
20     weight      to     Julia's          imputed physical                attractiveness         score
       than to Lucy's.
              In      some         embodiments,             matching        server     20     may     be
       configured            to     make     an       entity    in     result     list       31   more
       appealing to user 14 by pointing out coincidences in the
25     profile data that                  give user 14 a             sense of fate with the
       entity.          In        one    embodiment,         matching        server     20     may    be
       configured            to    search       for    similar        initials,      birthplaces,
       birth dates,               birth month,          birth       year,     university,         first
       names,      last       names,        user       handles,       parental       occupations,
30     and keywords to identify users who may give another user
       a   sense of          fate.         In other embodiments,                matching server
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       20 may use          the     fate       characteristics                as    a    metric       in        the
       matching process.
               As     an        example        only,          assume         that           Harry     is         a
       registered          user        who     has     performed             a     search.                After
 5     matching       server       20    returns          a   result         list,       Harry chooses
       to    learn more           about       one    of       the    entities           in    the     result
       list and clicks view button 33.                              Consider FIGURE 3, which
       is only an example of information that matching server 20
       may    return       to    Harry after           clicking view button                         33.         In
10     Harry's       display       12,       matching         server         2 0 presents           certain
       details       about        the        profile.               In   particular,              matching
       server 20 presents to Harry a                           fate notification 32 which
       points       out    specific          similarities            between           the    profile           of
       the      entity           and         Harry's          profile.                  Reading            fate
15     notification 32 gives Harry a                           sense of familiarity which
       enhances his appreciation for the profile.
               In another example,                  fate characteristics may be used
       to    decide       whether        a    profile         in    pool      30       is    included           in
       user's       14     result        list       31.         Assume            that       Harry        is     a
20     registered          user    who        has    submitted           a    matching            query         to
       matching server 20.                    While determining which entities to
       include       in     Harry's           result          list,       matching            server            20
       considers two profiles:                      Sally and Roxy.                    Sally and Harry
       both have the same birth date,                          initials,           and have parents
25     that work in the same profession.                                 In contrast,             Roxy and
       Harry only share                the    same birth place.                        Matching server
       20 may be configured to award more points                                         to Sally than
       to Roxy based on these comparisons, making it more likely
       that    Sally's profile will                    be     included in Harry's                     result
30     list.
               In    some        embodiments,             matching           server          20     may         be
       configured to evaluate the                      likelihood of contact between
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       user 14 and an entity in pool 30.                                  Matching server 20 may
       be configured to compare demographic data between user 14
       and    pool        entity      30a.            In    another         embodiment,                matching
       server       20     may    be        configured           to       weigh        the       demographic
 5     similarities and differences based on the sex of user 14.
       The demographic data may include,                                  but is not             limited to,
       age,    education,         ethnicity,               income,        and location.
               As an example only,                     assume that Harry and Sally are
       registered users who have profiles in matching server 20.
10     Harry has          submitted a             search         request         to matching              server
       20.      While       fulfilling            this       request,            matching             server    20
       evaluates          Sally's          profile         since      her       profile           is    in    pool
       30.     As part of the evaluation,                             matching server 20 looks
       at the differences between Harry and Sally's                                              stated age,
15     income,       education,             ethnicity,             and          location.               In    this
       example,          Harry        is     10       years       older          than       Sally,           makes
       $10,000       more       per    year,          and    has      a    Master's          degree          while
       Sally        has     a     bachelor's                degree.                  Even        with        these
       disparities,         matching server 20 will give Sally's profile
20     a     high    score       which       makes          it    more          likely       that        Sally's
       profile will             appear in Harry's                  result        list.           However,       if
       it     was    Sally        who       submitted            the       search,           and       matching
       server       20     was    evaluating                Harry's        profile,           a        different
       score is possible.                   So,       if it were Sally who was 10 years
25     older,       made     $10, 000        more          per   year,          and    had        a    Master's
       degree       while        Harry       had       a     Bachelor's              degree,           matching
       server       20     would       give       a    low       score          to    Harry's          profile,
       making       it    less     likely         that       his      profile         would           appear    in
       Sally's           result       list.                Matching             server        20        may     be
30     configured this way because empirical data has shown that
       these    demographic                differences           do       not    have       an    equivalent
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       effect       on        the        choices          men       and     women         make         regarding
       matches.
               In    another             embodiment,                matching         server        20    may     be
       configured to                compare         the    locations of user                      14    and pool
 5     entity       30a       in    increments             of       ten miles.              In    yet    another
       embodiment, matching server 20 may be configured to score
       the location comparison in light of other factors;                                                  as an
       example, matching system 20 may be configured to return a
       score       consistent             with       a    10    mile       difference             in    location
10     even though there is a 50 mile difference between user 14
       and pool       entity 30a if user 14                            and pool entity 30a have
       the     same        income,            education,             and        age.         An        advantage
       realized           in       several            embodiments               is     that        it     better
       approximates                how    a     user       evaluates            entities.               Entities
15     that live further away are generally less appealing to a
       user;       but,       users       may       still       be     interested           if     the    entity
       matches their preferences in other categories.
               As     an       example             only,       consider          a     registered          user,
       Harry,       who       submits          a    search          request.           While       fulfilling
20     this request,               matching server 20 examines Sally's profile
       in pool       30,       and determines                   that      the    stated locations of
       Harry's        and           Sally's           profiles            are        13      miles        apart.
       Matching server 20 will                           give Sally's profile                      a    score    as
       if     the     distance                between           them       were        only        10     miles.
25     However,          in        yet    another          example,             Sally's          profile        may
       indicate that               she     lives         50 miles away from Harry.                          Yet,
       matching server 20                     also notes             that both Harry and Sally
       make    $100, 000 per                  year,      have Master's               degrees,           and that
       Harry       and        Sally       are       one    year        apart         in     age        (Harry    is
30     older) .           Given          these        similarities,              matching              server    20
       will    give       a    score          to    Sally's profile                  that    is    consistent
       with    a    20     mile          difference            in    location          even       though    they
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       are    actually              50 miles          apart.      In    this       manner,          matching
       server        20    takes        into       account       empirical             data    that       shows
       that people searching for matches who indicate that they
       want     to    see           matches       who     live    close       to       them     are       still
 5     willing to pursue                    a    potential match that                   lives       far    away
       if the potential match                          fits    very closely with the other
       search criteria.
               In     another           embodiment,             matching       server          20    may     be
       configured to evaluate the age difference between user 14
10     and    pool        entity        30a      using        ranges    as    well        as    a    sliding
       scale.        By way of example only, matching server 20 may be
       configured              to    assign       a    high     value    to       an    age     difference
       between 0 and -5, while assigning a lower value to an age
       difference between +2 and 0.                              An even lower value may be
15     assigned           to    an    age       difference        between         -6    and -8.            Even
       lower values                 would be          assigned incrementally as                      the    age
       difference              increases          outside        of     the       ranges        discussed.
       The higher the assigned value is,                               the more likely it will
       be that pool                 entity 30a will be                included in result                   list
20     31.     Yet another embodiment may apply this combination of
       ranges       and a           sliding scale but use different values                                  and
       ranges depending on the sex of user 14.
               As an example only,                       consider a       situation in which a
       registered               user,           Harry,        requests        a        search         to     be
25     performed.                   While        fulfilling           this     request,             matching
       server        20    evaluates             Sally's        profile,      which           was   in     pool
       30.       As        part       of        the     evaluation,          matching           server       20
       compares the ages of Harry and Sally,                                  and determines that
       Harry is           two       years       older     than Sally;         this        determination
30     leads    to matching server                       20     assigning,         in this          example,
       50    points        to       Sally's           profile.        Matching           server       20    may
       also be configured to assign 50 points to Sally's profile
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       had she been                   five       years    younger        than Harry;               but,      if     she
       had    been          up        to     two     years        older       than       Harry,             matching
       server 20 may have been configured to assign 40 points to
       her        profile.                   Matching        server            20       may        be        further
 5     configured to                  assign 30 points              to Sally's profile if she
       was    6    to       8    years       younger than Harry.                        However,            if Sally
       were       more           than        8    years     younger           than       Harry,             matching
       server          20        may       be     configured        to        further          decrease             the
       number of points                      assigned to her profile:                             if she was          9
10     years       younger,                then      25    points;          if      she       was       10        years
       younger,             20       points;        if     she     was        11    years          younger,          15
       points;          etc.               The      more     points            assigned            to        Sally's
       profile,             the       more        likely     it    is       that        her       profile          will
       appear in Harry's                         result    list.        Thus,       matching server 20
15     may     be       configured                 to     assign        a      score          based          on     age
       difference               using        a    combination        of       ranges          and       a    sliding
       scale.
                  In    another            example,        matching           server          20     may      assign
       scores differently if i t was Sally who was                                             searching and
20     if    i t was            Harry's profile             that was being evaluated.                                In
       this       example,             matching           server    20        may       be    configured             to
       assign Harry's profile 50 points if he were between 1 and
       5    years       older          than her.            If he were              6   to    8    years          older
       than her,            matching server 20 may assign 45 points.                                              If he
25     were greater than 8 years older than her,                                             matching server
       20 may assign points                         in the       following          fashion:            if he was
       9 years older,                  40 points would be assigned;                               if he was          10
       years older,                  35 points would be assigned;                             etc.          However,
       if    he    was          up    to     two    years     younger          than       Sally,            matching
30     server          20       may    assign        50    points        to    his       profile.             If     he
       were more than two years                            younger,         matching server 20 may
       assign less               points           on a    sliding scale:                  45 points               if he
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       were    3        years          younger,       40        points        if       he     were       4    years
       younger,          etc.            The        more       points         assigned          to       Harry's
       profile,         the more like it is that his profile will appear
       in    Sally's          result          list.            This       example        illustrates               how
 5     matching server 20 may be                            configured to                take    the         sex of
       user        14        into        account           when           scoring           based        on        age
       differences.
               In       various         embodiments,                matching           server       20       may    be
       configured to evaluate the attractiveness of an entity in
10     pool 30 through collected feedback                                    from other users.                      In
       one embodiment,                  matching server 20 may present an entity
       to user 14,             prompting user 14 to                        rate the attractiveness
       of the       entity on a               scale        from       1       9.        This    range          gives
       the    advantage             of having         a     midpoint.                 Matching       server         20
15     may    further          be      configured           to      collect           such    responses            and
       store       them;          in    one    embodiment,                matching           server          20    may
       store    the          data      in memory           26,       using        a    structure         such       as
       database              26b.       Matching            server           20        may      further             be
       configured            to     compute         the     average          of       such    responses            for
20     the    entity,          and      store        this       number       as       well.      In      various
       embodiments,            these values may be used in order to help in
       the    matching              process.              Empirical           data           indicates            that
       people       are       more       likely       to       match       with        people    of          similar
       attractiveness.                       Thus,        in        various           embodiments,            users
25     whose        attractiveness               rating             are    similar            will       be       more
       likely to appear in each other's result list.                                             Further,            a
       user may          indicate            that    they only want profiles                          in       their
       result list whose average attractiveness rating is higher
       than an indicated threshold.
30             As       an    example         only,        assume         registered user,                   Harry,
       uses     terminal               10'     which           in     this        example       is       Harry's
       personal          computer,             and        establishes                 communication               with
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       matching server 20.                    In this example,                       this      communication
       occurs by Harry using a Web browser to access a Web page
       controlled             by     matching            server           20.             Sometime          after
       visiting         the       Web    page,      matching              server          20    may       present
 5     Harry with an option to rate the physical attractiveness
       of other users registered with matching server 20.                                                   Using
       display 12         and       interface           16,     Harry may view profiles                         of
       registered users                 and   rank        them       on    a     scale         of    1      9   by
       entering the values using interface 16;                                           in this         example,
10     interface 16 comprises a mouse and/or a                                           keyboard.          After
       submitting this rating,                     matching server 20 will associate
       it   with    the           profile     and       store        it.        Matching             server     20

       will   also       allow          other      users        to     rate          profiles,            thereby
       collecting             a     plurality             of         rankings             for        profiles.
15     Matching server 20 may use this data when trying to                                                   find
       matches for users.                   One example of this is that matching
       server      20    may        allow     user       14     to    specify             that       he/ she    is
       searching for profiles which have an average rating of                                                    6
       or above.        In turn,         matching server 20 may populate user's
20     14   result       list        from     the       pool     only           with      profiles          whose
       average rating is at                   6   or above.               Another example of how
       matching server               20 may use               this    data       involves making i t
       more likely that an entity will appear in a user's result
       list   if    the       entity and that user have                              a    similar average
25     attractiveness               rating.             So,     if    a     user          has       an    average
       rating of         6,       then an entity with an average                                rating of        5
       may be      more       likely        to     appear       in     the       user's         result       list
       than an entity with an average rating of 2.
              In        another          example,              assume           that           Harry       is    a
30     registered         user          and       has     requested              a       search.            While
       fulfilling         this          request,         matching              server          20    evaluates
       Sally's      profile.             As       part    of     this          evaluation,               matching
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       server 20 notices                     that Sally's profile contains                                     feedback
       from    other          users          ranking       the        attractiveness                      of    Sally's
       profile.              Matching server                  20,     in this              example,            averages
       that data;            Sally's profile average is 6.                                     Matching server
 5     20     may     then          examine             Harry's           profile              to     determine          a
       similar average.                      If Harry's profile has an average close
       to 6,    it will be more likely that matching server 20 will
       include        Sally's            profile           in        Harry's          result              list.         If
       Harry's profile average is lower than 6,                                                it will be less
10     likely that             Sally's profile will be                            included in Harry's
       result list.                 If Harry's profile average is greater than
       6,    it will be even less likely that Sally's profile will
       be    included          in       Harry's          result           list.            The       more       Harry' s
       profile       average            deviates          from that              of Sally's,                   the    less
15     likely       it       will       be    that       matching              server          20    will       present
       Sally's profile in Harry's result list.
               In     some          embodiments,                matching              server           20       may     be
       configured             to    analyze             profile           information                and       received
       activity          information               to    construct              "pairs"             which       link    at
20     least        two        profiles.                   These           pairings                 may        also     be
       associated            with       a    value        that        ascertains                the       quality       of
       the pairing.                 For example,                a    pairing which results                            from
       one     user       viewing            the        profile           of     another             user        may    be
       assigned          a     value          that       is         less       than        a        pairing          which
25     results from a first user viewing the profile of a second
       user    when          the        second          user        has        also        viewed          the       first
       user's       profile.                  Matching               server           20       may        use        these
       pairings in order to generate search results for entities
       within       and outside               of     the      pairing.                Each member                of    the
30     pair may be used as                     a        seed entity for                    generating search
       results        for      users          in     matching              server          2 0.           In    various
       embodiments,                an    advantage             may        be    realized              as       matching
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       server 20 analyzes many of these pairs to develop dynamic
       results       to        users        of     the     system,          the       results           being
       potentially more relevant as matching server 20 leverages
       the    interaction             between       users       and     profiles              to     generate
 5     search results.
               Pairs may be formed from a variety of user activity
       received          by     matching           server       20.         This          activity          may
       include:           profile          views,     mutual          profile         views,          one-way
       double            blind            communication,               mutual                 double-blind
10     communication,            declining double blind communication,                                      one
       way wink,         mutual wink,             expressing disinterest in response
       to     receiving          a        wink,     one       way      favorite,               and     mutual
       favorite.              Other       suitable       activity may also                    be     received
       by     matching          server        20     and      utilized           as       a     basis       for
15     generating pairs.
               For example,               Harry may be a            registered user who has
       expressed          a     positive          preference          for      Sally.                Matching
       server       20    may        be    configured         to      generate            a    pair     which
       includes Harry and Sally.                         Matching server 20 may utilize
20     this    pair when providing search results                                    to       other users.
       Betty     may          have        requested       matches,          and       Betty           may    be
       similar to             Sally.        Matching server 20 may present Harry
       in Betty's result list as a result of the pairing between
       Harry and Sally.                   Further,       Jim may have executed a search
25     and    Jim may be              similar       to     Harry.         As     a    result          of    the
       pairing between Sally and Harry,                               matching            server      20 may
       present Sally in Jim's list of search results.
               In    some        embodiments,              matching         server             20     may    be
       configured to encourage user 14 to interact with entities
30     in pool 30.              For example,          matching server 20 may present
       a    list of limited entities                      from pool         30 to user 14,                  but
       not    present          other        entities       to      user     14       unless          user    14
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       interacts with the already presented entities.                                                 Possible
       interaction with these                    entities may include viewing more
       information            regarding          the    entity,          expressing              a    positive
       or    negative          preference         for        the       entity,        and    choosing             to
 5     contact the            entity.           Other suitable               forms     of interaction
       may       also    be    utilized.           For       example,          matching              server       20
       may       prompt       the   user     with       a     question         about         the          list   of
       entities,          such      as    asking       whether          or     not     the       user       likes
       the entity.             Responses to such prompts may include "yes,"
10     "maybe,"          "no,"       "remove,"               and       "remove         other."                   The
       presented             entities      may     be        chosen          using      a     variety            of
       methods.              For    example,           the    presented              entities             may    be
       chosen based            on    various       scoring             algorithms           as       described
       above.           In    addition,          presented             entities        may           be    chosen
15     using predictive analysis,                       such as logistical regression.
       Other       techniques            may be    used to             determine        the          presented
       entities.             For example,         entities that have been presented
       previously may be excluded.                           As another example,                      entities
       that have been blocked by user                              14 may also be                    excluded.
20     In various embodiments,                    a combination of these techniques
       as    well       as    others      may be        used       to    determine           the          limited
       number of entities presented to user 14.
                 For    example,         Harry may be              a    registered user of                       the
       matching system.                  Matching server 20 may be configured to
25     present to Harry a                  list of five entities that Harry must
       interact          with.           Once    Harry        has        interacted           with          these
       entities,             matching       server           20        may     present           five        more
       entities         for    Harry       to    interact with.                  Previously,                Harry
       has blocked Sally,                 another registered user of the system.
30     As    a    result,       matching         server        20       may    exclude           Sally       from
       being       presented         to    Harry       in     the       list     of    five          entities.
       Further,         Harry has already interacted with Betty,                                          another
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       registered user of the                      system:              Harry sent a message to
       Betty utilizing matching server 20.                                          As    a    result,        Betty
       will    be        excluded       from       being           presented             to    Harry     in     the
       list     of       five       entities.                Matching          server           20     may     then
 5     choose two of the five                      entities using scoring algorithms
       described          above.            For    example,             matching              server     20    may
       choose Alice and Amy to be presented in the list of five
       entities because Alice and Amy have received high scores
       when     their         profiles        were           compared          to        Harry's       profile.
10     Matching           server        20        may        choose           the        remaining            three
       entities          using       predictive              analysis.              According           to     this
       example, matching server 20 may use logistical regression
       to identify Carla,               Christi,                 and Camela as the other three
       entities          to    present        to       Harry.            Thus,           in    this     example,
15     Harry        is    presented           with           a    list        of     five        entities        by
       matching server 20.                    Matching server 20 may not present
       another       set of          five     entities until                   Harry has             interacted
       with these five entities.                             Harry may interact with these
       entities          in    a    variety of ways.                     For        example,          Harry may
20     send a        message         to Alice           and send a                 "wink"       to     Amy.      In
       addition,          Harry may choose to view more information about
       Carla's           profile,        but           express           a     negative              preference
       towards       Christi          and     Came la.              After          matching           server     20
       receives          these       types        of    interaction                 with       the    presented
25     five     entities,             another           set        of        five        entities        may     be
       presented to Harry.
               In    this          example,       matching           server          20 may further be
       configured             to    process        the       user       interaction              provided        by
       Harry.            For       example,        matching              server           20     may     utilize
30     Alice's           profile       as     a        seed        entity           to        generate        other
       possible entities to present to Harry since Harry sent a
       message       to Alice.              Thus,        a       benefit       is    from presenting a
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       the     five        entities            to        Harry        in     that          the        interaction
       between        Harry       and          these       entities              may        be       utilized      by
       matching           server          20        to     generate              other           entities          for
       matching          to    Harry.           This        serves          as        an    example          of    how
 5     preferences may be identified based on user behavior.
               In     FIGURE         4,    one           embodiment              is    disclosed             wherein
       matching          server      20,       with pool              30,        may be          configured         to
       interact with another platform,                                such as social networking
       platform 50,            containing a set 52 of users.                                         Users 14 are
10     communicatively coupled to matching server 20 and social
       networking platform 50.                            Matching server                       20 may further
       be     configured          to       provide           users           of        social          networking
       platform 50 a            service by which they may search for users
       within set 52 or within pool 30 using the algorithms and
15     processing of matching server 20.                                    Matching server 20 may
       even        further      be     configured               to     allow           users         of     matching
       server 20 to search through pool 30 and set 52.                                                      Matching
       server 20 may be configured to parse the profiles of the
       entities           in     set       52,           collecting               data           and        applying
20     algorithms.
               In     another         embodiment,                matching              server          20    may   be
       configured to             allow users               of     social              networking platform
       50     to     interact         with          matching           server              20    using        social
       networking             platform          50.             This         level          of        integration
25     provides          the    advantage of users                     not having to                      learn and
       sign up for a different platform.
               Social          networking            platform              50,        in    one       embodiment,
       may    be     a     service         which          stores           profiles             of    its     users.
       This service may be                     further configured to provide access
30     to     the        stored      profiles.                   In        one        embodiment,             social
       networking platform 50 may also                                     allow other                services      to
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       interact          with        users       of    social           networking          platform             50
       through social networking platform 50.
               In    one           embodiment,              matching          server           20        may    be
       configured             to     collect          requests           from      users        of        social
 5     networking platform 50 and perform a                                   search through pool
       30     and    set        52.         Matching             server       20      may      further          be
       configured          to      present        the        results       of      this     search             from
       within social networking platform 50.                                    Matching server 20
       may    further           be    configured             to     present         entities             in     the
10     search       result         from pool           30    as    if    they were             entities          of
       set    52;     in       one     embodiment,               matching          server       20       may     be
       configured to               generate profiles of entities                            from pool            30
       into    set       52.       Thus,     users          of    social      networking platform
       50    may    view        all    of    the       entities          in     the    search            result,
15     regardless          of      their     source          (either       from       pool      30       or     set
       52),    within the environment of social networking platform
       50.
               As an example only,                     consider two users:                      Harry,          for
       whom matching server 20 has created a profile,                                           and Sally,
20     who    has    a     profile          stored          in    social      networking             platform
       50.     From within social networking platform 50,                                            matching
       server       20     presents          to       Sally       the    ability          to        perform       a
       search which Sally uses.                         The results of this search are
       presented to Sally within social networking platform 50.
25     In this example,               Harry's profile is displayed to Sally as
       a    search       result        along       with          other    entities          from         set     52
       though Harry's profile was from pool 30.                                       In this example,
       matching       server          20    uses       the       algorithms         discussed herein
       and searches             through          the profiles            stored in pool                   30    and
30     set    52.        In     order       to    display Harry's                  profile          to    Sally,
       matching server 20 creates a profile in set 52 using the
       data stored in Harry's profile in pool 30.                                         Sally is then
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       able     to        interact            with       this      newly         created          profile          from
       within        social          networking platform 50                          in    the     same manner
       as she is other entities in set 52.
               In     another             embodiment,              matching           server           20    may     be
 5     configured             to     allow         its     users          to     interact          with        social
       networking             platform          50       through         matching          server           20.      In
       one     embodiment,                matching         server          20       supplements              pool    30
       with    set        52.         In      yet    another            embodiment,           entities             from
       set 52 appear as entities of pool 30 to the user in their
10     list     of        search          results.              In      one         embodiment,             matching
       server        20    may be          configured              to     generate         profiles            within
       pool     30        from       entities            of     set       52;        the     system          may     be
       configured              to    do       so     through            capabilities               provided          by
       social        networking               platform          50,       such        as     an        application
15     programming interface.
               As an example only,                        consider two users:                     Harry,          whose
       profile is stored in matching server 20,                                            and Sally,             whose
       profile           is     stored          in       social          networking           platform              50.
       Harry     submits             a     search         request          to       matching           server       20.
20     Matching           server         20    may       return         result        list        31    to     Harry,
       which,        in       this       example,         contains             an    entity       representing
       Sally's profile.                    Matching server 20 may accomplish this
       by    creating           profiles            in    pool       30    that        correspond             to    the
       profiles           found in set 52.                    Once these profiles have been
25     imported into pool 30, matching server 20 may then search
       through        pool          30.        While          doing        so,       matching           server       20
       applies            the       algorithms             and          scores        discussed              herein.
       Thus,        in        this        example,         matching                 server       20      has       been
       configured to both search and apply scoring algorithms to
30     entities in pool 30 and set 52.                                    Further,          in one example,
       Harry is not able to distinguish that Sally's profile was
       originally               stored         in        social         networking            platform              50.
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       Rather,        matching            server           20     presents          Sally's           profile       in
       the     same       manner          as     other           profiles          stored        in     pool       30.
       Thus,       in this example,                   Harry may use favorite button 34,
       view button              33,       and    contact              button       35     when        interacting
 5     with     Sally's          profile              in        the    same        manner        as    described
       above.
               One advantage present in various embodiments is that
       a    user    has     a    wider pool                 of     entities          to       search        through.
       Another advantage is that a user does not have to sign up
10     with     several          platforms                 to    search       through           the     users       on
       those platforms.
               FIGURE 5 is a                   flowchart              illustrating one embodiment
       of    how    result            list       31    may        be    generated.               At     step       62,
       matching server 20 generates pool 30,                                        as described above.
15     At    step     64,    matching server 20                         applies           a    filter       to pool
       30,     removing          certain          entities;              in        various        embodiments,
       this    filter           is    based       on        user's       14        own    sex     and       the    sex
       user 14 desires to be matched with.                                         At step 66, matching
       server 20 may be configured to                                   apply algorithms                    to pool
20     30    that     will           generate          a        plurality          of     scores        for       each
       entity in pool                 30.        In one           embodiment,             these        algorithms
       may     include          analyzing             the        text    of        the        profiles       of    the
       entities        in       pool        30        to        generate       a     readability              score,
       determining           how attractive                      an    entity of              pool     30    is,    or
25     measuring how likely it                             is    that user 14 will                    contact an
       entity of pool 30.                      At step 68, matching server 20 may be
       configured to collect all of the scores from step 66;                                                        in
       one    embodiment,              matching             server       20 may use              database          26b
       to    store        all        of     these          scores.            At     step        70,     matching
30     server        20      may          be     configured              to         apply        an      ordering
       algorithm            which          will            determine          the         order        in      which
       entities in result list 31 are presented to user 14.                                                         In
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      one     embodiment,   this     ordering      algorithm       is   based,     in
      part,    on the scoring algorithms applied at step 66.                      The
      ordering      algorithm    assigns     points       to   each     entity    and
      orders    them   based    on   these   values,       constructing     result
5     list    31.    An   embodiment    of      this   ordering       algorithm    is
      summarized in the following table:
      Condition                                 Number of Points for
                                                Ordering
      Readability score 1 point                 +33554432
      higher than user
      Match result entity has                   +16777216
      expressed a preference for
      the user
      Match result entity has been              +8388608
      recommended by a friend of
      the user
      User has viewed the details               +2097152
      of match result entity
      Match result entity has                   +1048576
      commonality with an entity
      user has expressed a
      preference for
      Both have the same ambition               +128
      Both have the same beliefs                +16384
      Same answer for Build                     +64
      Same answer for Car                       +1
      Both have the same diet                   +4
      Both have the same                        +131072
      preference for drinking
      alcohol
      Same answer for Ethnicity                 +1024
      Same answer for Fear                      +256
      Same answer for Hair                      +2
      Same answer for Number of                 +524288
      children
      Same answer for morning                   +32
      Same answer for "must have"               +32768
      Same answer for "night out"               +16
      Same answer for "pets"                    +65536
      Same answer for politics                  +8192
      Same answer for relationship              +0
      status
      Same answer for "romance"                 +512
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       Condition                                               Number of Points for
                                                               Ordering
       Same answer for smoking                                 +262144
       preferences
       Same answer for sports                                  +8
       interests
       Same answer for "system"                                +4096

               As   an        example       only,         consider                 a    registered              user,
       Harry,       who        desires          to        perform              a       search.              Before
       processing the request,                   matching server 20 may ask Harry
 5     what sex he is and what sex does he desire to be matched
       with;    in this           example,       Harry responds                        that he is a male
       seeking      a    female.           After          doing          so,       matching              server    20

       will generate pool 30 as described above.                                              Next, matching
       server 20 will apply a                    filter to remove certain entities
10     from pool 30.              In this example,                  all males will be removed
       from pool         30    since Harry is                  seeking a                female.           Further,
       all females            seeking females will be removed from pool 30
       since Harry is a male.                    In other examples,                           other entities
       that are removed from pool 30 include entities that Harry
15     has     expressed           a      negative          preference                      for     before,        or
       entities         that      have     expressed            a    negative                preference           for
       Harry.       After pool 30 has been filtered,                                        matching server
       20     applies         a    variety           of     scoring                algorithms              to     the
       entities         remaining          in    pool          30.         These             algorithms           may
20     account      for       various       comparisons                  such          as    those       based     on
       readability,            likelihood            to    contact,                fate,          and     keywords
       described above.                  Matching          server         20 will                 then    tabulate
       these scores,              storing them,            in this example,                         in database
       26b.     Matching server                 20 will             then determine what order
25     these    entities            are    presented                to    Harry             by     applying        an
       ordering algorithm.                  Here, matching server 20 assigns one
       ordering score to each entity by examining the results of
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       the scoring algorithms.                         After doing so,            matching server
       will present result list 31 to Harry,                                where the order of
       the    entities        that       appear        in the      result     list       is based on
       the ordering algorithm.                         In this      example,       it is possible
 5     for    result         list     31    to     change.          Consider        another             user,
       Sally,      who       appears        in     Harry's         result     list.               If    Harry
       decides to add her into a separate list by using favorite
       button 34,        Sally will be removed from result list 31                                           (as
       described above) .                However,        Sally will also become a seed
10     entity      from which            entities        may be       added        to    pool          30    (as
       described above) .                  Hence,       matching server 20 will update
       the      pool,         apply         the         filters,          apply         the         scoring
       algorithms,            tabulate           the     results,          apply        the        ordering
       algorithm,            and     update         result         list     31.          As         another
15     example,         an    entity        may     update         their    profile           which          can
       change      result           list     31.         For       example,        assume           Sally's
       profile     had        an    ordering        algorithm score               that       placed her
       within the top 20 entities in result list 31.                                          Sally then
       changes her profile which results                             in keywords             that match
20     Harry's      profile          being        added       to   her     profile.               Matching
       server      20    will       then     update       her      scoring     algorithms.                    In
       this example,           the change in Sally's profile and resulting
       increase          in        keyword         matches          with      Harry's               profile
       significantly               increased           her     score.             This        was           then
25     reflected         in        the     ordering           algorithm       as        it        was       also
       applied      to        the    updated           profile.            Afterwards,              Sally's
       profile is now placed within the top 5 entities in result
       list 31.
              In    some           embodiments,           matching          server           20     may       be
30     configured to               receive       required characteristics                     from user
       14 regarding a match.                      User 14 may be allowed to                         specify
       such        restrictions                  based         upon         any          number               of
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       characteristics,              including           those        described       herein.         For
       example,      matching server 20 may allow user 14 to specify
       that entities that indicate they have children should not
       be    displayed.          In       another        example,        user    14     may    specify
 5     that only entities between the                               ages of 20      and 30         should
       be    present       in    result         list          31.      In    some       embodiments,
       matching       server      20      may       implement          these    restrictions           in
       step    64     of    FIGURE        5.        In        other    embodiments,           however,
       matching server 20 may refuse to apply these restrictions
10     to    certain entities based on the                            characteristics          of     the
       entities.          Any number of characteristics,                        including those
       described herein,              may form the basis upon which matching
       server 20 decides not to apply the restrictions submitted
       by user 14.           As an example only,                      matching server 20 may
15     ignore       the    restrictions             if the entity has               a   high enough
       attractiveness           rating.             In    another       example,        though user
       14 has requested that no profiles which are located more
       than 50 miles            away should be present                      in result         list    31,
       matching       server         20    may       include          such     profiles        because
20     those    profiles         have       over         5     matching       keywords,        a     high
       attractiveness           rating,         and have             specified the        same       life
       goals    as    user      14.        Thus,         in    some    embodiments,           matching
       server       20 may refuse              to   apply restrictions                  submitted by
       user    14    based      on    any       combination            of    characteristics           or
25     algorithms.
               An    advantage         present           in     many     embodiments          is     that
       through taking into account various                              factors when scoring
       potential matches and using only very few strict filters,
       a    large amount of result entities may be returned to the
30     user.        A further advantage is that the ordering algorithm
       will    put    the most         relevant              search results         first,      saving
       the user time.
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                FIGURES        6-9       depict       embodiments             of    a    user        interface
       presented to users of the matching system discussed above
       with      respect        to       FIGURES        1    and       4.      According              to     some
       embodiments,            users       14     interact            with     matching             server     20
 5     through         interface           16     presented             by     terminal              10.       In
       addition         to    the        embodiments             of     interface          16        described
       above     in     rel a ti on       to     FIGURE          lA,    interface              16    may     also
       comprise a        touch screen interface operable to detect and
       receive touch input such as a tap or a swiping gesture.
10              In    some     embodiments,             matching             server       20    may        import
       profiles         from       other        social           networking             systems.             This
       level of integration provides the advantage of users only
       having to update their profile                              information in one place.
       For      example,        when       user        14    updates          his        profile           within
15     social networking platform 50,                             matching server 20 is also
       able to access the updated profile information.
                In some embodiments,                    matching server 20 may further
       be configured,              as part of the user registration process,
       to     link      to     a     user's           existing          profile          within            social
20     networking            platform           50.          Matching          server           20     may     be
       configured to parse the profiles of the users                                            in set 52,
       e.g. '        collecting           data        and        applying          algorithms.                For
       example,        matching server 20 may use explicit signals from
       social        networking           platform           50       such    as        common        friends,
25     common         interests,            common           network,              location,           gender,
       sexuality,        or        age    to    evaluate           potential            matches        between
       users      14.         Matching           server          20     may    also        use        implicit
       signals such as for whom a user 14 expresses approval and
       disapproval.                Implicit           signals         may     also       include           facial
30     recognition           algorithms           to    detect          ethnicity,             hair        color,
       eye    color,         etc.,       of profiles             that       user    14    has        expressed
       interest in.
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              In     particular              embodiments,             matching            server       20       may
       have users 14 to link their user profiles to an existing
       profile       within        social       networking platform                       50.         Matching
       server 20 may be configured to generate and add profiles
 5     to    user     profile          pool     30       from       entities         of     set       52;       the
       system may          be     configured             to    do     so    through         capabilities
       provided       by     social          networking             platform         50,        such       as    an
       application           programming             interface.                  One       advantage             of
       linking        is        that         matching           server          20        can        use        the
10     authentication              features          provided              by    social          networking
       platform       50 .        For        example,         creating          a    user       profile          on
       matching       server           20    containing          false          information            becomes
       harder        when       the         information             must        come       from        another
       verifiable           and        peer    monitored              source         such        as        social
15     networking platform 50.
              In some embodiments,                       matching server 20 may allow a
       user 14 to propose a match between two of his connections
       within social networking platform 50.                                     For example,              Harry
       may    be     friends           with    both       Bob       and     Sally         within           social
20     networking platform 50.                       Harry believes Bob and Sally are
       a    good match          and     therefore             instructs         matching         server          20
       to    create    a     match between the                  two users             in user profile
       pool    30.      Once matched,                matching          server        20    allows          Harry
       and Sally to communicate with each other.
25            In     some         embodiments,                matching          server          20     may       be
       configured            to        apply         a        relevance             algorithm              which
       determines the content and order in which matching server
       20    displays        potential          matches          to    user         14.     A        relevance
       algorithm       may        be        based    on       both     explicit            and        implicit
30     signals        from         user        14.             Explicit              signals           include
       information           entered          by     user       14     as       part       of        its     user
       profile,       such        as    height,          weight,       age,         location,          income,
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       and        ethnicity.                    Explicit           signals               may        also        include
       information about the characteristics user 14                                                      is    seeking
       in    a    match,         such       as     gender,          hair              color,       eye     color,         or
       occupation.           Explicit signals may also be entered by user
 5     14 as part of a search request.                                       For example, user 14 may
       request       matching              server        20       limit           the    pool       of     potential
       matches to those users within a                                       fixed geographic region.
       Matching        server              20     is     operable                 to     compare          geographic
       positions associated with the plurality of user profiles
10     in     user     profile              pool        30        with           a     geographic              position
       associated           with           user         14.         Explicit                  signals          may        be
       imported        from       a        social       networking                    platform       50,       such       as
       the number of shared entities                                in a               social      graph of user
       14.       Implicit signals may be based on the behavior of user
15     14    either        within           system       100       or        other           social       networking
       platforms           50.         For        example,          if           user        14    has        expressed
       disapproval           of        a        user     profile                 in     the       past,        matching
       server 20 may no                    longer present                    the        disapproved of user
       profile        to     user           14     in     future                 searches.               In     various
20     embodiments,              matching              server       20            may       be     configured             to
       evaluate        the       attractiveness                    of        a       user     in    user        profile
       pool 30 through collected feedback from other users.                                                           For
       example,       matching server 20 may rank a user profile that
       receives more likes as more relevant than a user profile
25     that       receives        fewer           likes.            In           particular          embodiments,
       matching        server          20        may    assign           a       higher           relevance          to    a
       user profile if the other user has previously expressed a
       preference          for        user       14.         As    an        example,             user Harry may
       have       previously           expressed              a    preference                 for     user       Sally.
30     If    Sally     requests             a     set     of      user           profiles          from matching
       server       2 0,    and Harry's                 user       profile              is       included       in    the
       set, matching server 20 may assign Harry's user profile a
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       higher       relevance           based          on    his       expression           of    preference
       for     Sally.            This       can    result           in       Harry's        profile             being
       presented           to       Sally        sooner           than       otherwise           would          have
       occurred.                This    may       be        advantageous              in     that          it     can
 5     increase       the        chances         of     a    match       without           compromising             a
       user's       feelings           of    privacy             when       expressing           preferences
       for     potential            matches.                In    some       embodiments,                 matching
       server         20        may         be         configured             to      use         the            fate
       characteristics as a metric in the relevance algorithm.
10             In     some          embodiments,              terminal          10     is       operable           to
       determine           its        own        geographic              location           by        a     global
       positioning          satellite             navigational                system.            Terminal          10
       may     also      determine               its    own        geographic             location              using
       cellphone-based                 triangulation                techniques,              Wi-Fi             based
15     positioning              system,          Global          Positioning          Satellite                 (GPS)
       system,        or        network          addresses              assigned           by     a        service
       provider.
               FIGURE           6      shows       one           embodiment           of         system           100
       displaying to a                 user the profile information of a                                    second
20     user.        Matching            server         20     may      be     configured           to       search
       through      its         plurality of                profiles         and present              suggested
       matches to user 14.                       In FIGURE 6,                one embodiment of this
       presentation is depicted as occurring through the display
       of terminal 10.                  In this embodiment,                    a plurality of user
25     profiles       is        presented          to       user       14.      Using        terminal             10,
       user    14     may       request          that        matching         server        20    present           a
       subset       of     users         from          user       profile          pool      30       based        on
       specified         search         parameters.                 The       display        may          show     an
       image of a          suggested user and one or more aspects of the
30     suggested            user's           profile               information.                       In         some
       embodiments,             the     combination               of     image       and        one       or    more
       aspects of profile information is displayed as "card"                                                       88
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       representing              the    suggested             user.            A     set       of    suggested
       users may be displayed as stack of cards 88.                                              User 14 may
       view information regarding one                                  suggested user                at    a    time
       or more than one of the suggested users at a                                              time.          User
 5     14     may     be        presented          with           a      summary          of      information
       regarding a          suggested user.                       The summary may include one
       or     more         of:      a    picture,                 an         icon,       name,           location
       information,              gender,       physical                 attributes,              hobbies,           or
       other profile information.
10             In    some        embodiments,            terminal              10    may       also       display
       "information" button                   84    which allows                   user     14      to    request
       matching            server       20         to        retrieve              and      display             more
       information           about      the        presented             user        from      user       profile
       pool    30.         In    addition,          user          14 may express                 approval           or
15     disapproval for a presented user.                                     Expressing approval or
       disapproval can be accomplished through various methods.
       For     example,          terminal          10    may           display       "like"          button         86
       (represented by a                green heart icon)                      and "dislike" button
       82    (represented by a red "X" icon).                                   Pressing like button
20     86 indicates to matching server 20 that user 14 approves
       of and is interested in communication with the presented
       user.        Pressing dislike button 82 indicates that user 14
       disapproves of and does not want to communicate with the
       presented user.                  The    approval                preference          of       user       14   is
25     anonymous           in    that     matching                server        20    does          not    inform
       users    14 whether other users                                have    expressed approval                    or
       disapproval for them.
               As an example,              consider two registered users,                                      Harry
       and Sally,          both of whom have profiles stored in matching
30     server        20.          Harry       is        at        a     restaurant             and       requests
       matching server 20 to present him users within a one-mile
       radius       of     his    location.              Matching             server        20      compares         a
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       geographic             position              associated              with           Sally          with      a
       geographic position associated with Harry.                                                 If Sally is
       currently          within             the        one-mile          radius            of      Harry         and
       matching       server            20        determines             her    profile             information
 5     matches       Harry's            preferences,                 matching             server          20     will
       present       Harry          one       or       more        aspects       of       Sally's         profile
       information.                  If       other           users       also        meet          the        search
       criteria,          matching            server          20    will       present           one      or     more
       aspects       of       those          users'         profile            information             as       well.
10     Harry        may       request             more        information                 about        Sally       by
       pressing information button 84.                                   Harry may also indicate
       his    preference             to       communicate                directly          with        Sally       by
       selecting like button 86.                              In another example,                      Harry may
       expand his             search         to    a    twenty-five             mile       radius         to     meet
15     people in his town, not just his immediate vicinity.
               FIGURES         7    and 8 are diagrams                      of embodiments                  of the
       display from FIGURE 6 showing the effect of a                                                 left swipe
       gesture        (FIGURE           7)        and       the     effect           of    a     right          swipe
       gesture        (FIGURE           8).            In   one      embodiment,               users        14    may
20     navigate       through           the        set      of     presented          users         by      swiping
       through       stack         of     cards         88.         Users       14    may        also       express
       approval of a presented user by performing a                                                 right swipe
       gesture or express disapproval by performing a left swipe
       gesture.           In some embodiments,                      user 14 performs a swiping
25     gesture       by       moving          a        finger       or    other           suitable             object
       across a       screen of terminal 10.                              Other suitable gestures
       or manners             of    interacting with                     terminal          10 may be             used
       (e.g.,       tapping on portions of a screen of terminal 10).
               In    some          embodiments,               matching          server         20    creates        a
30     match     between            two       users         14      after       both        users         14     have
       expressed          a    preference               for      each     other's          profiles             using
       like     button         86    or       the       swiping          gesture          associated             with
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       like button 86.              When matching server 20 creates a match,
       it may also provide the matched users with the ability to
       contact       each       other      through       a       contact           button.             In    some
       embodiments,             when a match is created,                       matching server 20
 5     may immediately              (or soon thereafter)                  present an option to
       users     14         that     have     been           matched               to     engage            in     a
       communication             session     (e.g.,          a    chat,      an SMS               message,        an
       e-mail,       a     telephone call,          a    voice communication session,
       a     video       communication        session) .                This            may       be   done       in
10     response to a first user 14 expressing a preference for a
       second     user       14     that    has    already             expressed              a    preference
       for the first user 14.
               FIGURE 9 shows one embodiment of matching system 100
       displaying a match of a                    first user and a                      second user,              in
15     accordance with a particular embodiment.                                         Matching server
       20 may provide first user 14 and second user 14 with each
       other's contact information such as a telephone number or
       an    e-mail        address.        Matching          server       20       may        also     provide
       both     first       and     second    users          14       with     a        way       to   directly
20     contact the other,                such as sending a message or providing
       voice or video communication between the first and second
       user.         In    some    embodiments,              direct       communication may be
       initiated           by      pressing       "Send           a     Message"                  button         92.
       Alternatively,             a user may choose to continue browsing the
25     set of presented users by pressing "Keep Playing" button
       94.
               For example,          user Harry may indicate a preference to
       communicate           directly       with     user         Sally        by        selecting           like
       button 86.           At this point,              Sally is not aware that Harry
30     expressed a           preference       for       her.           If Sally also                   requests
       matching           server    20     present       her       with        a        set       of   possible
       matches,          Harry may appear           in her set.                     Sally may select
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       like button 86             (or perform an associated swiping gesture)
       when    viewing        Harry's              profile.           Matching        server        20    may
       then notify both Harry and Sally that                                   a     match occurred.
       At    this point,          both Harry and Sally are made aware                                    that
 5     they    each      expressed             approval          of     each       other's         profile.
       Matching         server       20        then       enables         Harry        and     Sally          to
       directly       communicate              with       each        other        (e.g. ,    through          a
       private chat interface).
              In    some          embodiments,              one        advantage        of     a     system
10     disclosing preferences                       of profiles          to    users         when mutual
       approval has occurred is that a user can feel more secure
       in    their privacy knowing                    that        their preferences will be
       disclosed to           those       that       have      expressed a            preference          for
       that user.         As an example,                  a user can avoid embarrassment
15     if their expression of preference                                for    a    profile was not
       reciprocated.               This        may        lead     to     users        more        actively
       expressing        their       preferences.                  Such       increased            activity
       can    be   used       by     the           matching       system       to      generate          more
       potential         matches              or     better            rankings        of      potential
20     matches.         In some embodiments,                      matching server 20 may be
       configured        to       allow       direct        communication              between        users
       when    there     has       been        a    mutual        expression          of     preference.
       This     may      be        advantageous                because         users          can     avoid
       browsing, deleting, or responding to unwanted messages.
25            FIGURE       10      is     a        flowchart          depicting        a     method       for
       enabling communication between two users of the matching
       system      of    FIGURE          1     based        on     a     mutual        expression             of
       approval,        in accordance with a particular embodiment.
              At   step       1002,       in       some     embodiments,             matching        server
30     20    generates        a    set        of     user      profiles        in     response           to    a
       request for matching from a first user 14.                                       At step 1004,
       matching server 20 presents                          the       set of user profiles                    to
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       first        user       14.          Matching            server            20    determines            the
       contents          and     ordering          of    the       set       of     users      profiles        by
       using,       e.g.,      the relevance algorithms described above                                        in
       the discussion of FIGURE 4.                            For example, matching server
 5     20 may only include user profiles whose contents indicate
       location within a specified geographical radius and order
       the     presentation                of    those        user       profiles         based         on    the
       number of mutual friends in common with first user 14.
               At    step       1006,       in     some       embodiments,              matching        server
10     20 receives an indication of the preference of first user
       14    regarding a             presented user profile.                            Matching        server
       20    determines              if    first        user       14    expresses             approval        or
       disapproval          of       the presented user profile                           at     step      1008.
       If     first        user       14        disapproves             of     the      presented            user
15     profile        then       a    match        is     not      made       and,       at      step      1016,
       matching          server       20    will        not    allow communication between
       the two users.                 If        first    user      14    expresses            approval        for
       the    presented             user        profile       at   step        1008,      then matching
       server 20 will check if second user 14 represented by the
20     presented user profile has already expressed a preference
       for    first       user       14     at    step    1010.              If matching          server 20
       detects       a    mutual          expression of approval                        then a        match is
       made    between          first       and     second users                  14.     Then,       at     step
       1012,    matching             server        20     allows         private         communications
25     between           first        and        second        users          14.           If    a     mutual
       expression of approval is not detected at step 1010,                                                  then
       matching server 20 stores the preference of first user 14
       regarding            the           presented           user           profile           for      future
       comparison           and       continues           to       step        1016      where         private
30     communications are not yet allowed.
               FIGURE          11     is    a     flowchart             depicting         a      method       for
       enabling communication between two users of the matching
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       system of FIGURE 1 based on a matching proposal suggested
       by    a    user,        in       accordance               with     a    particular             embodiment.
       At    step        1102,          matching            server        20       receives        interactions
       from first user 14.                            Interactions             from first user 14 may
 5     include          identification                     of     user        profiles          for    two        other
       users       14.         For          example,         Harry       is     connected to                both Bob
       and       Sally       within             social       networking             platform          50.         Harry
       believes          Bob       and          Sally      are     a    good match           for       each       other
       and       generates              a       matching          proposal           requesting             matching
10     server 20 to create a match between Bob and Sally.
                 At    step        1104,          in    some       embodiments,             matching             server
       20     validates              the          suggested            matching            proposal             between
       second and third users 14.                                  For example,             matching server
       20 verifies that Bob's profile indicates that he wants to
15     be    matched          with          a     woman,         and     Sally's          profile       indicates
       that she wants to be matched with a man.                                              Matching server
       20     may           also        verify             that        Sally        has     not        previously
       expressed             disapproval                for       Bob.         If       matching        server          20
       determines             the           suggested             matching           proposal          is        valid,
20     matching              server              20     creates           the           match         and        allows
       communication                 between               the     users           14      suggested             to     be
       matched at             step          1106.          If matching server                    20    determines
       the       suggested           matching              proposal           is     not    valid,          matching
       server          20     does          not       create       a    match        and    does       not        allow
25     communication between                           second and third users                         14     at       step
       1108.             In        some          embodiments,                 step       1104     may           not     be
       performed.                  For          example,           if     a     matching          proposal              is
       suggested,             then matching server 20 may perform step 1106
       with respect to the users suggested to be matched.
30               FIGURES            12A-D              depict            embodiments             of         a         user
       interface.                  In       some       embodiments,                the     interface             allows
       user       14    of     terminal               10    to     enable          communication                between
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       other       users           14    by         suggesting             a     matching           proposal            to
       matching server 20.
                  FIGURE           12A      illustrates                   one         embodiment                of      an
       interface             for    proposing a             match between two users.                                   The
 5     interface is divided into three sections:                                              connection list
       area       1202,          search     area          1204,       and        suggestion           area        1206.
       Connection             list       area       1202    displays              a     set    of    connections
       user       14       has     with     other          users          of,        e.g.,     system           100     of
       FIGURE          1.         Connections              may       be    based         on        prior       matches
10     created by matching                      server          20.         Connections may also be
       imported             from        another           social          networking               platform            50.
       Search area 1204 enables user 14 to search for particular
       connections within system 100.                                      In some embodiments,                        the
       search may be                   limited to           just          the    connections                  displayed
15     in     connection                list        area    1202.                Suggestion               area        1206
       displays             the    connections             that user             14 may use               to    form a
       suggested match.
                  FIGURE           12B         illustrates                     suggestion            area             1206
       displaying a                first selected user                         (i.e.,    "Jonathan Smith")
20     of     a        proposed          match            between              two      users.                User      14
       identifies                the     first        selected             user         through           a     set     of
       interactions with connection list area 1202,                                                  search area
       1204,       and suggestion area 1206.                               For example,              user 14 may
       locate          a     connection              in    connection                 list         area        1202     by
25     typing          a    user       handle        in    search          area       1204.         User        14 may
       then add the connection to suggestion area 1206.                                                         In some
       embodiments,                user         14        may        drag        the        connection                from
       connection list area 1202 to suggestion area 1206.
                  FIGURE           12C         illustrates                     suggestion            area             1206
30     displaying             a    proposed match                 between             two     suggested users
       (i.e.,       "Jonathan Smith" and "Mary Major").                                             For example,
       user       14       may     locate       a    second          connection               in    connect           list
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       area 1202 that user 14 believes is a match for the first
       connection.          User        14    may     add    the        second       connection         to
       suggestion area 1206.                   When both connections are added to
       suggestion       area        1206,      matching          server        20       may    create    a
 5     match     between        the      two       users      and        allow          communication
       between them.
               FIGURE       12D      illustrates            an         example          communication
       interface between users of the matching system.                                          User 14
       is presented with chat box                     1208       for     each of the matches
10     that    exist    for       user       14.     Users       14     may    communicate            with
       each other       through         chat box       1208.            In    some       embodiments,
       users     14   may     communicate            through           SMS    messages,          e-mail,
       telephone        calls,        online        voice         communication                sessions,
       and/or video communication sessions.
15             Modifications,            additions,          or        omissions         may    be    made
       to the methods described herein                           (such as          those described
       above     with    respect         to        FIGURES        5,     10    and       11)     without
       departing from the scope of the disclosure.                                       For example,
       the    steps     may    be     combined,            modified,          or     deleted         where
20     appropriate,            and       additional              steps         may        be      added.
       Additionally,          the    steps may be performed in any suitable
       order    without        departing           from     the        scope       of    the     present
       disclosure.
               Al though      several         embodiments              have    been       illustrated
25     and     described       in       detail,       it     will        be     recognized            that
       substitutions           and       alterations               are        possible           without
       departing        from      the        spirit    and        scope        of       the     appended
       claims.
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                                Matching Process System and Method
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                                           Jill




                                                              100
                                                              i
                                          22           24



                                                 NETWORK




                0
                    0
                        0




                                                                     20

           10

         12:
             ! DISPLAY

        16 ~ INTERFACE      I
          FIG. JB

                                                            FIG. JC
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                                        System     04/22/21 Page 222 of 239
                                               and Method
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                                            2111



                         NAME                PROPERTY 1 PROPERTY 2      0   0   0



                     Jane Doe./ 3   oa
                     Jane Roe../ 30b
               30    Jane Boe../ 30c
                                                                        0   0   0
                     Jane Loe ""--
                                   30
                                      d
                     Jane Snoe""-
                                    30
                                       e
                         0
                         0
                         0



                                          FIG. JD

                                         SEARCH RES ULTS

                                            ~33
                         1. Jane Doe./ 31 a ~

                    31   2. Jane Roe../31b ~ 33

                         3. Jan; Boe""- 316 ~
                                                           33
                                0
                                0



                                                     II   See More


                                           FIG. JE



                                                          Jane Doe
                                                           Contact   ~ 35

                                                           ~36
                         Born: 10/01/75
                         Hometown: Dallas, TX
                         Likes: Chocolate, rollerblading
                         Dislikes; Body odor, arrogance, football


                                         FIG. JF
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                                          SEARCH RESULTS


                           Jane Doe
     12a'-
                     31    Jane Boe

                           Jane Loe             II Sally recommended h~
                                                                                                                  39
                                                                                                                                              FIG. 2
                               HARRY'S SEARCH RESULTS


                           Jane Doe             rR~~~mmend J-r                             37

     12b/'           31    Jane Boe I Recommend              I
                           Jane Loe             (R'ec-~~mend I




          <handle>
                                    <handle> is
                                  waiting for you to
                                 reply to her e-mail.                                              Not Interested

                           ::·.~?.Y.?.~..·~~~.~h?.·::::::::?::::::::::tt\\::::::::::::::::::::t:::::r::::t:::::::::::::::::::::::::::t:t/t:::::
                             Physical Compatibility: High
                             Intellectual Compatibility: High                                                                                     FIG. 3
             Age             Values Compatibility: Moderately High
           Location
      Gender/Age Seeking

                     32 _.,,..- You and <handle> both like music, speak German,
                             and mentioned "Play-doh" in your profiles.
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                    20                                    50
                                                                  14
                    30                                    52



                  0                      24
                                                     0
                         22                          22




                                   FIG. 4



                                                    62
                                 GENERATE POOL

                                                   64
                                  APPLY FILTER


                                 APPLY SCORING
                                                   66
                                  ALGORITHMS

                                                    68
                                TABULATE SCORES


                                 APPLY ORDERING
                                   ALGORITHM
                                                   70
                                  PRESENT LIST
                                   OF RESULTS
                                                   72
                                    WAIT FOR
                                  usrn ACTIVITY    74
                                   FIG. 5
Case 6:21-cv-00147-ADA Document     15-13
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                                         System and 04/22/21
                                                    Method   Page 225 of 239
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                                    5111


                                     10                                  10

        [6]           tinder                            tinder
              Sally
                                    88                                  88




   82
                                                  ®CD@
                               86


                 FIG. 6                               FIG. 7


                                      10                C===:l
                                                                         10

                      tinder                            tinder
                                                  It's a match!
                                    88


                                                  ~Gi
                                                  You and Sally Ideal   92
                                                   Send A Message
                                                          or            94
           ®CD@                                      Keep Playing


                      @)                                 @)
                 FIG. 8                               FIG. 9
Case 6:21-cv-00147-ADA Matching
                       Document Process System and Method
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                                  6111
                                                       1002
                            GENERATE USER POOL

                                                       1004
                            DISPLAY USER POOL

                                                       1006
                        RECEIVE USER PREFERENCE



                                                       NO




                     1012                                   1014
                                             STORE FIRST
       ALLOW COMMUNICATION                USER'S PREFERENCE

                                                            1016
                                               DO NOT ALLOW
                                              COMMUNICATION

                               FIG. 10
Case 6:21-cv-00147-ADAMatching Process15-13
                        Document       System and Method
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                                     7111




                                         1102
                          RECEIVE PAIR OF USER
                              IDENTIFIERS



                     OK


                             1106                              1108
              ALLOW                              DO NOT ALLOW
           COMMUNICATION                        COMMUNICATION

                                    FIG. 11
Case 6:21-cv-00147-ADA Matching
                       Document     15-13
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                                               and Method
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              ( ct Matchmaker )                 ~Sent Matches




  1206



             Tap on a friend

  1204
            ('0, Search                                             )
            \___'_ ----




  1202       Ashok Kumar          John Stiles          Clark Kent




             Richard Miles        John Doe            Steve Rogers

                                 FIG. 12A
Case 6:21-cv-00147-ADA Document    15-13System
                         Matching Process Filedand
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                                    9111




           ( %Matchmaker        )           16 Sent Matches




                                                                     1206


             Jonathan        Tap on a friend
               Smith

          ( 0, Search                                            )   1204




          Ashok Kumar         John Stiles           Clark Kent       1202




          Richard Miles        John Doe            Steve Rogers

                              FIG. 12B
Case 6:21-cv-00147-ADA Matching
                        Document     15-13
                                Process System Filed 04/22/21 Page 230 of 239
                                               and Method
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                                   10111




              ( ct Matchmaker )                 ~Sent Matches




  1206


               Jonathan           Mary Major          Make a Match!
                 Smith
  1204
            ( Q, Search                                             )

  1202



             Ashok Kumar          John Stiles          Clark Kent




             Richard Miles         John Doe           Steve Rogers

                                 FIG. 12C
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                        Matching Process     Filed
                                         System and 04/22/21
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                                        11111




                    (~_ _
                        Re_ce_nt_ _)                       A-Z


                    m
                    ~ Ashok                                      11
                                  "Heyl How's it going? My nam ...
                                                                   Q~   1208




                    ~John                                               1208
                    t::j§[j Matched on 12/4
                                  Jonathan                              1208
                                  Matched on 12/4
                                  by: Ashok Kumar

                                  Ryan
                                       Match Pending ...
                    '---'--'-'----''-( by: Se an Rad




                                           FIG. 12D
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                                                                    Application Number:                               First Named Inventor:
        INFORMATION DISCLOSURE                                                                                        Sean Rad et al.
        STATEMENT BY APPLICANT                                      Attorney Docket No:                               Filing Date:
                                                                    083523.0121


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                                                        NON-PATENT LITERATURE (NPL)
Examiner
 Initials*                 DOCUMENT (Including Author (if any), Title, and Source)                                                                 DATE
             PCT Notification of Transmittal of the International Search Report and the Written Opinion                                      February 10, 2009
             of the International Searching Authority, or the Declaration with attached PCT International
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Active 37710608.1                                                                  DA TE CONSIDERED
EXAMINER

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103.

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                  Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 233 of 239
                                                                   Application Number:                                First Named Inventor:
       INFORMATION DISCLOSURE                                                                                         Sean Rad et al.
       STATEMENT BY APPLICANT                                      Attorney Docket No:                                Filing Date:
                                                                   083523.0121



                                  ISSUED U.S. PATENTS AND PUBLISHED U.S. APPLICATIONS
Examiner
 Initials*        Document Number                          Publication or Issue Date                                    First Named Inventor




                                                       NON-PATENT LITERATURE (NPL)
Examiner
 Initials*                 DOCUMENT (Including Author (if any), Title, and Source)                                                                DATE
             USPTO, Non-final Office Action dated 08/25/2011 for Application Serial No. 12/339,301,                                             08/25/2011
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             USPTO, Final Office Action dated 03/07/2013 for Application Serial No. 12/339,301, filed                                           03/07/2013
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             Response to Office Action Pursuant to 37 C.F.R. § 1.116 and Certification and Request for                                          0610612013
             Consideration Under the After Final Consideration Pilot Program 2. 0 filed 06/06/2013 for
             Application Serial No. 12/339,301, filed December 19, 2008 in the name of Todd M.
             Carrico, 14 pages.
             USPTO, Notice ofAllowance and Fees Due dated 06/19/2013 for Application Serial No.                                                 06/19/2013
             12/339,301, filed December 19, 2008 in the name of Todd M. Carrico, 12 pages.




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103.

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ATTORNEY DOCKET NO.                                                                                PATENT APPLICATION
083523.0121

            IN THE UNITED STATES PATJ!:NT AND TRADEMARK OFFICE


In re Application of:           Sean Rad et al.
Title:                          MATCHING PROCESS SYSTEM AND METHOD


Commissioner for Patents
PO Box 1450
Alexandria, VA 22313-1450


Dear Sir:
                        INJ?ORMATION DISCLOSURE STATEMENT

         Applicant respectfully requests, pursuant to 37 C.F.R. §§ 1.56, J .97 and 1.98, that the
references listed on the attached PT0-1449 form, and previously cited in 0. S. Application
Serial No. 15/676,773 filed August 14, 2017 by Applicant and entitled "Matching Process
System and Method", be considered and cited in the examination of the above-identified
continuation patent application.

         Pursuant to 37 C.F.R. § l .98(d), copies of these references are not being furnished.
Furthermore, pursuant to 37 C.F.R. § l .97(h), no representation is made that these references
qualify as prior art or that these references are material to the patentability of the present
application.

         Pursuant to 37 C.F.R. § l .97(b), no foe is believed dut:. If, however, Applicant has
overlooked the need for a fee, the Commissioner is hereby authorized to charge any
underpayment to Deposit Account No. 02-0384 of Baker Botts L.L.P.

                                               Respectfully submitted,
                                               BAKER BOTTS L.LP.
                                               Attorneys for Applicant

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                                               Chad C. Walters
                                               Reg. No. 48,022
                 Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 235 of 239



                                 Electronic Patent Application Fee Transmittal

 Application Number:

 Filing Date:




 Title of Invention:                                    Matching Process System and Method




 First Named Inventor/Applicant Name:                   Sean Rad


 Filer:                                                 Barton E. Showalter


 Attorney Docket Number:                                083523.0121


 Filed as Large Entity



Filing Fees for Track I Prioritized Examination - Nonprovisional Application under 35 USC 111 (a)


                                                                                                      Sub-Total in
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                      UTILITY EXAMINATION FEE                      1311           1           760         760


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 Pages:


 Claims:


                       CLAIMS IN EXCESS OF 20                      1202           4           100         400


                 INDEPENDENT CLAIMS IN EXCESS OF 3                 1201           1           460         460
            Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 236 of 239
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                        Description               Fee Code      Quantity     Amount
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Miscellaneous-Filing:


            PROCESSING FEE, EXCEPT PROV. APPLS.     1830           1          140         140


Petition:


Patent-Appeals-and-Interference:


Post-Allowance-and-Post-Issuance:


Extension-of-Time:


Miscellaneous:


                                                           Total in USO($)            6720
            Case 6:21-cv-00147-ADA Document 15-13 Filed 04/22/21 Page 237 of 239
                                      Electronic Acknowledgement Receipt

                         EFSID:                          32237158


                  Application Number:                     15944542


         International Application Number:

                  Confirmation Number:                   3585




                    Title of Invention:                  Matching Process System and Method




       First Named Inventor/Applicant Name:              Sean Rad


                   Customer Number:                      5073


                          Filer:                          Barton E. Showalter


                   Filer Authorized By:

               Attorney Docket Number:                   083523.0121


                      Receipt Date:                      03-APR-2018


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                      Time Stamp:                         17:52:57


                    Application Type:                     Utility under 35 USC 111 (a)


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                                                    Abstract                                                         71                                    71



                                                     Claims                                                          56                                    70



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1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
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